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lN THE UNITED STATES COURT OF FEDERAL CLAll\/IS

No. l:l6 206 C
(Chief Judge Patricia E. Campbell-Smith)

GINA BRASHER LANGLEY

Plaintiff, F l L E D

v. SEP - 9 2016
U.S. COURT OF

THE UNITED STATES, FEDERAL CLA|MS

Defendant

PLAINTIFF'S RESPONSE 'l`O THIS COURTS
8-12-2016 ORD'ER

Plaintiff, Ms. Langley, thanks the Court for the opportunity to respond to this Court's 8-12-16
Order and the Court vacating it's Order's for Dismissal on 8-1-2016. (Exhibit one pages one and two
and EXhibit l9 pages One through three). (Exhibits referenced are attached in numerical order to this
response). .

Ms. Langley, Was served Defendant's Clarification dated August 5 , 2016, (Exhibit two pages
one through six ) Where the Defendant falsely states:

“there is no indication in the IRS's files ..that any notice of deficiency Was issued to plaintiff for
any year noted in the Court's Decision.” Def.'s Mot. For Clarification 3 n.2.

There Was an erroneous notice of deficiency $4,265.38 to Ms. Langley on 5-30-2005 for Ms.
Langley's 2004 tax year and the Defendant has failed to account for payments and refunds made by and
to Ms. Langley for the 2004 tax year. The underlying tax liability for 2004 is at issue. (Exhibit three
pages one through twelve).

On 5-30-05, the Defendant unlawfully collected from Ms. Langley $4,633.95 based on the
Defendant's falsification of Ms. Langley's self assessed tax to an erroneous amount of

$42,117.85 in the IRS official transcripts / tax calculation / tax collected . (exhibit three pages 4, 6, 8,

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10 and 12 dated dated, 11-9-09, 2-27-16, 3-4-14, 5-19-14 and again 8-18-2014 Respectively)._

Ms Langley served to Defendant on 7-29-16 in Ms. Langley's sur reply as noted by this Court
in this Court's Order on August l, 2016 (Exhibit 6 pages one through three), that Ms. Langley's self
assessed 2004 tax was $37,483.90 (Exhibit 6 page three) not $42,117.85 for which the Defendant in
the unlawful taking of Ms. Langley's property charged an erroneous $4,633.95 on 5-30-2005 for Ms.
Langely's 2004 tax year. Ms. Langley's 2004 self assessed tax for 2004 Was $37,483.90 (Exhibit 6
page three, exhibit three page 3, 5, 7, 9 and 11) filed on April 15, 2005. U.iS‘.C.Section 3729 amended
IE USC Section 1031 so that a violation only requires “a false record related to a government
program.” l

lThis Court has Jurisdiction. Ms. Langley is seeking a refund of taxes erroneously and
unlawfully assessed and collected in accordance with 28 U.S.C. Section 1346(a)(1). Smilh v Uniled
M, 495 Fed. Appx. 44, 48 (Fed. Cir. 2012) (citing 28 U.S.C. Section 7422(a)). The limited
circumstances in accordance with Section 6512 (a) would apply. In violation of 26 U.S.C. (I.R.C.)
Section 6213(a) the Defendant initiated collections and assessments during tax Court Proceedings for
an innocent spouse claim under 601 S(f). The Defendant states in his Clarification page 2 (eXhibit 2
pages two footnote 1):

“At a collection due process hearing conducted pursuant to I.R.C. Section 6330(0) the
validity of the underlying tax liability is properly in issue if the taxpayer did not receive
a statutory notice of deficiency or did not otherwise have an opportunity to dispute the
liability. The taxpayer can appeal this determination.”

Ms. Langley was not served the notice of deficiency / erroneous charge for 2004 until late
2006. (Exhibit five pages seven through ten) for the “error.” (Exhibit five page two, and three). In
accordance with Sec 6330(0)(2)(B); cho v Commissioncr, 114 TC 604, 609 (2000), once the
commissioner's appeals office issue a notice of determination, the person may seek judicial review.

Ms. Langley, prays she can present these most complicated set of facts succinctly for this
Court, as there has been twelve years of various claim's by Ms. Langley, for proper accounting by the

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Defendant, of Ms. Langley's 2004 tax liability / payments and refunds made, that resulted in two tax
court Petition's filed by Ms. Langley prior to this claim.
First, on 11-4-12 Ms. Langley Petitioned the tax court for relief as an innocent spouse under

I.R.C section 6015(f) for Ms. Langley's 2004 tax liability errors.( Exhibit four pages one through ten

case 27396-12.

Simultaneously, on 11-4-12, Ms. Langley filed a request for a due process hearing (eXhibit 8
page 4 and 5) for the intent to levy served Ms. Langley on for tax year 2006, 2008, 2009 and 2010
(exhibit 8 pages 11 and 12) and the erroneous determination in the CDP hearing on 6-25-2013, (exhibit
8 page 10) resulted in the Second tax court Petition filed by Ms. Langley on 7-24-2013. Case 17267-13.
(exhibit 8 pages one through twelve)

On December 5 , 2012 the Defendant filed his answer to the 2004 6015(f) claim and stated:

“1. Denies respondent sent petitioner a notice of Deficiency or Notice of Determination.
2. Denies a Notice was sent; admits respondent issued letter 3657C on august 27,
2012 and October 22, 2012.” (exhibit four pages 11 and 12)

On January 13, 2015, Judge Cohen Ordered in TC Memo 2015-11 page 5 (eXhibit seven page
eight):

“on June 25, 2013 the settlement officer issued a notice of determination sustaining the
proposed Levy. .. the notice was based on the erroneous conclusion that the section
6015 claim had been decided against petitioner by the Court, when in fact the only thing
that had happened by that time in docket no 273 96-12 was that Respondent had filed an
answer to the petition. The Court ordered a remand for an independent appeals
representative ...to provide Petitioner with an accounting of the payments applied and
refunds made from 2004 through 2010, and to issue a supplemental notice of
determination that corrects the prior errors and accurately states the reasons for the
determination made.”

The “accounting” the settlement officer provided per the Court's 6-26-13 Order on 8-18-14, is
attached as (eXhibit nine pages one to eighteen and exhibit three pages 11 and 12).
On 10-23-14 in response to the 6-26-14 Court's Order, The Defendant falsely stated:

“the Petitioner submitted a 1040X for tax year 2009, directly to respondent's
compliance department”. (Exhibit ten page two) Contradictory, the transcripts provided

by the Defendant (exhibit nine page 16) say “amended return filed 4-15-14”aS filed by
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Ms. Langley and stamped received on 4-15-14 at the IRS Service Center. (eXhibit 10
page five). The Defendant then stated at 13 of the of the Court Ordered response “the
August 1, 2014 letter also informed Petitioner that she had until September 2, 2014 to
submit document ion to the compliance department, supporting her position on the 2009
1040x” (exhibit 10 pages 2 and 3). That is not what the August l, 2014 letter requested
(Exhibit Nine page two and three and four).

Ms. Langley had submitted the required information on 4~15-14 on all 1040x's for tax years
2008, 2009, and 2010. The 2010 loss year for the appropriate carry-back and carry-forward was
accepted and on 8-18-14 the tax was abated. (Exhibit 9 page 18, 1 and five). 2010 Ordered Moot by
Judge Cohen on 1-14-2015.

The documentation required by the Defendant per the August 1, 2014 letter (Exhibit nine page
two, three and four) would not be required for a 1040x carry-back or carry-forward Those schedules
are for a 1045 claim. As repeatedly stated by the Defendant in this claim, a 1040x is what Ms. Langley
should have and did file timely in accordance with 7422(a).

From 4-15-14 to 8-18-14, the date of the transcripts of Ms. Langley's tax years in (eXhibit nine
pages six to eighteen) In violation of 26 U.S.C. (I.R.C.) Section 6213(a) The Defendant erroneously
applied refunds due / credits for Plaintiffs 2013 tax year and the Plaintiffs amended tax years 2008,
2009, 2010, 2011 and 2012 totaling $l6,851.06 (exhibit 12 page one of one) and the Defendant
charged l\/Is. Langely thousands of dollars of interest and penalties (Exhibit 9 pages six to 18) after
unlawful charge in 2004 and failed to account properly for the $16,851.06 of credits / refunds noticed
in the Court ordered transcripts of those years on 8-18-14.

The transcripts for Ms. Langley's 2005 year presented by the Defendant as Ordered by the tax
Court (exhibit 9 pages 7 and 8) erroneously show “adjusted gross income $3,420.00”, fail to show
taxable income per Ms. Langley's return of $1,417.00 and the Defendant does not account for the
$2,003.00 unlawful charge to Ms. Langley as noted on 10-5-2009 Notice. (Exhibit ll page one of one).

Plaintiff did file a claim for refund correctly on 4-15-14 in accordance With 26.U.S.C.

Section 7422(3) exactly in the manner the Defendant states was required in this claim. USCFC No

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QQIM this claim is sufficient to support Plaintiffs claim for tax years 2004, 2009, 2011 2012 and 2013
as the Plaintiff has met all the requirements of a tax refund claim in accordance with RCFC 9 (b) and
§m)§ 1 )§2 )§A-F ). Ms. Langley has alleged that the failure by the Defendant, in over 12 years of
proceedings, to account for a single check when Ordered by the US Tax Court on 6-26-14 to account
for all payments made and applied for Ms. Langley, shows criminal intent coupled with the taking
See Johnson v United States, 291 F.2d 908, 909 (8“‘ Cir. 1961).

On 5-19-14 in the Defendant's motion to Dismiss for lack of Jurisdiction, the Defendant stated:

“on orlabout May 18, 2009, Petitioner filed a form 8857, chuest for innocent spouse
relielj`. Petitioner requested relief from the taxes paid with her liusband, for the taxable
year 2004, including a refund of one half ol` the of the taxes Petitioner paid. A copy of
the form 8857 is attached as exhibit B.” (exhibit 13 pages one to foui').

Ms. Langley's 2004 self assessed tax for 2004 was $37,483.90 (Exhibit 6 page three, exhibit
three page 3, 5,7,9 and 11) filed on April 15, 2005, attached to the 2009 innocent spouse claim filed in
2009 and 2011 by Ms. Langley, as was provided to the Defendant in both those claims as well.
(Exhibit 6 page three)

No where in the account transcripts for 2004, as Ordered by the tax Court on 6-26-14, as
exhibited by the Defendant five times over the span of a year, do those transcripts show an innocent
spouse claim in May 2009, nor do the transcripts show a determination of the 2004 claim on 6-23-11
(Exhibit 14 pages one through three) as erroneously claimed in Defendant's motion to dismiss. (exhibit
three pages 4, 6, 8, 10 and 12 dated dated, 11-9-09, 2-27-16, 3-4-14, 5-19-14 and again 8-18-2014)

Ms. Langley was served numerous certified mail on 6-23-11 by the Defendant. (Exhibit 15,
pages one to three). The Defendant offers no proof of signature and the envelope does not indicate # for
the Certified l\/Iail.

This Court is correct in it's 8-12-16 Order which states that:

“the IRS erred failing to timely provide her with a 2011 notice of determination, which

was ostensibly provided to her during her case before the United States Tm< Court in

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2014.”

Ms. Langley was presented the 6-23-11 notice alleged by the Defendant to be the
“determination” in February 2014 in the Defendant's first motion to dismiss. There were
“deteririinations” subsequent 6-23-11 that contradict the Defendant's erroneous allegationl (Exhibit 16
pages one to five).

The, Defendant stated #23 on 3-6-14 in the collection case:

“Respondent routinely sends taxpayers final Determinations, which are jurisdictional
tickets to Tax Court #25 “the appeals officer admitted that her statement in the notice of
determination was erroneous.” (Exhibit 17 page one of one).

The Defendant on 10-23-14 stated; (Exhibit 10 page 3)

“#1 8 it appears there was some confusion as to whether respondent's compliance
division timely received the information from petitioner for consideration of the 1040x”

Ms. Langley has repeatedly asserted, the only confusion is that the Defendant requested
erroneous information by two separate offices of the “compliance department” and falsified the date
the date the information was received from August 30, 2014 to September 3, 2014 showing intent in the
unlawful taking of Ms. Langley's property. ln accordance with rule 11 B. The Defendant has not
denied the allegation. (Exhibit 18 pages one to five).

The original green card certified mail receipt altered is at B19. (in this response as exhibit 18
pages one thru six) That corresponds to this court's document number 8 as Ms. Langley understands
this Court's index from 8-16-16 (Exhibit 19 pages one to three) The alphabetic indexing by Ms.
Langley referenced above, corresponds to this Court's numeric numbering system as Ms. Langley, a
layperson, understands it.

On 11-12-2014 Ms. Langley's 6015(f) claim (27396-12) was dismissed by Judge Cohen based
on “the absence of a deficiency determination for 2004.” That dismissal was erroneous as there was a
deficiency charge / determination for 2004. The Tax Court's misinterpretation of the facts is due to the

failure by Ms. Langley to succinctly present the fraud committed on the Court by the “compliance/

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appeals / collection / unlawful taking departments of the IRS, in an utter waste of taxpayer dollars who
pay the salaries of the individuals that committed with intent, the unlawful taking of Ms. Langley's
assets in a ponzi scheme of joint and several liability designed by the l)efendant.

The standard for community property as presented by Plaintiff on CS in publication 504 quite
simply states:

“Each spouse is taxed on half the community income for the part of the year before the

community ends, ..Income received after the community ended is separate income, taxable only

to the spouse to whom it belongs.”

On 11-20-14, (US Tax Court Case 17-267-13 the Defendant's same appeals representative that
issued the erroneous determination on 6-25-2011, Cindy Kasminoff, in violation of Judge Cohen's
Order on 6-26-14 ((exhibit seven page eight, exhibit seven pages two through eight) made the
erroneous supplemental notice for the collections hearings that conflicts with itself. (Exhibit 20 pages
one and two).

Ms. Langley appealed the tax Court's decision for 27396-12 for 2004. lt was dismissed
erroneously by the 11"l Cir (Exhibit 21 page 2), appealed the the USSC for which the Defendant waived
his right to respond on 11-23-15, there by admitting, Ms. Langley's allegation of unequal treatment by
the Defendant when the Defendant refunded Ms. Langley's x spouse l/2 the tax he paid for the 2004
tax assessed by the Defendant, none to Ms. Langley. (Exhibit 21 page 3) via ck 2891 15 85 paid on 3-
24-2006. Defendant did not account for that refund, referenced numerous times in the account
transcripts of Ms. Langley until 8-29-14. (Exhibit 22 pages one through three).

The Defendant falsely, exhibited l\/ls. Langley's self assessed tax for 2004 in the transcripts for
Ms. Langley's 2004 tax year as “$42,117.85 tax return filed 5-30-2005” ((exhibit three pages 4, 6, 8,
10 and 12 dated dated, 11-9-09, 2-27-16, 3-4-14, 5-19-14 and again 8-18-2014 (even after
accountability was required by Defendant as Ordered by the US Tax Court in case 273 96-12 on

6-26-13 after the erroneous determination was made by the Defendant on 6-25-13 in collection

hearings for 2006, 2009) (exhibit seven pages one through ten) respectivelv\ on 6-25-13.
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The Defendant stated in his Declaration on 3-4-14 in US Tax Court Case 17267-13, “petitioner
filed her 2004 tax return on April 15, 2005... A copy of the 2004 transcript evidencing theses facts is
attached as Exhibit K”... Both statements cannot be simultaneously true.._ Titles 18 U.S.C. Section 1621
enacted on 6-25-1948 Public Law 772 as amended which states. “whoever...gives or makes
contradictory testimony or statements in judicial proceedings in respect to any material matter is guilty
of perjury.” as Ms. Langley has repeatedly asserted, but failed to succinctly summarize as a layperson.
Freaoline v. United Stales, 99 Fed. Cl. 161, 168 (2011) (quoting liry v United Stales, 72 Fed. Cl. 500,

` 509 (2006)). Therefore`, the court must “look to the true nature of the action in determining the
existence ofjurisdiction.” Katz v Cisneros, 16 F.3d 1204, 1207 (Fed .Cir.1994)

On each of those transcripts there is a notation that there had been an adjustment made on 6-29-
2009 for “additional tax assessed.” On each of those transcripts the only indication that Ms. Langley
filed an innocent spouse claim, states “innocent spouse claim received 4-18-11.

Ms. Langley presented to the Defendant the tax year 2004 “notice / charge” and it's numerous
complex errors to Defendant on 4-5-14 in l\/Is. Langley objection to Defendant's declaration in US Tax
Court Case 17267-13 collection hearings for tax years (2006, 2008, 2009 and 2010) as exhibit E page 8
of 8 ( in this response the notice is Exhibit three pages one and two).

On 4-29-2014 in US Tax Court Case 27396-12 in the Defendant's pretrial memo for Defendant's
motion to dismiss, the Defendant falsely stated, in a showing of intent on the unlawful taking of Ms.
Langley's property:

“On April 15, 2004 ....Petitioner self assessed taxes in the amount of $42,117.85.”
( Exhibit 23 page one of one.)

The arbitrary and capricious unlawful collection of $4,633.95 on 5-30-05, $2,003.00 on 10-5-
2009 and unequal treatment by the Defendant violates the just compensation clause of the Fifth
Amendment (“nor shall private property be taken for public use, without just compensation.”) and can

be fairly be interpreted as mandating compensation by the Federal Gover"“§:;f‘|'hfor the dama"e

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sustained.” Easnort SS Corn v United States, 178 Ct.Cl.at 607, 372 F.2d at 1008, 1009, for the
unlawful exercise of the Government's tax collection powers. Grc}loline v United States, 99 Fed. Cl.
161, 168 (2011)

This Court has Jurisdiction for Plaintiffs taking claim by the Defendant under the Fifth
Amendment for the deprivation of Ms. Langley of both substantive and procedural due process due to
the fraud of Defendant throughout these proceedings. “A substantive right for money damages against
the United States, separate from the Tucker act itself.” 1`odd v United States, 386 f.3d 1091 1094 (Fed.
Cir. 2004). The Defendant's repeated, material, contradictory statements throughout these proceedings
shows intent in the taking of Ms. Langley's property

In Todd it states:

“ln considering the issue of subject matter jurisdiction, this court must presume all
undisputed factual allegations to be true and construe all reasonable inferences in favor

ofthe Plaintiff`. Scheuer 416 U.S. At 236; Revnolds v Amiv & Air force Excli Ser., 846
F.2d 746, 747 (Fed. Cir.1988).”

 

Pursuant to the Tucker act, the USCFC has jurisdiction “to render judgment upon any claim
against the United States founded either upon the Constitution, or any Act of Congress or any ..express
or implied contract with the United states for liquidated or unliquidated damages .” the violations
alleged by Ms. Langley are money-mandating Per Todd,

“In order for jurisdiction to lie under the Tucker Act based upon a constitutional
provision, the provision must be money mandating in the sense that it contemplates the
payment of money damages for its violation See l ames v Caldera, 159 F.3d 573, 580

(Fed Cir 1998)”

United States v 'l`estan 424 U.S.392 400 (1976) states:

 

“if the Commission were to determine that it had made an erroneous determination, that
determination could create a legal right which we could then enforce by a money
judgment id. At 333, 499 F.2d at 691. giving this Court jurisdiction for that part of the
Tucker Act now codified as 28 U.S.C. Section 1491 which confers jurisdiction to this
Court whenever the substantive right exists. Eastport SS Corp v. United States 178 Ct
Cl.599, 605-607, 372 F.2d 1002-1007-1009 (1967) . Where there has been a violation of
a substantive right, The Tucker Act waives sovereign immunity as to all measures

necessary to redress that violation. “ 8'8`16
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The Defendant determined it had made an erroneous determination on 3-6-14. (Exhibit 17 page
one of one)

The additional, failure by the Defendant to account for Ms. Langley's ck 5007 on 4-15-2005 in
the amount of $1,114.00 for tax year 2004, not accounting for Ms. Langleys 2004 refund check,
issuing notices of credits / applying those credits totaling $16,851.06 during the Same period of time
the 6015(f) claim was being heard in US Tax Court can be fairly interpreted as mandating
compensation for the damage sustained in l\/ls. Langley's loss of use, and thousands of hours required
by Ms. Langley to respond to the erroneous / frivolous filings by the Defendant for the hundreds of
times the Defendant falsely stated that 1 had not provided a collection alternative

Ms. Langley repeatedly asserted in nearly every response required, hundreds of times, that a
collection alternative would be for the Defendant account for: (1) ck 5007 in the amount of $1,114.00,
(2) $79,163.92 of cash generated by the sale of investment property on 1-31-2005 of the former marital
entity (exhibit 24 pages one and two), (3) $318,870.61 in cash generated by the sale of investment
property of the former marital entity on 9-2-2004 (exhibit 24 pages 3 and four) (4) the FMV of
$300,000.00 of the homestead of the property Ms. Langley was forced out of on 10-14-2004 with no
compensation, (exhibit 24 page 6), (5) the correct loss in 2004 for the accumulated earnings of the
former marital entity's business of $97,249.54 (Exhibit 24 page 7) that reported millions in revenue
that the parties paid thousands of dollars in tax over a 20 year marriage with a strong work ethic
(exhibit 24 pages 7 to 13) and last the $132,066.90 of payments made by Ms. Langley for a
replacement home (exhibit 24 pages 14 and 15) from the date of separation 8-25-2004 to the date the
marital entities assets disposition was determined in 2010 to be $289.41 for l\/Is. Langley 1/z share
(exhibit 25 pages one through four) of the above items that were determined to be “non marital” in the
final disposition of the former marital entity by the Defendant's “process”. A loss to Ms. Langley in

2010 of $408,000.00 as claimed on Ms. Langley's amended return accepted by the Defendant on 4-15-

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2014 and declared Moot by the US TaX Court in Jan 2015.

Ms. Langley did not receive the “income” for which she paid 99.7 % of 2004 tax in the amount
of 342.273.56 (exhibit 3 page 8) was paid. The distribution of the income in marriage dissolution
proceedings was not determined until the final Order is the “disposition” of those assets occurred in
2010.

Ms. Langley, per the Defendant's Order on 4-27-09 (Exhibit 26 pages one to six) filed 8857 in
2009 ( Exhibit 26, pages 4, 5 and 6) where the Defendant failed to account for $42,273.56 of 2004 tax
payments made by Ms. Langley and erroneously stated on June 16, 2009 “you did not make any
payments for tax year 2004”, (Exhibit 26 pages 7 to 14) and due to the fraud committed by the
Defendant in the accounting Ordered, the tax Court erroneously Concluded in it's memo on J an 14,
2015 “unpaid balance for 2009 ($3,374.96 as of the date of the original proposal for levy.”)
Contradictorily, the proposal for levy was $2,856.48 (exhibit 26 page 18) less the unlawful charges of
2004 tax, penalties, interest, ck 5007, the unlawful 2005 charge of $2,003.00 and $1,687.33 credit
transfer on 4-15-2014 for the accepted 2010 amended return. (Exhibit 9 page 16) and the refund check
the Defendant proved on August 29, 2014 payable to Ms. Langley, was cashed by others.

Ms. Langley het met her burden of establishing subject matter jurisdiction as
required by a “preponderance of the evidence” . Reyno|ds, 846 F.2d at 748 and by presenting “
competent proof.” M, 298 U.S. At 189.for each of the three issues in Ms. Langley's claim.

Last, The 2004 notice of Deficiency, claimed to be non existent by the Defendant, not served to
Ms. Langley until late 2006 (erroneously states “you should have used the Schedule D tax worksheet
to compute your taxes.” (exhibit 3 page one). Ms. Langley did use the “schedule D tax worksheet in
2004 (Exhibit 27 page one of one) and correctly assessed the tax of $37,483.90 for the final return of
the marital entity but paid a disproportionate share of the tax based on the “disposition” of the marital
entities assets which was not determined until 5 years after the 2004 tax return was required to be filed.

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A procedural quandary in the Defendant s process.” 8-8-16
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The Defendant did not prove until August 29, 2014 that the 2004 joint marital tax refund check
in violation of memng and enforcement and recovery act of 2009 and the requirement/s of the
technical provision of 26. US Code Section 6015 Section 3 #25.15.3.4.4 (03-08-2013)_dated 3-17-06
(B24 and B25) to Plaintiff by Defendant was cashed by others on 3-24-2006.

. The validity of the The validity of the underlying tax liability of Ms. Langley for tax year
2004 is at issue pursuant to I.R.C Section 6330(c)(d)

Wherefore, Ms. fangley prays the Court Grant Ms. Langley's claim for refund of $51,068.84
in federal taxes , plus interest for tax years2004, 2009 and 2011-2013 as the limited circumstances in
accordance with 6512 (a) do apply “(2) any amount collected in excess of an amount computed in
accordance with a final decision of the Tax Court (3) any amount collected after the period of limitation
has expired for making levy

Ms. Langley prays this Court, as seperately motioned by Ms. Langley to this Court on 5-10-16.
(Exhibit 19 pages 1, 2 and 3), sanction the Defendant for the Defendant’s abuse of process and
unlawful assessments from Ms. Langley when collection was prohibited under 26 U.S.C. (I.R.C.)
Section 6213(a)3mr`1h v United States 495 Fed. Appx 44,48( Fed. Cz'r: 2012) (cr`£r`rrg 28. U.S.C. Section
M@ for tax years 2004 to 2009. causing damage to Ms. Langley and the loss of use of her property.

The Defendant should not be permitted to contradict the evidence by unsupported statements
U.S.C. Section 3 729 amended MM so that a violation only requires “a false record
related to a government program.”

PerM,
“ln order for jurisdiction to lie under the Tucker Act based upon a constitutional
provision, the provision must be money mandating in the sense that it contemplates the

payment of money damages for its violation See J ames v Caldera, 159 F.3d 573, 580
(Fed Cir 1998)”

On 8-8-16 the Defendant served Ms. Langley notice that frivolous filings are penalized at

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$5,000.00 each. (Exhibit 28 pages one to five.)

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iina Brasher Lang
700 Oak Street
Neptune Beach, Florida 32266

 

eY

CERTIFICATE OF SERVICE

l Gina Brasher Langley, certify that this Response to this Court's 8-12-16 Order, the original and two

copies with attached exhibits as noted in the table of contents (one to twenty eight) was mailed F ederal
express to Clerk US Court of F ederal Claims, 717 Madison~ Place, NW, Room 10

3, Washington DC

20439 on this 8‘h day of September 2016 with attached exhibits one to twenty six, in accordance with
my understanding of the rules of this Court to Mr. Brian J Sullivan via USPS mail at the US

    

g Gina Brasher I.,ang -y
700 Oak Street
Neptune Beach, Florida 32266

Department of Justice, Tax Division PO Box 26, Ben Franklin Station, Washington DC. 20044 .

8-8-16

Plaintiff response 8-8-16

page thirteen

No. l:l6-cv-00206-PEC

ChiefJudge Patricia E. Campbell-Smith

Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 14 of 188

lN THE UNITED STATES COURT OF FEDERAL CLAIMS

No. 1:16 206 C
(Chief Judge Patricia E. Campbell-Smith)

GlNA BRASHER LANGLEY

Plaintiff,

V.

THE UNITED STATES,

 

 

Defendant
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MZ:ZO]\§_ME_R

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No. 1:16-cv-UU206`PEC
ChiefJudge Patricia E. Campbe||-Smith

In the United States Court of Federal Claims

No. 16-206C

(Filed: August 12, 2016)

 

 

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GINA BRASHER LANGLEY, j g\\é\l {\.
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Plaintiff, ) agr t
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V. )
)
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Defendant. §
)
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On August 8, 2016, defendant fi_l_e_d__a“mot_ion_for clarification explaining that
contrary to plaintiff S_represe`i'i`faii'o'n',"no notice of deficiencyii_ss,ued. Throughout
§Ft`")"i:'éediiigs'before the United States Tax Court and the Supreme Court of the United
States, Ms. Langley repeatedly asserted that the IRS erred in failing to timely provide her
with a 2011 notice of determination, which was ostensibly provided to her during her
case before the United States Tax Court in 2014, and that various letters between herself
and the IRS essentially should constitute constructive notice of a deficiency or a notice of
determination §§ Order of Dismissal 3 (T.C. Nov. 12, 2014); Compl. App. A, 5-7,

ECF. No. 1. - n

The full agency record of Ms, Langley’s correspondence between herself and the
IRS Was not filed as evidence in this case.l On review of What Was before it, the court
found that it lacked jurisdiction over Ms. Langley’s claims and dismissed her complaint
on August 1, 2016. 1

In the mtl§i§¥__fp[_§_l@tiii§ation, defendant.’.s..c.ounsel_states__l;hat ‘fll]h.¢.!¢ .I.S 519
indication in the IRS’s files forwarded to [him]_ that_any'_no_ti_ce _of defi_ciency__wa_s_ issued

.-`_`_"_"_--**-_......_._.-__-_» -".-_--- ""' "" ‘ `

 

l Ms. Langley provided hundreds of pages in her attempt to provide a clear picture
of how her various claims led to her case before the court. However, the order,
numbering, comments, and redactions of the attachments frustrated the court’s full

review of her case.

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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 17 of 188

to plaintiff for any year noted in the Court’ s decision ” Def.’ s Mot. for Clarification 3

n. 2. Although individuals often receive a notice of def ciency prior t6 receiving a notice
of a proposed levy,_ see Oropeza v. Comrnissionei T. C. Memo. 2008- 94, 2008 WL
1722003 at *1 (2008),Ms.Lang1ey apparently did not receive such notice prior to
receiving notice concerning the proposed levy to collect from her unpaid federal income
T'xe§ for the years 2006, 2008, 2009, and 2010. S_ee Langley, 2015 WL 392980, at *2
Thus, defendant asks the court to dismiss plaintiff’s complaint on bases other than that
involving a notice of deficiency, specifically on the grounds that: (1) plaintiffs 2004 tax
year claim is time- barred; and (2) plaintiff failed to state a claim for tax years 2009, 2011
2012, 2013. Def.’ s Mot for Clarificati'on 3- 4.

Defendant’s motion shall be FILED BY LEAVE OF COURT and GRANTED.
To address matters raised in defendant’s motion for clarification, the court directs the
clerk of court to VACATE its Judgment, issued on August 1, 2016, ECF No. 21, and to
WITHDRAW the court’s Opinion and Order issued on August 1, 2016, ECF. No. 20.

On or before Fridavj September 9. 2016, plaintiff may file a response.

IT IS SO ORDERED.

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PATRICIA .CAMPBE L- SMI
hief Judge
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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 18 of 188

8-8-16

Plaintiffresponse

EXHIBIT ,-»-QN'LU pAGE¢;‘
lN THE UNITED STATES COURT OF FEDERAL CLAIMS No l:la-ev-oozoe-PEC ¢? ff

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No. 16-206 T
(Chief Judge Patricia E. Campbell~Smith)
GINA BRASHER LANGLEY
Plaintiff,
v.
THE UNITED STATES,

Defendant.

 

 

DEFENDANT’S MOTION FOR CLARIFICATION

 

On August 1, 2016, the Court issued an opinion in which it dismissed plaintiffs tax
refund suit on the basis that the Court lacks jurisdiction pursuant to § 6512(a). Defendant
respectfully requests that the Court clarify its dismissal of plaintiff s tax refund suit under
§ 6512. While plaintiffs refund Suit must still be dismissed on other grounds, it does not appear
that § 6512 precludes plaintiffs tax refund suit as plaintiffs Tax Court petitions were in
response to collection actions, and not iri response to notices of deficiency concerning the
underlying tax liabilities

DISCUSSION

Section 6512(a) provides that, subject to six statutory exceptions not applicable here, if
the Commissioner of the IRS sends a taxpayer a notice of deficiency and the taxpayer files a
timely petition in Tax Couit, then no credit or refund of income tax for the taxable year “in
respect of which the [IRS] has determined the deficiency” is allowed and “no suit by the

taxpayer for the recovery of any part of the tax shall be instituted in any court. . . .” Section 6212

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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 19 of 188

requires the IRS to send a notice of deficiency to a taxpayer when the Commissioner “determines
that there is a deficiency.” Scar v. Commissioner, 814 F.2d 1363, 1367 (9th Cir. 1987). The
purpose of a notice of deficiency is “to give the taxpayer notice that the [IRS] means to assess a
deficiency tax against him and to give him an opportunity to have such ruling reviewed by the
Tax Court before it becomes effective.” Commissioner v. Srewart, 186 F.2d 239, 241 (6th Cir.
1951). va
Thus, § 6512 prohibits a taxpayer from filing a tax refund suit only after the taxpayer has
already challenged a statutory notice of deficiency for the same taxable year in U.S. Tax Court.
§ 6512(a); Buser v. United States, 85 Fed. Cl. 248, 258 (2009). The Commissioner sends a
notice of deficiency to a taxpayer when the IRS determines that there is a tax deficiency, i.e., an
amount of tax that has not yet been assessed Id. A collection due process proceeding for a lien
or levy action under §§ 6320 or 6330 concerns the collection of a tax liability which already has
been assessedl See, e.g., Oropeza v. Commissioner, T.C. Memo. 2008-94 at *3 (2008). While
§ 6512 explicitly mentions notices of deficiency, the plain language of its prohibitions does not
include a collection due process proceeding § 6512. Thus, § 6512 does not prohibit a tax
refund suit following a challenge in Tax Court to a collection due process proceeding for the

same taxable year. See IRS CCA 201617007, 2016 WL 1605494; Fed. Tax Coordinator il U-

1219 (2d.); cf Buser, 85 Fed. Cl. at 258 (dismissing plaintiffs case under l.R.C. § 6512(a) as

 

] At a collection _du_e process hearing conducted pursuant to l.R.C. § 6330(c), the validity of the
underlyin'g'tax_ liability is_]prop_erly__in_ issue if the taxpayer did not receive a statutory notice of
deficiency or did not otherwise have an opportunity to dispute the liability The taxpayer can
appeal this determination to the Tax Court pursuant to I.R.'C. § 633{)(d). rl`he Tax Court reviews
the hearing oft`icer’s determination on the validity ofthe underlying liability de novo if properly
in issue; but where the validity ofthe underlying liability is not in issue, the fax Court reviews
the determination for abuse of discretion Swanron v_ Corirmi.ts'ione!', T.C. Memo. 2010-140 at
23 (2010).

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No. l!l )-Cv~UUP_OG-PEC

Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 20 of 188

plaintiff had already challenged a statutory notice of deficiency for the same tax year in Tax
Court).

Here, neither of plaintiffs petitions to the Tax Court was in response to a notice of
deficiency._2 Plaintiff filed her first petition in Tax Court on November 9, 2012, concerning a
claim of innocent spouse relief for tax year 2004, and in response to a Final Deterrnination under
§ 6`015 sent to plaintiff in June 2011. Order of Dismissal, Tax Court Docket No. 27396-7. The
Tax Court dismissed this petition for a lack of jurisdiction on November 12, 2014. [d. Plaintiff
filed her second petition in Tax Court on July 29, 2013, challenging a collection action for
plaintiffs unpaid tax liabilities for 2006, 2008, 2009, and 2010. T.C. Memo. 2015-11 (Tax
Court Docket No. 17267-13L). The Tax Court remanded the case to an appeals officer at the
IRS, and ultimately upheld the appeals officer’s decision to sustain the collection action. Ia'.

The Tax Court did not rule on whether the underlying liability was properly in issue or not, but
stated that under either standard_de novo or abuse of discretion~the hearing officer properly
sustained the proposed levy. Id. at *10. Regardless, as none of plaintiff s petitions tot-he Tax pf

Court were in response to a notice of deficiency-3 t § M6_5:7/1)2mdoes,.not preclude plaintiff from l_\" `

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bringing her refund suit in this Court.
Even without § 6512, this Court must still dismiss plaintiffs refund suit.
As provided in defendant’s amended motion to dismiss the complaint and reply brief, this Court

does not have jurisdiction over plaintiffs claim for 2004, and plaintiff fails to state a claim upon

which relief can be granted for tax years 2009, 2011, 2012_. and 2013.

 

2 There is no indication in the IRS files forwarded to defendant’s attorney that any notice of

deficiency was issued to plaintiff for any year noted in the Court’s decision Further, the Order ,

of Disniissal and Me.morandum Opinion from plaintiffs Tax Court cases also state that no notice '- "-' ,,,.
of deficiency was issued by the IRS for any ol`these tax years. Order of Dismissal, Tax Court c 7/
Docket No. 27396-7; 1`.C. Memo. 2015-ll ('l`ax Court Docket No. 17267-13L). »`

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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 21 of 188

Plaintiff has failed to show how this Court has jurisdiction over tax year 2004. Plaintiffs
claim for refund for 2004 was filed in 2011, six years after the original return was filed and five
years after the tax was paid. (Am. Compl., ECF No. 8, at p. 23 (B9).) As plaintiff did not file a
timely administrative claim for refund with the IRS in accordance with § 6511(a), her tax refund
suit as to 2004 is defective under § 7422(a).

Plaintiffs complaint fails to states a claim upon which relief can be granted for tax years
2009, 2011, 2012, and 2013. Plaintiffs claims for these years are based on § 165, a purported
casualty loss stemming from alien placed on her property. But a lien is not a casualty loss, Firs/‘
At/as Fzmdl'ng Corp. Through Ker.sl‘ing, 23 Cl. Ct. at 139-40; see Vance v. Commissioner, 36
T.C. 547 (1961) (finding that a finance company’s repossession of fumiture where timely
payments were not made was not a casualty loss to taxpayer.); Johnson v. Commissioner, 81
T.C.M. (CCH) 1538 (2001) (ruling that the foreclosure of taxpayer’s property did not constitute
a casualty loss under I.R.C. § 165(0)). Thus, even if this Court has jurisdiction over plaintiffs
tax refund suit for years 2009, 2011, 2012, and 2013, plaintiffs complaint fails to state a claim
for these years upon which relief can be granted, and this Court must dismiss plaintiffs
complaint as to those tax years under Rule l2(b)(6).

CONCLUSION

WHEREFORE, based on all of the reasons set forth above, in defendant’s amended
motion to dismiss the complaint, and in defendant’s reply brief, defendant requests that the Court
clarify its rationale in its opinion as to claim Two and dismiss claim Two of the complaint with
prejudice with respect to tax year 2004 for a lack ofjurisdiction, and dismiss the claim Two as to

tax years 2009, 2011, 2012, and 2013, with prejudice for a failure to state a claim.

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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 22 of 188

August 5, 2016

August 5, 2016

Respectfully submitted,

§J . JLIVAN

Attorney of Record

U.S. Department of Justice

Tax Divisio.n

Court of Federal Claims Section
Post Office Box 26

Ben Franklin Post Office
Washington, D.C. 20044

Tel: (202) 616-3339

Fax: (202) 514-9440

Brian.J . Sullivan@usdoj . gov

CAROLINE D. CIRAOLO

Principal Deputy Assistant Attorney General
DAVID I. PlNCUS

Chief, Court of Federal Claims Section

 

8-8-16
Plaintiff response

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motion tia/d PAGE ~» y

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(`.hiefludae Patricia E. Campbell-Smith

Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 23 of 188

CERTIFICATE OF SERVICE

1 certify that service of the foregoing document has, this %y of August 2016, been

made on plaintiff, pro se, by mailing a copy thereof, in a postage prepaid envelope, to the
following address:

Gina Brasher Langley
700 Oak Street
Neptune Beach, FL 32266

afge nine

U.Si Department of Justice

Tax Division

Court of F ederal Claims Section
Post Office Box 26

Ben Franklin Station
Washington, D.C. 20044

(202) 307-6440

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For assistance, call:

Departmentof the Treasury ‘ 1_800_829_3374

Internal Revenue Service
Memphis, TN 37501-0010

Yonr Caller Il): f 3-3_16

Plaintiff res onsc
NoticeNumber: CP EXHIBH~T_¥;‘ _'., vaca

D“‘e= May 30, 2005 Noi;ie~cv_oozu -PEc t.-" ,
Chief Judg_e Patricia E. Camphc

t Taxpayer Idendf|cation Number:
024665.190999.0110.003 1 ap 0.370 975 260_21_8735 N___,,__.n.

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Why We Are Sending You This Notice

We are writing to you because there is an error on your 2004 F ederal Income Tax retum. We will explain
why we made the change and what you need to do.

Why We Made The Change

' We changed the exemption amount claimed on Line 41 of your Form 1040 because it was not limited
or was limited incorrectly The amount you are able to claim for exemptions is limited based on your
adjusted gross income and filing status

* We changed the amount of tax on Line 43 of your Form 1040. Entries on your return indicate that you
should have used the Schedule D Tax Worksheet or Qualit`ied Dividends and Capital Gain Tax
Worksheet to compute your taxes It appears your taxes were not computed using one of these
worksheets or were computed incorrectly.` .

l

Note: The tax rates used on the Schedule D Tax Worksheet or the Qualified Dividends and Capitai
Gain Tax Woricsheet are generally lower than the standard rates. However, if the retigured tax amount
is higher than the tax amount shown on your return then an error was made in the original computation
of your tax.

What You Should Do IfYou Agree With The Change

' If you agree with the change we made, follow the payment instructions at the end of this notice.

What You Should Do IfYou D|sagree With The Change

' If you believe the change we made is incorrect, please cahps_aLl -800;829;8374wlthdlvn60wd*ay§~tp__”w_>_,_'
'di's`c` uss if wi"' 'fli‘a Cusfomer Sewi€e HepwseniatiW(C§Rj.

 

~ It` you choose you may write to us. Be sure to include the tear off stub at the end of this notice. Write
to us at the address shown on the stub.

M'I\~\'…

' You need to contact us within 60 days‘,to havea* CS§' assist you, and to have the right to appeal`the
change to the Tax Court. Otherwisc{the law requires you to pay the additional amount you owc, plus
penalties and interest 2_ f'? fo'? "13

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"'2-. .___, .-»"’"'v(; MD'T`Q_ n . »

Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 25 of 188

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; You may file a claim for refund before the later ol` 3 years after filing your return or 2 years after

 

 

 

 

 

 

 

 

 

 

 

 

" paying the tax.
§ 2004 Tax Return Form 1040 as of May 30, 2005

Line Item On Your Return Your Flgures I-RS Flgures

Adjusted lGross Incorne $315,639.00 $315,639.00
' "rmbte income 5233,151.00 "'\ 5295,_361.00

rural Tax l _ $37,433.9o __ \\ 542,117.85

T'otal Payzneats ' ` ' ' ' ' . \\ $37, 883 901

Amounf of Undé`rpaid Tax - ` - ` - ' \$4, 233 95

Penalties (computed below, if applicable) \ $ 001

Interest computed through May 30, 2005 (computed below) \$31.43

Total amount owed $4,2`(`5`5.38

Mluu$ Total_p[ all payments you made that are not included |n the \

Total Paymeuts amount shown above (Enter Amount)

Amount Y"o'uj d\ve“'aftcr subtracting above payments (Enter Amount) \¥

 

 

 

 

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Other Ioformatlon n

' Checlc your retum. The error correction(s) may also have caused changes to other areas of your retum.
Helpful Hint: For faster service, try calling us any day except Monday when our call volumes are
highest.

Payment Iustruetions
Mal<e your check or money order payable to United States Treasury.

' On the check or money order write the tax period, tax form number and the taxpayer identilication
number that is shown at the top of this page.

 

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'-»- ' Enelose the payment and the stub in the envelope provided. Mail it to the IRS ,,:d 16 "hown on the
stub. We must receive your payment in full by June 20, 2005 (21 DAYS FP f ry 'j'j»r_)
NOTICE). Otherwise, you will be ch ' . ditional interest (and possibl_ C_¢:*_f) :;r'? "~tarn

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Case 1:16-0\/- 00206- PEC Document 24 Filed 09/09/16 Page 26 of 188
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FORM N'UMBER: 1040 TAX PERIOD: Dec. 31, 2004
TA.XPAYER IDE'NTIFICATION NUMBER: 260~<21~8735

SPOUSE TAXPAYER IDENTIFICATION NUMBER: XXX-XX-XXXX

BARNEY J § GINA B LANGLEY

- ANY MIN'US SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT` -~-

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** INFORMATION FROM THE RETURN OR AS'ADJUSTED **

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Plaintiffresponse - - .- / '
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CODEIEXPLANATION OF TRANSACTION

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Case 1:16-cV-OO206-PEC Document 24
lRS User Short Forrn Requeat

Tax return filed

07221~120-54116-5

Payment with return

Interest charged for late payment

1040 200313h

Credit transferred

1040 200312

,,.... -..-‘»- ~.-

Reduced or removed

payment
Payment

 

CYCLE

20052008

20052008

interest charged for late

Tax period blocked from automated<levy program

Collection due process Notice of Intent to Levy

-- issued

Collection due process Notice Of Intent to Levy

-- issued

Installment agreement established

Collection due process Notice of Intent to Levy
-- return receipt signed

Collection due process Notice of Intent to Levy
-- refused or unclaimed

Payment

Interest charged for late payment

Penalty for late payment of tax

Payment

Interest charged for late payment'
Refund issued

Interest credited to your account

20060608
20060608

20061008

No longer in installment agreement Status

ndditional tax assessed

13554~560-05117-9

20092408

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08-26~2005

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10-08~2005

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02~20~2006
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02-24-2006

03-20-2006
03~20-2006
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03-20-2006
06~29-2009

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Filed 09/09/16 Page 27 Of 188

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-$1,114.00
~$10.77

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Account Transcript

Case 1:16-0V-00206-PEC Document 24 Filed 09/09/16 Page 28 of 188

1040 Dec. 31, 2004 LANG

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United States Dep ar“|;ment of the Treasur‘y

Page l of 2

 

|L This Product Contains Sensitive Taxpayer Data

Account Transcript

Request Date: 02-27-2014
Response Date: 02-2'7-2014
Tracking Number: 100184921270
FORM NUMBER: 1040
TAX PERIOD: Dec. 31, 2004
TAXPAYER IDENTIFICATION NUMBER:
SPOUSE TAXPAYER IDENTIFICATION NUMBER:
BARNEY J a GINA B LANGLEY
~~- ANY MINUS SIGN sHowN BELOW sIGNIFIEs A cREDIT AMOUNT ---
AccOUNT BALANCE: 0.00
AccRuED INTEREST: 0.00 As oF: De<:. 24, 2012
ACCRUED PENALTY: 0.00 AS OF: Dec. 24, 2012
AccoUNT BALANCE PLUS AccRUALs
(this is not a payéff amount): 0.00
** INFORMATION FROM THE RETURN oR As ADJUSTED **
EXEMPTIONS: 05
FILING STATUS: Married Filing Joint
ADJUSTED GROSS INCOME: 315' 639-00
TAXABLE INCOME; 295, 861.00
TAx PER RE“T>URN;‘ 37,483.90
sE TAXABLE INCOME TAXPAYER: O»OO 8`8.'16.
' PlaintlfT response , _j*
sE TAXABLE INcoME sPoUsE: 0~00 EXHIBIT ’-,'» PAGE 5=/, ll
TOTAL sELF EMPLOYMENT TAX: 0-00 NO 1116`°"'00206'%€

ChiefJudge Patricia E. CampbelI-Smith

 

 

RETURN DUE DATE 0R RETURN RE<:EIVED DATE (wHIcHEvER Is LATER) Apr. 15, 2005 _ _
PRO<:ESSING DATE May 30, 2005 f
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CODE EXPLANATION OF TRANSACTION CYCLE DATE g pf AMOUNT
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Docket NO. 17267-13L
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Page% of

Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 l?.age 29 of 188

Plaintiff response

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NO 1:16-cv-00206-PEC

Chief`Judge Patricia E. Campbell~Smith

Account Transcript Page 2 of 2

1040 Dec. 31, 2004 LANG

150 Tax return filedA 20052008 05~30-2005

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n/a 07221-120-54116-5

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196 _Interest charged for late payment “ 20052008 05-30-2005 $31.43
706 Credit transferred in from by C'\l {MCL 04-15-2004 -$1,000.00 @
1040 200312 °`
706 credit transferred in from [A/(// G{f?a/ 04~17-2005 -$1,114.00 @
1040 200312
197 Reduced or removed interest charged for late 06-13-2005 ~$10.77
payment \\ _
670 Payment kll1 (:;{PK}J 08-26-2005 -$50.00€[>
971 Tax period blocked from automated levy program 10-24-2005 $0.00
971 Collection due process Notice of Intent to Levy 10~08-2005 $0.00
-- issued l
971 Collection due process Notice of Intent to Levy 10-08-2005 $0.00
-- issued
971 Installment agreement established 10-26-2005 $0.00
971 Collection due process Notice of Intent to Levy 11-18-2005 $0.00
-- return receipt signed
971 Collection due process Notice of Intent to Levy 01-18-2006 $0.00
-- refused or unclaimed ,
670 Payment 01~27-2006 -$2,225.60(:>
196 Interest charged for late payment 20060608 02-20-2006 $36.23
276 Penalty for late payment Of tax ‘ 200§0608 02-20-2006 $98.80
670 Peyment 9\/{ BO\N/l €(/ Lan`g/QV 02-24-2006 -$97.77
196 Interest charged for late payment 20061008 03-20-2006 $51.21
346 Refund issued y\O tprg( ¢" ra/UHOL/ 03-20-2006 $46.66€__,
776 Interest credited to your account 03-20-2006 -$0.10
971 No longer in installment agreement status 03-20-2006 $0.00
290 Additional tax assessed 20092408 06-29~2009 $0.00
n/a 17254~560-05117-9
971 Innocent spouse claim received 04-18-2011 $0.00
400 Transfer-out n 06~06-2011 $0.00
402 Transfer-in 06~06-2011 $0.00
971 Balance transferred to split liability account 06-20-2011 $0.00
604 Write-off of balance due *;) 06~20~2011 $0.00 ~) "
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EXhibit 8

5/19/14 Petitioner's Stipu|ation of Fact
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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 30 of 188

 

 

 

 

Account Transcript 1040 Dec. 31, 2004 LANG Page l of 2
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United States Depm~tment of the Treasury
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Account Transcrlpt
Request Date: 02-27-2014
Response Date: 02-27-2014
Tracking Number: 100184921270
rom NUMBER: 1040
'rAx Psnzon: nec. 31, 2004
mmst IoENTIchTIoN NUMBER:
spouse mprqu InE:N'rIFrcA'rIoN NuMm:m
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--- ANY Mruus stem shown BzLow erNIFIEs A cREDI'r moun'r ---
AccouN'r BALANCE= 0.00
Accnusn INTEnEs'r= 0.00 As on oee. 24, 2012
Accnuzo PcmAL'ry= 0.00 ns on nee.` 24,` 2012
AccouN'r BALANCE Pz.us mcallan
(this is not a payoff amount):` 0.00_
** INFoRMA'rIoN non 'ruz amuer on As ADJusTEo ~~
ExEMP'rIoNs: ' 05
FILING STATUS: Married E‘:l.ling Joint
Anaus'rso GRoss INcoME: 315' 539-°°
'rAanLa INcoMz: 295, 861.00
' 8-8-16
T§X PER RZTW: 37"‘83'90 Plaintif‘fresponse ’__, l `-\
ss TAxABLs INcoMs TAxPAYER: °'°° EXHlBIT 5 PAGE / “’//"I`
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ss 'rAxABLz INcoMF. spous):: ~ Chief}udge patricia E_ Campbell-smlch
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PRocEssINc c)A'rz May 30, 2005
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Account T_ranscript 1040 Dcc. 31, 2004 LANG

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PAGE

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No 1216- c-v- -00206-PEC
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196 Interest charged for late payment 20052009 05-30-2005' $31.43
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1040 200312
197 Reduced or removed interest charged for late 06~13-2005 -$10.77
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-- refused or unclaimed
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C_F`\ 670 Payment 01- 2-7- -2006 ~$2,225.66
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276 Penal\:y for late payment of tax 200,60608 02-20-2006 $98.82
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196 Interest charged for late payment 20061008 03-20-2006 $51.21 7
846 Refund issued 03~20-2006 $46.66 .
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 32 of 188

 

 

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No 1:16-cv-00206-PEC
ChiefJudge Patricia E. Campbell-Smith

 

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Account Transcrlpt
R_equest Date: 02-27-2014
Response Date: 02-27-201d
wrecking Number: 100134921270
row NUMBER: 1040 l

TAX PE`.RIOD: DeI:. 311 2004
` §
TAXPAYER- IDENTIFICATION N:UMBER:
SPOUSE TAXPAYER IDENTIE`IC.ATIDN NUMBER:

BARNEY' J & GINA B LANGLEY

-_' ANY MINUS SIGN SHOWN EELOW SIGNIFIES A CREDIT AMOUNT ---

ACCOUN'I' BALANCE: ' 0. 00

ACCRUED INTEREST: 0.00 AS OF: Doc. 24, 2012
ACCRUED PENALT`!: 0.00 AS OE`: Dec. 24, 2012
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g f') ACCOUNT BALANCE E'LUS ACCR_UALS
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(this is not a payoff amo|'\mt):` 0.00_

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Ex):MPTIONs: ' 05

E'ILING STATUS: Married E`iling Joint

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TAxABLz INcoME: - 295, 361.00

TAx era Rz'rusm= 37,483,90

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Account Tr&nscrjpt 1040 Dec. 3], 2004 LANG \ \.`\_ Pagc2 of2_, '
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971 Innocent spouse claim received C~I- -lB- 2011
400 Transfer-_n:x€h~‘ =}~’¢”~HN ;- 05 BE- 201:1:““"
402 Trsnsfer- -in ' 06-56-2011
971 leance transferred to split liability account 05-20~2311
604 weice- -erc or balance due l ` oa-aa~zun
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Plaintiffresponse

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Account Transcript

 

 

 

 

 

 

 

Request Date: 08-18~2014
Response Date: 08-18-2014
Tracking Number: 100209400564
FORM NUMBER: 1040
TAX PERIOD: Dec. 31, 2004
TAXPAYER IDENTIFICATION NUMBER: 260-21~8735

SPOUSE TAXEAYER IDENTIFICATION NUMBER: 257~27-0076

BARNEY J & GINA B LANGLEY

_-- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---

ACCOUNT BALANCE: 0 . 00
ACCRUED INTEREST: 0.00 AS OF: Dec. 24, 2012
ACCRUED PENALTY: O . 00 AS OF: DeC . 24 , 2012

ACCOUNT BALANCE PLUS ACCRUALS
(this is not a payoff amount): 0.00

** INFORMATION FROM THE RETURN OR AS ADJUSTED **

EXEMPTIONS: 05
FILING sTATUS: Married Filing Joint

ADJUSTED GROSS INcOME: 315'639-00

TAXABLE INCOME: 2§5,861.00

TAX PER RETURN: §l$$§§¢§@,.

sE TAXABLE INCOME TAXPAYER: '“‘ O-OO

SE TAXABLE INCOME SPOUSE: O-OO

TOTAL sELF EMPLOYMENT TAx: O-OO

RETURN DUE DATE OR RETURN REcEIvED DATE (wHIcHEvER Is LATER) Apr. 15, 2005

PROCESSING DATE May 30, 2005 ll

 

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706 Credit transferred in from nw 04-17-2005 ~$1,114.00
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197 Reduced or removed interest charged for late 06-13-2005 -$10.77
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971 Tax period blocked from automated levy program 10-24-2005 $0.00
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196 Interest charged for late payment 20060608 02-20-2006 $36.23
276 Penalty for late payment of tax 20060608 02-20-2006 $98.82
670 Payment 02-24-2006 ® -$97.77
196 Interest charged for late payment 20061008 03-20-2006 $51.21
846 Refund issued 03-20-2006 @ $46.66
776 Interest credited to 03-20~2006 @ -$0.10
971 NO longer in instaiim¢ _,,,-»~” ‘F 03-20-2006 $0.00
290 Additional tax assesse _ _\:'_\.`_ 092408 06- 29- 2009 $0.00
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971 Innocent spouse claim _ T`" i ll))' " 04- 10 2011 $0.00
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400 Transfer-out 1 11 1 1 1 1 " 06- 06- 2011 $0.00
402 Transfer-in b 1 ' 06-06-2011 $0.00
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971 Balance transferred tc __ _ 06-20-2011 $0.00
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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 36 of 188

Docket No._ 027396-12 /

Gina Brasher Langley

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UN|TED STATES TAX COURT
DOCKET ENTR|ES

v. CO|\/\|\/||SS|ONER OF lNTERNAL REVENUE

 

8-8-16

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EXHIBIT ICLU" PAGE
No 1:16-cv-00206-PEC l
ChiefJudgc Patricia E. Campb

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Petitioner Counse| (Tota| 01) Respondent Counse| (Tota| 02]
pRO SE LC0405 Locke, ClintJ.
801 Tom |\/|artin Drive
Room 257
Birmingham, AL 35211
FT014O Friday, Thomas A|an
801 Tom |\/|ar*cin Drive
Room 257
Birmingham, AL 35211
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- 35 0003 ‘|2/05/2012 A ANSWER by resp. -_ __,-" ' P 12/11/2012
ll 0004 08/12/2013 |\/lOTP |\/|OT|ON by petr. for leave to filed amended rep|y. DN 08/22/2013 B 08/23/2013
B 08/22/2013
r0005 08/12/2013 |\/||SL Amended Rep|y (LODGED). B 08/22/2013
10006 01/15/2014 NTD NOT|CE of Tria| on 5/19/2014 at Birmingham, AL. B 01/15/2014
10007 01/15/2014 SPTO STAND|NG PRE-TR|AL ORDER attached to Notice B 01/15/2014
_ ofTrial
_ § 0008 01/24/2014 |\/l115 |V|OT|ON FOR LEAVE TO F|LE NOT|CE OF GR|\/| 01/27/2014 P 01/24/2014
" F|L|NG OF PET|T|ON AND R|GHT TO
lNTERVENE ON BARNEY L. LANGELY
_ 01!24!2014 bv RM:L_ .'
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' 27, 2014 by Petr. Gina Brasher Langley (C/S
_ 02!1 01141 {ATTACHMENTS)
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_ DATED JANUARY 27, 2014 by Petr. Gina Brasher
Lanq|ev {C!S 02!10!14] {ATTACHN|ENTS]
05/22/2015 ' Page 1 of 3

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 37 of 188

Docket No. 027396-12

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NO.

DATE

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02/26/2014

 

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Petr Gina_B_ggsher Lanulev (C:'S 03:'1?,*14}

03/26/2014

 

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04/29/2014

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PI\/|T

PRETRIAL |\/|E|\/|ORANDU|\/| by Petr. Gina Brasher
Lanq|§v (C!S 05!05!14)

05/09/2014

 

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RESP. 5-19-14 MOT|ON TO D|SN||SS OF LACK
OF JUR|SD|CT|ON -- C,A.\f.

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|\/|OT|ON FOR SANCT|ONS AGA|NST THE
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RE|MBURSE|VIENT OF DA|\/|AGES BY
RESPONDENT by Petr. Gina Brasher Langley (C/S
06!18!14} (EXH|B|TS]

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{CALENDAR CALL}

 

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DIS|WSSAL bv Petr. Gina Brasher Lanq|ev

 

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 38 of 188

Docket No. 027396-12

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APPELLATE PROCEED|NG

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11TH C|R. (FEE PD.) (C.A.#15-10791) (C/S
02107!1 5} (EXH|B|T)

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"| 0029 02/18/2015

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CLERK.U.S,C.A. 11TH C|R. (1 VOL. OF REC.]

 

 

 

 

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 39 of 188
UN|TED STATES TAX COURT
400 SECOND STREET, N.W.
WASH|NGTON, D.C. 20217

November 237 2012

NOT|F|CAT|ON OF RECE|PT OF PET|T|ON

Docket No.: 27396-12
N amc of Case: Gina Brasher Langley
v. COMMISSIONER OF INTERNAL REVENUE

The Court received and filed your petition on November 09, 2012 and served it on respondent on
November 23, 2012.

(X) Filing Fee Paid.

(X) Request for Place of Trial at Birmingham, AL.

,Your Docket N_L:_nllM; Include the docket number given above for your case on all papers and
correspondence that you send to the Tax Court. Do not include your Social Security or Taxpayer
Identiiication numbers on any documents you file with the Court, except on Form 4.

For Further lnt`ormation bv Mail: To receive a booklet and a DVD with information about proceeding

in the Tax Court, complete and return the enclosed card or write the Clerk of the Court at the address
above

lnternct Access: If you have lntemet access, you may obtain information on the Tax Court's Web site
at wa.uslaxcoult.gov and selecting “Taxpayer Information”.

eAccess and eFi|ing: lnformation about how to register for eAccess is attached

. Changc of Address; You must notify the Clerk of the Court if you change your address Sec Tax

Court Form 10, Notice of Change of Address, under “Forrns” on the Tax Court's Web site. F ailure to
notify the Clerk of the Court of a change of your address can mean you do not receive notices and
documents essential to your case and can lead to dismissal of your case.

Robert R. Di Trolio
Clerk of the Court

 

Pro Se:

   
 

B-S-lf)

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Gina Brasher Langley
700 Oak Street
Neptune Beach, FL 32266

- Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 40 of 188
UNITED STATES TAX COURT
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' (PLEASE TYPE OR PRINT) '/ _/isctiliuucds]
v_ DocketNo.

COMMISSIONER OF lNTERNAL REVENUE,

Respondent

PETITION
l. Please check the appropriate box(es) to show which lRS NOTICE(s) you dispute:

§ Notice of Deficiency Notice of Determination Conceming Your Request for Relief
From Joint and Several Liability. (If you requested relief from joint and
several liability but the lRS has not made a determination, please see the
Information for Persons Representing Themselves Before the U.S. Tax
Court booklet or the Tax Court’s Web site.)

|Il Notice of Detennination

Conceming Collection Action ij Notice of Determination Conceming Worker Classit`lcation

2. Provide the date(s) t IRS issued the NOTICE(s) checked above and thec % d State of the lRS oftice(s)
issuing the NOTICE(S). #C?.Q )7-}.311?_'2/2-'3 29 ~2»;»2'7'/£ C‘°K ZU/ O/Z?. 2005 0212‘ C?/L/ 744/0

 

 

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_ 0 3. Provide the year(s§): period(s) for which the NOT|C( (S) was/were issued: 'Amr./ 51 02 7$/(0;;)2 l
[ " 4. SELECT ONE OF THE FOLLOWING:

if you want your case conducted under small tax case procedures, check here: l:l (CHECK

lt` you want your case conducted under regular tax case procedures, check here: F` ONE BOX)

NOTE: A decision 1n a “small tax case” cannot be appealed to a Court of Appeals by the taxpayer
or the IRS. If you do not check either box, the Court will tile your case as a regular tax case

5 Expiain why you disagree with the iRs determination in this case (please list each point separately)-
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/€ 2232@29/22/2'2 44? ”/o 42»/)/ (221:1 /02'1\;2'/€<2 /44243 r/;*_mt/ if 21202122“’.2 ’/
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' 5}19/1'4'Petitionér'$ Stipu|ation of Fact
EXhibit 3
Page 3 of 3 3

 

` Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 41 of 188
6. State the facts upon which you rely (p]ease list each

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You may use additional pages to explain why you disagree with the IRS determination or to state additional

facts. Please do not submit tag I'orrns,l receipts, or other types of evidence with this getition,

ENCLOSURES: Please check the appropriate boxes to show that you have enclosed the following items with this
petition:

~]?j A copy ofthe Detennination or Notice the IRS issued to you eff-ulp yl,g gn@ `{AH.L YA""€»
g Statement ofTaxpayer identification Number (Form 4) (See PRIVACY NOTICE below)
§ The Request for Place ofTrial (Form 5) Fl: The filing fee

PRI VACY NOTICE: Form 4 (Statement of`Taxpayer ldentification Nurnbe
All oth ourt, including this Petition and any lRS Notice that you enclose with this Petition,
' lic files. To protect your privacy, you are strongly encouraged to omit or remove
ed lRS Notice, and from any other document (other than Forrn 4) your taxpayer
(e.g., your Social Security number) and certain other confidential information as specified in the
Regarding Privacy and Public Access to Case Files", available at www.uslaxconn.yov.

point separately):

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r) will Li_t he part ofthe Court’s public files.

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EXhibit_B
Paoe 2 of 32

5/19/14 Petitioner'$ Stipu|ation 0

 

 

700 Oa4 §§

MAlLlNG ADDRESS

State of legal residence (if different from the mailing address)

jeep 242221°,

_/¢72>2/9/2,¢212/3‘?7

(AREA CODE) TELEPHONE NO.

215-424 27 aaa/c

CITY, sTATE, z1P coDE

: Hi‘/`C/@

 

SlGNATURE OF ADDlTIONAL PETlTlONER (e.g.,SPOUSE) DATE

(AREA CODE) TELEPHONE NO.

 

MAlLlNG ADDRESS

State oflegal residence (ifdifferent from the mailing address):

six-115 ___
Plaintill`rcquo_se

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Cl1icf.luci1_zc|)alricia lj. Camnl)eII-Srnllh

 

SIGNATURE OF COUNSEL, lF RETAINED BY PETITIONER(S)

NAME OF COUNSEL TAX COURT BAR NO.

 

MAlLlNG ADDRESS. ClTY. STATE, ZlP CODE

_Q gin top

DATE (AREA CODE) TELEPHONE NO_

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“" 61 'OJLl§`/wli'i§ll)rlcllé/

_ _ …. `-. ...u ¢ln.-ulsur,\' ' . Page 42 Of 188
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covington KY 41012 Aug. 27, 2012 LTR 5657c 50

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GINA B LANGLEV NmmmeW%

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No l:l6-cv-00206-I’1£Lf / / .." d _
ChiefJudge Patricia |i. Car'npbcl]-Smlth
Sucial SeCUFity Number: 6
J5
1040

Form:
Tax Year(s): 2004

 

025417

Contact Person: Mrs. Ryan
Employee Identification Number: 1000197722
Contact Telephone Number: 1-866-897-4270 ext 8125
FAX Number: 859-669-3717

Dear Taxpayer:

We received Form 8857, Request for Innocent Spouse Relief. You didn't
meet the basic eligibility requirements because: '~"~W~'~'

th“can do the following to get additional information:

~ Review Publication 971, Innocent Spouse Relief. (Visit www.irs.gov
or call 1-800-TAXFORM to get a copy of this publication.)

~ Call the contact person shown on the first page of this letter
between 6:30 a.m. and 3:00 p.m.(ET), or

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Conlact Tel’ep?one Number:
TOLL FREE! 1"500-829-7650
BEST TIME TO CALL:
GINA B LANGLEy MON - FRI 8:00 AM TO B:OO PM LOCAi

_ ASISTENCIA EN ESPANOL 1~800-829-76§

CALL lMMEDlATELY TO PREVENT PFIOPEFITY LOSS
‘ F|NAL NOT|CE OF |NTENT TO LEVY AND NOT|CE OF YOUF| FtIGHT TO A HEAR|NG

WHYl WE ARE SEND|NG YOU TH|S LETTER

We've written to you before asking you to contact us about your overdue taxes. You haven't responded or paid the
amounts you owe. We encourage you to call us immediately at the telephone number listed above to discuss your
options for paying these amounts. lt you act promptlyl we can resolve this matter without taking and setting your
property to collect what you owe.

We are authorized to collect overdue taxes by taking, which is called levying. property or rights to property and
selling them il necessary. Property includes bank accountsl wages, real estate commissions, business assets. cars
and other income and assets.

WHAT YOU SHOULD DO

This is your notice. as required under internal Ftevenue Code sections 6330 and 6331, that we intend to levy on
your property or your rights to property 30 days after the date ot this letter unless you take one ot these actions:
Pay the tull amount you owe, shown on the back ot this |etter. When doing so,
Please make your check or money order payable to the United States Treasury
. Write your social security number and the tax year or employer identification number and the tax period
on your payment; and enclose a co of this letter with our a ment.
, Make payment arrangementsl such as an installment agreement that allows you to pay off your debt over time.
. Appea| the intended levy on your property by requesting a Co||ection Due F'rocess hearing within 30 days
from the date ot this |etter.

WHAT TO DO IF YOU DlSAGFtEE

|f you've paid already or think we haven't credited a payment to your account, please send us proof of that payment.
You may also appeal our intended actions as described above.

Even it you request a hearing, please note that we can still file a Notice of Federal Tax Lien at any time to protect the
governments inlerest. A lien is a public notice that tells your creditors that the government has a right to your current
assets and any assets you acquire after we file the lien.

We've enclosed two publications that explain how we collect past due taxes and your collection appeal rights, as
required under internal Ftevenue Code sections 6330 and 5331. ln addition, we've enclosed a form that you can use
to request a Collection Due Process hearing.

We look torward to hearing from you immediatelyl and hope to assist you in fulfilling your responsibility as a
taxpayer.

 

 

 

 

 

 

8-3-16
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EXhibit 8

5/19/14 Petitioner's Stipulation of Fact
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 44 of 188

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Chicfluclgc Patricia E. Cantpbt:ll-Smith

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EXhibit A

  

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In reply refer to: 0297404711
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C|ticl`.ludgc l’rrtrioirl iii Cnmpho|t-Smith

Number: _76

Form: 1040

Tax Year(s): 2004 ¢ ! *.

Contact

Employee Identification
Contact Telephone

FAX

Dear Taxpayer:

Thank you for your correspondence received 09262012. \ -y“
t"
\

Person: Mrs. Larison
Number: 1000196203

Number: 1-866-897-4270 X8156
Number: 1-855-277-9040

There is currently no amount owed and we have made no additional §§
assessments for tax year(s) 2004. If in the'future you are 'U
contacted regarding any changes to your return, that will result in a
balance due, you may re-file the Form 8857, Request For Innocent

Spouse Relief.

Per IRC Section 6511 , a claim for a refund must be filed by the
taxpayer within 3 years from the time the return was filed or 2 years

from the time the tax was

- Review Publication 971
or call l-BOO-TAXFORM

- Call the contact perso
between 7:50 a.m. and

~ Write to us at the add

Please include a copy of
the best time to call you

Daytime phone number (

, Innocent Spouse Relief. (Visit www.irs.gov
to get a copy of this publication.)

n shown on the first page of this letter
4:50 p.m.(ET), or

this letter and a daytime phone number with

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GINA BRASHER LANGLEY,

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Plaintill` response l _ l.
EXHHnt /Z,pc PAGE//¢An)

ANSWER No 1 16- -cv- 00206- PEC v
Chichudge Patricia E. Campbell-Smlth

)
)
Petitioner, )
)
v. ) Docket No. 27396-12
)
COMMISSIONER OF INTERNAL REVENUE, ) Filed Electronically
)
)

Respondent.

RESPONDENT, in answer to the petition filed in the above-
entitled case, admits and denies as follower

l. Denies respondent sent petitioner a Notice of

Deficiency or Notice of Determination

   

2. Denies a Notice was sent; admits respondent issued

 

   

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f§é; 5. Denies for lack of sufficient information all F\/%?

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§ulg, allegations in paragraph and attached exhibit.

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m 6. Denies for lack of sufficient information.

7. Denies generally each and every allegation of the
petition not herein specirlcally admitted, qualifi§d or denied.

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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 47 of 188

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No |:lti~cv-OUIUE')»PEC ;_J.
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Docket No. 27396-12

wHERsFORE, it is prayed that the relief Seughr; in the

petition be denied.

WILLIAM J. WILKINS
Chief Counsel
Internal Revenue Service

 

Date=._ls/_Os/a>_lz____ By, _,~ltv_\ § t "..1<:- t t
Joa§ F. DRIscoLL /

Associate Area Counsel
(Small Business/Sel£-Employedt
Tax Court Bar No. DJO797

cLINT J. Lo¢Ks

Um Attorney
\9 (Small Business/$elf-Employed)
TT Tax Court Bar No. LC0405 _q
E"c`) 801 Tom Mart:,in Dr 1
5 §§ Rm 257 ` j
,_’,j o Birmingham, AL 35211 r/\ r)
§’ Telephone: 1205) 912-5465

OF COUNSEL:
THOMAS R. THOMAS
Division Counsel

(Small Business/Self-Employed)
ELLEN T . FRIBERG
Area Counsel

(Small Business/Self-Employed:Area 3)

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Chicf`.ludgc Patricia E. Campbell~Smith
ln 1995 Monroe Smjth, and Langley Mecharu`oal Coptracto.rs Was termed, in part
. by a $25,000.000 chech Writtcn by .lerry Brasher, the t`al.'l'te§'l 'of .

On ll/29/04 that corporation El # _4, was dissolved

On .lune 26, 2006 a final judgment in the dissolution of marriage was entered for

w and _5 That fina__l_prder rs tn appeal
l_n that orrler, it_ st§§§es__t_hat- k

claims the $2§_._000.0,0_1.vas-a--gih.___From 1995 t pugh 2005 - - and #_
.15 filed joint federal 1040 tax returns No gift was ever ,_Q_,|tu`med on any tax return and

       

6 the daughter of Jcrr"y Brasher, contends l'.hat`t§lc $25,000.00 was a loan. r'\
z z larry Brasher has the cancelled check (the memo of`that capoelled does not say it was a 4 `;:J
Cl/l%/l gift). larry Brasher contends that he is also due int rest at the prime rate plus 1 ‘/z % on ' \\", ‘
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l li 3 ,r__ 55 heed 0 FO;LF\£ C,Dr pbl'cL-llof`) . "
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" |) ) §§ -,l_. was never paid any money for her Shares. '
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ChiefJudge Patricia E. Campbell-Smlfh
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vre~,»

SUZANN`E WORRALL GREEN, P.A.
4300 Marsh Landing Blvd., Sui!c 203

Jacksonvllle Bcach, Florida 32250

,r i9‘341.,3,_30v13770

Suzanoe Worrall Grccn, Esqulrc* Jamlo M. Mmco, L.L

Shoron ans, Paralegnl
‘ Certified Family Mcdi:lcor

o’crob¢r 17, 2005
U.S. Mail & Facsimile 733-2919
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8'.‘7? San lose Bl\“d':»~$uile 301
Chul'chl ll Pnrk
Jacksorville, Florida 32217

Rc: Langley v. Langley
Case T\'o : l~6~2{)04-DR-009042
Division; F.\-i-E

Dear Chlp:

Pursuant to the Court’s Order. please t".nd below the Pa:ties' minimum monthly payments (k'lown
to Mr. Langloy) that should be paid immediately out of the Parties' escrowed monies in your trust acco'_'m:

Chasc Card Se.'vices 5 531.00
Discovor S 7.00
Bar\k Carcl Scrviccs $ 432.00
Low¢`s S 61.00
Home Dele 3 62_00
S~.:a:s 5 266-.00
IRS - DL ll~S-OS or Levy 5 2.2?.5.66

According ro your cl\cnt`s answer in Responsc to number 4 of the Wifo's Response to Husband's
Emorgcncy Motion to Prorc:c rh: Mari al As sets ar.d for Child Support she“ ..vcry much wishes to pay
down debts.' Wc hare scm several letters lo your office asking that the IRS be p ai:l m :`ull as v.ell as other
marital debt so that the Pan`.es do not accrue more penalties and Emcrcsc.

If there are other marital payments due for October or No\ cmb¢r that your eli en. wishes to pay,

please add' lt to chc list and let us know so that we crm agree to payment of the above lMMEDIATELY
pursuanl lo the Court’ = Order.

] look forward to hearing from you wlchin the next day or two_

§lfu:?) erer

isan 911-irm
SWG:jmm

cci M.r. Bamcy Langley __,_)‘
Mr. Da\id '[` odd "-'

8-8-16

Plaintiff response

EXHIBlT § vQ, PAGE _5¢\

No 1:16-cv-00206-PEC )U . h

Chief.ludge Patricia E Campbell- -Smlt
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Sttzanne ‘\l\“`. Green. Esquire
4300 Marsh Landing Boulevard, Suite 203
Jacltsonvillc Beach. Florida 32250

RE: Langley v. Langley

Denr Stiz:tnne:
l nm in receipt of your letter ol` even dnte.

trust money is to be utilized
marital credit Carci debt ”

October 17

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Page 51 of 188

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No l: 16- t:v- -00206- Pl:'.C.` ;L,

Chiefludge |’tttrit:ial?.. Campbell»$mith

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CC: Gina Langley
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5)'19)‘14 Petitioner's Stipulation of Fact

EXhibit

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Document 24 Filed 09/09/16 Page 52 of 1

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i_'t_.lOTION FOR ORDER ALLOWING DEPOSIT INTO COURT REGISTRY
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COt\/[ES NOW the law firm ol"Parl<er & DuFresne, P.A. (Hereinafter “the fit'rn”) and moves

this court, pursuant to Cl\./il Procedure Rule 2.0’ "

marital funds into the Court’s Registry,

and in support would say:

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asset were deposited into the firm’s tr_r.t_s__t_a _ ,

  

Petitioner/Wlfe, Gina B, Langley, and Jolm Davld T

odd, Esquire has previously filed et Notice of

Appearance as the Wir”e’s new attorney "`

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3. ln its Order l`)ett"/htg Hus'onnd’s Motion to Prot'ect r\/l;tril'a»tl ,¢\ssel;s and l?:ir tjltild

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Case 1'16-cV-00206-PEC Document 24 Flled 09/09/16 Page 53 of 18

be held in the Court’e registry pending equitable division tliei'eoi".

l HEREBY CERTIFY that a t

rue and correct copy ofthe t`oregoingh

Langley, l4 l8 Pinewood Rd., Jaol<eonville Beach, FL 32266; Suzanne
l‘\/larsh bending B|vd., Sl_lite ‘203, Jacl<§on\/ille Beach, Fl. 32250; vend ilo|m D¢wid Todd. lippo ire,
68|7Southpoint Perkwny, Suite lSO l , rlaol<son\/ille, Floride 32216 via U.S, l\/lsiil on this / o day

ot`i\lovernber, 2005. _
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as been i`l.lrnished to Gina B-.
Worral| Green, E.<;quire, 43th

  

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\ --_"'_"_f""_'/ .)\"\""`

 

 

 

E. Werren Parl<er, Jr., Esquire

Florida Ber No.:
:37'77 San lose Boulevard`
Cln.trohill Parl<, Suite 301
lacl<-sonville, Florida 32217

('904) 733~7766

958506

8-8-16 `
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Il::lo l‘.lé-Cv-OOZOG-PEC 15 F- +\If|f‘S\mith
ChiefJudge Patricia E. Camnbc

 

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Gina Langley
1418 Pinewood Rd.
Jacksonville Beach, Fl. 32250

July 27,2006

Suzanne W. Green, Esquire

43 00 Marsh Landing Blvd.
Suite 203

Jacksonvil]e Beach, Fl. 32250
Attorney for father

Re: case no: 16-2004-DR-9042-FMXX-MA
16-2003 -DR-OOBSS-DVXXMA
1 6-2004-DR-009042-FMXX-MA

Ms. Greeli,

I request that you produce the details of the escrow account held by you for the above
cases within 5 days. Please provide the current balance of the escrow account, the

amount of each check written, the name of whom the check was payable to, and the dates
the checks were written. Please provide the information from Jan l, 2005 to July 27, ,

2006.
.‘
Sincerely,
/_, s-a-m
- _,._; |“laimil't`rcsp nsc 8-3-|6 ___,
jj __ Exnusi'r film l»Aoi_z'_/
. . . - - Nu. lzir»-c\»-ooztae-PEC n{ ,'L;

Gina Langley Cl\ief`]udgc Patricia I.';. C:unpbcll-Smith

Certificate of Service

I hereby certify that a copy hereof has been flmnshed to Suzanne Worrall Green, Esquire,
4300 Marsh Landing Blvd., Suite 203, Jacksonville Beach, Fl. 32250, by US Mail and
certified Mail this 27“‘ day orruly, 2006.

Gina Langley
Gina L ':l'ey
1418 Pinewood Rd.

\

951/0 ' C/? ‘ Z(;;‘/)` \. Jacksonville Beach, F1. 32250

¢»'/ fn// Mother ofAbby, Morgan, and Josh

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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 55 of 188

4300 Marsh Landing Blvd., Suite 203 -
lacksonville Beach, Florida 32250
4Telephone:(904)280-3770
FacshnNe:(904)273-057l

Sharon Bass, Paralegal

Suzanne W. Green, Esquire *
Barbara Kidd, Paraleqal

* Certified Family Mediator

August 18, 2006

James N. VVatson, Jr., Bar Counsel
The Florida Bar
Ta|lahassee Branch Office

651 East Jefferson Street 1

_Ta|lahassee, FL 323900-2300 8_8_16
Plainti H' response (`
exhibi'r ft at PAGE t

Re: Gina Langley; TFB File No.: 2007-00,129(40) Nu_ l_,é_cv_[,@z@@_PEC 51 w

ChiefJudge Patricia E. Campbe||-Smit_h
Dear Mr. Watson:

This letter is in response to the above referenced Compiaint. | represented Mr.
Barney Langley in a divorce action between the parties. Mrs. Gina Langley
(Complaintant) was represented by two separate counseis during the matter. ln response
to Mrs. Langley's alleg_ations, 1 have enctosed a copy of the Final Judgment of Dissolution
of Marriage. Furthermore, l have enclosed numerous copies of correspondence and
communications to l\/lrs. Langley's counsel and to Mrs. Langley directly after the

pendency of the case.

Speciflca|ly, please find a copy of my correspondence to the Comptainant's C//
counsel dated June 29, 2006 regarding the funds held in my escrow account The court

required me to hold funds from the sale of a home by the parties When. re ue`s't'e?`d`,"i“W§S
t'o"pa#y marital debts'wlth"thos'e"funds. Mrs. Langley's attorney mademmrs_*

while the funds were in his possession, however the court then directed_me to hold the
fun_rl_s__pec_a_u__se her attorney was not properly accbii“rit`ing `for the paid"debts.' Pb'rs_'u"a`n't `to`
the Final Jud_r`;"rnéht,"`l`forwarded a check to lvlr. J.D. Todd (counsel of record for Mrs.
f.angley) made payable to Mrs. Langley. Ptease nnd a copy of my correspondence to
Com"plainant’s counsel dated Juiy 14, 2006 which was taxed and mailedl Also, a copy of
the printout from the escrow funds account was provided l have included a copy of the
tax cover sheet and activity report evidencing the taxed correspondence was successful
and a copy of correspondence directly to the Complainant dated August 2, 2006 wherein

l forwarded copies of the letters previously sent to her attorney, J.D. Todd.

With regards to the “statements or allegations" by Mrs. Langley, l Wil| try to
respond as best as possible Mrs. Langiey makes numerous references to "e)<cerpts"

 

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5/19/14 Petitioner's Sti

Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 56 of 188
The F|onda par
August 18, 2006

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from the final hearing. P|ease be advised that neither party requested a court reporter for
the final hearing. Therefora, there is not a transcript of the hearing which consisted of
two days (unconsecutive).

Llpon reviewing the complaint. lsee comments from Mrs. Langley, but l am unable
to respond to the “a|legat:`ons" as they are mere statements l am unable to admit or
deny, nor dol have the ability to comment to each statement as they appear to be in a.__ h ..

' " rambling form. The statements are broken and Without any clear or precise allegations l

believe the_Eip_al _J_udg'ment_‘of,D_issolution of Marriage along with the copies of my “""”"
correspondence to Mrs. Langley and her counsel clarifies any “ailegation" made by Mrs.
Langley,_`_"With regard to "e)<c'er`pts" from the final hearing, these are merely Mrs.

l_a"n'g`|ey"s perception of the events of the hearing and not fact. The Circuit Court Judge
outlined his findings of facts in the Final Judgment which should be taken into

consideration upon review of the Complaint by Mrs. Langley.

in the meantime. should you require anything further or need further explanation
please advise.

Respectfully submitted,
SUZANNE WORRALL GREEN, P.A.

.' Suzan W.Green, squ re "

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Enclosures Nol__m_w_mzo€,_m, lt it

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cc: Ms. Gina Langley
1418 Pinewood Road
Jacksonville Beach, FL 32250

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1 _ Fursuant to 14qu 3'-7 l(t`)___','_ _Rt_iloo ot`__ Dn'iciphm\:t you must execute the appropnate disclosing
_paragraphbciow and rcttl_f_rk_ their form to this office within 13 daya. The rule provides that the
~" nature of th`o` charges tie stated _1i`1 the notice to your tinn;_ ____hc_l_'ii_vover, we suggest that you_ attach _a'

 

 

 

' copy of the complaint
_ " l ' commons _oF olscl.osuns _
__ IHEREBY century thin 01111_11'_1"1 [3’ day or 614%1~»+ 20¢§ am copde
this foregoing discloauro was_ _ishod to 11111=-- _____ _ a_ lumber 0£_
; my_.. present law _t_i_iim_ of .'_¢"l~_~_¢ u-\. G{¢£]~ P. 4 `
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- _:_1`__1__ t__h_e __tin_te_ _o_§`_ the _act(s) giving rise to the complaint _t`rl TI-`B Fiio No.2007100,-_129_(4C)1;’

   

 

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CERTIFICATE OE DISCLOSURE
__ __ (Corporste/Governmenl Employment)
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Suz_ann__o Worrall Grccn

CER'I'IFICATE OE- _NONLLAW FIRMAFFILIATION
_ (So_l`e_ _Practitlooer) -

I HE36E|Y CERT!FY to The Floridz Bar on this day of 200 _',

that l am not presently affiliated with a law firm and was not affiliated with a law firm at the time
of the act(s] giving rise to the complaint` m TFB Filo Noi 2007-00,129(4€).

 

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Case 1:16-cV-OO2O6-PEC Document 24 Filed 09/09/16 Page 58 of 188

In the United States Court of Federal Claims

No. l6-206C

(Filed: August l, 2016)

 

 

)
GINA BRASHER LANGLEY, )
)
Plaintiff, )
)
v. )
)
THE UNITED STATES, )
)
Defendant. )
) 8-8-16
Plaintiff response
EXHIBIT g ; yj PAGEC
ORDER §§1;1‘1?,:.°;;‘§5;€?£;§§%11¢.

 

_Blaintiff filed a sur_-_rep_ly_on July 29, 2016 to defendant’s reply, filed on July 14,
2016, ECF N_o. l'_/".M_P'laintiff claims that defendant perjured itself by denying that plaintiff
filed her 1040x tax refund claim, by stating falsely that plaintiff had failed to prove a
cause of action, and'by alleging erroneously that the court lacks jurisdiction over
plaintiff s claims. Sur-reply 3.

The court is mindful of the Federal Circuit’s guidance that “a court should not
consider new evidence presented in a reply without giving the other party an opportunity
to respond.” Acumed LLC v. Strvker Corp., 551 F.3d 1323, 1332 (Fed. Cir. 2008) (citing
Provenz v. Millcr, 102 F.3d 1478, 1483 (9th Cir.l996)). But here, defendant has not
raised any new issues or present additional evidence that would warrant giving plaintiff

"Mditi`o“nal opportunity to"r'es'pond. Moreover, in her sur-reply, plaintiff simply repeats
the arguments she made in response to defendant’s amended motion to dismiss. Pl.’s
Resp. to Def.’s Am. Mot. 4, 9, 12-13, 15.

 

The court DENIES plaintiffs attempt to file an unrequested sur-__r_eply and directs
the Cler "’s Office _“t'c§"'r"etu'rn the document to plaintiff.

Qera as @/3. W »M
RATRICIA E. CAMPBE?LL_sMITH
Chief Judge

IT IS SO ORDERED.

Case 1:16-oV-00206-PEC Dooument 24 Filed 09/09/16 Page 59 of 188

Gina Brasher Langley

700 Oak St.

Neptune Beach, Fl. 32266
account number 172481-0088

July 26, 2016

Clerk, USFCC

717 Madison Place, NW
Room 103

Washington DC 20439

Re: No: 1:16 cv 00206PEC
Chief Judge Patricia E. Campbell-Smith

.Dear Clerk,
Please accept for Filing:

l. The original and two copies of Plaintist SuI-Reply pages one to nineteen With attachments F
pages one through six.

Most S` rely, __ y

Gina Brasher Langley

_ ._c. _ _......_ ._.. .._..r.`..._ .........

8-8-16
Plaintif]` response

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ChiefJudg<: Patricia E. Can:phcl|-Smith

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Page 60 of 188

8-8-16

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C§_serti_: 16331 o\/- OO206- PEC Dooument 24 Filed 09/09/16 Page 61 of 188 \

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BM IRS Int}:>l nal Revonue Se\ vice

` KANSAS CITY MO 64999-0029

GINA B LANGLEY
700 OAK ST

NEPTUNE BEACH FL 52266-5740

 

In reply refer to: 0975525315 ‘,
Nov. 507 2012 LTR 3886C 0
XXX-XX-XXXX 200612 30
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BUDC: SB

8-8-16

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No_ l:lr§- -cv- -00206- I’EC

Chief Judge Patricia E. Campbell-Smil

XXX-XX-XXXX
Dec. 51, 2006
Dec. 31, 2009

Dec. 51,
Dec. 317

2008
2010

Request for a Collection Due Process

Additlonal information is needed to expedite the processing of your

008618
Taxpayer Identification Number:
Tax Period(s):
Dear Taxpayer:

Thank you for your Form 12155,

Hearing, received Nov. 08, 2012.
3 rrequest.
* ';1_17.‘"
/

The balance due for the above tax period(s)

Please contact me at 1- 816- 325- 8900 by December 57 2012,
Tax Year 2007 does not qualify for a Collection Due Process Hearing.

re .

is $5+551 687 which

includes penalty and interest figured to December 207 2012,

If we do not hear from you by Dec.

se ,.»...7`.~:.,

05, 2012, we will submit your

Form 12155, Request for a Collection Due Process Hearing to the

appropriate Appeals officé.

. .7

If you have any questions about this letter, please call us

at 1-816~325-8900 between the hours of 7:00 a.m.
If this number

2:00 p.m. Monday through Friday.

is outside your local calling area,

charge to you.

Whenever you write,
the spaces below,
hours we can reach you.

Daytime telephone number ( )

please include a copy 07
give us your telephone numbers along with the

and

there will be a long distance

this letter and, in

Hours

 

Evening telephone number ( )

Hours

 

 

  
 

Case 1:16-cv-OO206-PEC ocument 24 Fi|e_d 09/09/16 Page 62 of 188'll
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Challen es to the Existence of Amount of Lia i 4 L/D w
You are disputing your |iabi|ity, and have indic,at that there remains . 63.92 of funds
ordered with escrow in 2005 that remain unaccounted for by ex spouse's attorney on ,/ 2
property sold that generated the 2004 tax paid in dispute. 566 45 7@¢ (',DU’r § 6-

Appeals Ana|ysis of the |ssue: You are precluded from raising the liability issued under CDP
. since you had a prior opportunity to dispute the liability when you petitioned Tax Court on
. November 4, 2012, and were later denied relief on December 5, 2012.

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You raised no other issues M \,l@ 5
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action be no more intrusive than necessa

 

_17’r squired legal procedures were followed in issuing the notice of intent to levy, and
/ sing the taxpayer of his appeal dghts. The taxpayer was given the opportunity to raise
relevant issues relating to the unpaid tax. |RC Section 6330 requires that the Set_tlernent
.-:er consider whether any collection action balances the need for efficient collection of
.axes with the legitimate concern that any collection action be no more intrusive than
necessary. The issue ln this case is whether a levy against the taxpayers assets is
appropriate The taxpayer did not agree to the qualifying collection alternative proposed by
the Settlement Ofticer to resolve the outstanding liability; or provide financial information
needed to support an inability to pay. Therefore, the notice of intent to levy balances the
need for efficient collection of the tax with your concern that the action be no more intrusive

than necessary
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8-8-]6

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EXIuBrY 57-\;7-`:77 PAGE 94 3
No l:l6-cv-00206-PEC

Chief infirm Patricia F. annhri|-.‘-imiih

 

        

Docket No. 17267_-13L

EXhibit G g 54 §

 

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Case 1:16-cv-OO206-PEC Document 24 Filed 09/09/16 Page 63 of 188

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l SZ‘?g ~ 910 l

lf you do not petition the court within the time frame provided by taw, your case will be
returned to"the originating lRS office for action consistent with the determination
summarized below and described on the attached page(s). |f you have any questionsl
please contact the person Whose name and telephone number are shown above.

Summa;y of Determinatlon

All required legal procedures were followed in issuing the Notice of intent to Levy and
advising you of your appeal rights. Levy action in this case balances the need for
efficient collection 'of taxes with the legitimate concern that any collection action be no
more intrusive than necessary. You did not agree to the terms of the proposed ~
qualifying Stream|ined installment Agreement proposal to resolve your outstanding
liabilityl or provide necessary documentation to support an inability to meet the terms of

the qualifying Streamlinedlnstallment Agreement proposal The action by the
Collection Division is fully sustained You are being advised of this determination in

writing and your right to judicial review.

 

 

  

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§§ Cindy Kasr'nlnoff
§ Appeals Team Manager 3a
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Enclosure(s): Attachment

8-8-16
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Chiefiudge Patricia E. Campbell-Smith

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Exhibit §
Pagejpof

aj since you had a prior opportunity to dispute the liability when you petitioned Tax Court on \3§
. ’r-'. November 4, 2012, and were later denied relief on December 5, 2012,

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Case 1:16-cv-00206-PEC Document 24 Filed 09/09/16 Page 64 of 188

Cha|lenges to the Existence of Amount of Liabiligy

You are disputing your liat;aiiltyl and have indicate that there remains $72,163.92 of funds
ordered with escrow in 2005 that remain unaccounted for by ex spouse's attorney on
property sold that generated the 2004 tax paid in dispute.

App_eais Analysis of the |ssue: You are precluded from raising the liability issued under CDP May

You raised no other issues ~. op n

ci

t‘>
Balancing of need for efficient collection with taxpayer concern that the collection `Q;po\l)
rt

action be no more Intrusive than necessary 333
t/

Al| required legal procedures were followed in issuing the notice of intent to levy, and 300 3,
advising the taxpayer of his appeal rights. The taxpayer was given the opportunity to raise g ` l-é

any relevant issues relating to the unpaid tax. IRC Section 6330 requires that the Settlement )<\k\ (r’ 03
Officer consider whether any collection action balances the need for efficient collection of Qil \7, \\-"
taxes with the legitimate concern that any collection action be no more intrusive than ~‘ L,.
necessary The issue in this case is whether a levy against the taxpayers assets is ,@ {\"b
appropriatel The taxpayer did not agree to the qualifying collection alternative proposed by §

the Settlement Officer to resolve the outstanding iiability; or provide financial information \

needed to support an inability to pay. Therefore. the notice of intent to levy balances the

\need for efficient collection of the tax with your concern that the action be no more intrusive

than necessary.
\

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\\M"`““" d€‘ll<’fntiit¢tiim\ 6</' Di/eilc/cz/\ 7/“ w
sys l am tr 077 ties/75
by S€'H arnett c?/)Cr/- , `i<v<` yale 900¢7 363
ordered Or\ elging 710 be 3
COrr@c-r’a/ pit tjlc@-t_ Co/.a)- -
iot/ lD)Z?$//i*/

8~8-16
Plaintiff response 3 §
EXHIBrr .. 7' ven PAGE Li ’7

No l:l6-cv-00206-PEC
Chiefludge Patricia E Campbell~Smith

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Folr.f; dal/393
Docke No. 17267-13L
Exhibit 7-J

  

Fi|eo| 09/09/16 Page 65 of 188
Case 1:16-cV-00206-PEC Document 24 d
'2* iii/j 105 n ll/_Z>

. _ »ré
_ 1 _ , nom lrrm-H 5
Upon due consideration and for cause, it is hereby US FC,_,

ORDERED that this case is remanded to respondent’S Office Ol` Appeals for
further consideratioii, The parties shall meet at a reasonable and mutually agreed
upon date and time but no later than August 25, 20 l4. lt is further

-__._._ .-»~_...,.-..__-_-__....-__.,_,

 

-**\-_._...

  
  
   
 

"`""--`--`-`=~’- ORDERED that on remand respondentsliali assign an independent/ii eals
/ mPL

representativesth pl revrou_s_ly_ ianLve__in tllr_s~rn_a_tter, to re@y_dlefa_cts_releva_nt
_ to this case, to provide petitioner with a__n_"ac.couritrng*<_)t_t“r§l)_a)§_i_r_ents app_li_ed__a_nd "
_1-?§£@§ made f@n__ZQQ§ iih‘oug_lr.ZO l 0,,andmt_o issue a supplemental l_i_o_tr_g§ oi`
<l@‘@f"“l“all$>_r£l”_mf CDH£_QfSWL€HQr-S and 36writsleases_.!ire_t¢a§err§,faf_!ir‘-r-’=
determination made lt is further H""""`""" -'“‘

ii

ORDERED that petitioner shall cooperate with the new Appeals
representative and provide financial information in the format requested by that
representative1 without expecting or demanding curative action with respect to
ands allegedly held by persons not parties to this case lt is Further'

ORDERED that on or before October 24, 2014, the parties sliall, jointly or

sepai'ateiy, report to the Court in writing as to the then current Status oi` this case it
is further

ORDERED that petitioner’s motion for sanctions against respondent filed
May 19, 2014, is denied

(Signed) Mary Ann Cohen
Judge
Dated: Washington. D.C.
.lurrc 26, 2014 3-3-16

Plaintil‘frcs|ionsc l ,/
EXHiBi'r' :»t ' vi r\ PAGE 64 §

No 1:16-cv-00206-PEC

ChiefJudge Patricia E. Campbe
_ ,. - .. x .1,--\-;;_)_-|¢,':¢~&'~¢_‘_1-\9_“:_

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il-Smith

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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 66 of 188
CMS

UN|TED STATES TAX COURT
WASH|NGTON, DC 20217

GINA BRASH`ER LANGLEY, )
Petitioner(s), §
v. § Docket No. 17267-13 L.
COMM|SSIONER OF INT'ERNAL REVENUE, §
Respondent l
0 R D E R

By Order dated October 23, 2014, the time was extended to November 24,
2014, for respondent to issue to petitioner, a supplemental notice of determination
lt is hereby W..:-...c,;.....¢¢.:sm:;;.'.:si....M-»y -.-'-1~---
.ndh'l ‘£i cadc
ORDERED that on or before December I(), 2014, respondent shall provide
to the Court the supplemental notice of determination previously ordered

. _.“__ ja

(Signed) Mary Ann Cohen
Judge

Dated: Washington, D.C.
December 3, 2014

8-8-16

SERVED DeC 03 2014 Plainlill`response _ q
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NO l‘_l()-CV-UUZU(:»PE '
Chiel`ludgc Patricia E. Campbell-Smrih

PE D c en124 Fi|eo| 09/09/16 Pa e 67 of 188
Case 1:16--cv 00206- m.__j}'_f go pga g

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5MH51
T’(‘; n/l€mo payor
175@713

[*5] After numerous exchanges with petitioner, on June 25, 2013 the settlement

 

officer issued a notice of determination sustaining the proposed levy. 'Ihe*not_ice

was based m part on the Appeals representatlve s erroneous concluslons that the

-~1;-;"¢..>),~:'

section 6015 claim had been decided against petitioner by the Court, when` 1n fact

.m._».___,--\._an--"

the only thing that had happened by that time in docket No. 273 96 12 was that
j " *` , -r, la

Plaintiff motion

respondent had filed an answer to the petition - attachment B page37
um x d mi v 1 "` N..l m t» 00201'1- PEC
. Chi: 1 1111111. l’ ulricial§ Campbell- -Sm
G\.¢'d.l.lb'b

 

n ¢-......

Respondent filed a motion for summary judgment that was demed b

of m1sstatements in the moving papers and in the administrative record When the
case Was called for trial, the Court ordered a remand for an independent Appeals
representative to review the facts relevant to this case, to prov1de petltloner wlth

an accounting of the payments applied and refunds made from 2004 through 2010

1 ` v _ |'") 2
. :"" o m ‘tr
. . . ~- >< - 1=»
and to issue a supplemental notlce of determination that corrects the prlor errors § 55 § § _§°j'
d /' ~ a§s§°
‘ ' r \’l
ina - d d 0 ! he c 1 h
and accurately states the reasons for the determinatlon made"’. In the order §§ §._§§
i'.-~ S" §§ r'$‘
.¢`-"J rig '\"‘
. . ‘l
remandmg the case, however, We explalned. §!\q}~_§`
Fhere are however, certam obstacles to the relief that 51 __ _

petitioner seeks, and her misunderstandings contrlbute to the
unsatisfactory state of the record. Neither respondent nor the Court
can remedy petitioner’s concerns With what occurred in her domestic
case in Florida or what funds are in the hands of persons over whom
the'Court does not have jurisdiction Her persistence in seeking l ,
mappropriate remedies has diverted attention from the primary issue, /-1 ' l 1"'

which 1s whether she qualities for a collection alternativeto the-z -- -_ ' *““g_b& _'“- - -
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 68 of 188

ALS

UN|TED STATES TAX COURT
WASH|NGTON, DC 20217

GINA BRASHER LANGLEY, )
Petitioner(s), §
v. § Docket No. 17267-13 L.
COMMISSIONER OF INTERNAL REVENUE, §
Respondent )
O R D E R

On -October 23, 2014, respondent’s Status Report was electronically filed at

12:08 p.m. A second duplicate status report was electronically filed on October
23, 2014 at 12:12 p.m. lt is hereby

ORDERED that the status report filed on October 23, 2014, at 12:12 p.m., is
hereby deemed stricken from the record in this case. It is further

ORDERED that the time respondent shall have to issue a supplemental
notice of determination to petitioner is extended to November 24, 2014.

(Signed) Mary Ann Cohen
Judge

Dated: Washington, D.C.
October 23, 2014

8-8-]6

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NO l 1 lf)-cv-OUZUFJ~|’IEC

ChiefJudge Patricia E. Campbe||-Smith

SERVED Oct 24 2014

Case 1:16-cV-OO2O6-PEC Document 24 Filed 09/09/16 Page 69 of 188

/, _
DocketNo. 519`17267-13 L

Gina Brasher Langley

UN|TED STATES TAX COURT

DOCKET ENTR|ES

v. CO|V||\/||SS|ONER OF |NTERNAL REVENUE

 

|NDEX

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Petitioner Counsel (Tota| 01) Respondent Counsel (Tota| 02)
pRO SE LCO405 LOCK€, Cllni J.
801 Tom |\/|artin Drive
Room 257
Blrmlngham, AL 35211 R_s_|é
|’|ainlilt' response .
_ linllBl'l` C';i¢'LF" l’A(i|:,`\"`"
FT014O Fr|day, ThOmaS Alan No l;](,-cv_{]gggg-pt.;(j(,'
8`01 Tom Martjn Drive Cliiel`]udge Patricia E. Campbell-
Room 257
Birmingham, AL 35211
r_=,No.""' " " DATE ' __EvENr FlLlNGs AND PRocEEDlNGs AcT/sTAT DTE sERvED M
com 07/29/2013 PF PETlTlON Filed:Fee Paid R 08/07/2013
l 0002 07/29/2013 REQT REQUEST for P|ace Of Trial at Birmingham, AL R 08/07/2013
._ § 0003 09/10/2013 ACS ANSWER (C/S 9/10/2013).
`| 0004 10/21/2013 RCS REPLY (C/S 10/16/2013) 10/30/2013
[0005 01/15/2014 NTD NOT|CE Of Tria| On 5/19/2014 at Birmingham, AL. 01/15/2014
"| 0006 01/15/2014 SPTO STAND|NG PRE-TR|AL ORDER attached to Notice B 01/15/2014
_ " orrri@:
. a 0007 03/06/2014 |\/|034 |\/lOT|ON FOR SU|V||\/|ARY JUDGl\/|ENT by Resp. ORD 04/11/2014 C 03/06/2014
_ rcra 03/061141
- § 0008 03,~‘061"2014 |\/|E|VlO |\/|E|\/|ORANDUl\/| OF AUTHOR|T|ES [N SUPPORT C 03/06/2014
" OF RESPONDENT'S |\/lOT|ON FOR SU|\/||\/|ARY
JUDGN|ENT bv RE_$D..
_ a 0009 03/06/2014 DCL DECLARAT|ON OF CL|NT J. LOCKE |N SUPPORT C 03/06/2014
' OF MOT|ON FOR SU|V||V|ARY JUDG|\/lENT by
` Resr). fEXH|BtTSl
|0010 03/07/2014 NODC NOT|CE OF DOCKET CHANGE OF B 03/07/2014
|\/|E|V|ORANDU|V| OF AUTHOR|T|ES |N SUPPORT
OF RESPONDENT'S |\/lOT|ON FOR SU|\/||\/|ARY
JUDGMENT BY RESF’. F|LED 03/06/2014. THE
DOCKET ENTRY TEXT WAS CHANGED BY
DELET|NG (C/S 3-6-‘|4) BECAUSE NO
CERTIF|CATE OF SERV|CE |S ATTACHED TO
THE DOCU|V|ENT. YOU l\/|UST F|LE A
CERT|F|CATE OF SERV|CE SHOW|NG SERV|CE
i_ WAS MADE ON PETlTlONER.

 

 

 

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Page 1 of 3

Docket No.

Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 70 of 188

017267-13 L

|NDEX

 

NO.

DATE

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F|L|NGS AND PROCEED|NGS ACT/STAT DTE

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03/07/2014

NODC

NOT|CE OF DOCKET CHANGE OF B
DECLARAT|ON OF CL|NT J. LOCKE |N SUPPORT
OF MOT|ON FOR SU|\/||\/|ARY JUDG|VIENT BY
RESP. F|LED 03/06/2014. THE DOCKET ENTRY
TEXT WAS CHANGED BY DELET|NG (C/S 3-6-14)
BECAUSE NO CERT|F|CATE OF SERV|CE |S
ATTACHED TO THE DOCU|\/|ENT. YOU |\/|UST
F|LE A CERT|F|CATE OF SERV|CE SHOW|NG
SERV|CE W!-\S MADE ON PET|T|ONER.

03/07/2014

 

`|0012

03/07/2014

ORDER PETR. BY 4-7-14 F|LE & SERVE A B
RESPONSE TO |\/|OT|O'N FOR SU|\/||\/|ARY
JUDGMENT

03/07/2014

 

§0013

03/12/2014

CS

CERT|F|CATE OF SERV|CE |\/lEl\/|ORANDU|V| OF C
AUTHOR|T|ES |N SUPPORT OF RESPONDENT'S
MOT|ON FOR SU|\/||\/|ARY JUDG|\/IENT 3/6/2014
bv Resp.

03/12/2014

 

3_§0014

03/12/2014

CS

CERT|F|CATE OF SERV|CE DECLARAT|ON OF C
CL|NT J. LOCKE |N SUPPORT OF |\/|OT|ON FOR
SUMMARY JUDGMENT 316!2014 bv ReSD_

03/12/2014

 

“`\0015

04/07/2014

OBJ

OBJECT|ON TO DECLARAT|ON OF CL|NT J. R
LOCKE AND DECLARAT|ON OF TAXPAYER
G|NA LANGLEY. by Petr. Gina Brasher Langley
fEXH|BlTS\

04/09/2014

 

l 0016

04/07/2014

OBJ

OBJECT|ON TO l\/|EIV|ORANDU|\/| OF R
AUTHOR|TIES BY RESPONDENT AND
PET|T|ONER'S |\/|EMORANDUI\/| OF
AUTHOR|T|ES |N SUPPORT OF EOU|TABLE
RELIEF TO THE PET|T|ONER. by Petr. Gina
Brasher Lgnq|ev (EXH|B|TS)

 

04/11/2014

04/09/2014

 

ORDER THAT RESP'S. |\/|OTION FOR SU|\/||\/|ARY
JUDGMENT IS DENlED,

CU

04/11/2014

 

04/24/2014

P|\/lT

PRETR|AL MEMORANDul\/\ by Resp. (C/s
04124;14)

04/24/2014

 

04/29/2014

PI\/|T

PRETR|AL |\/|E|V|ORANDU|\/| by Resp. (C/S
04!29!141

04/29/2014

 

05/09/2014

P|\/|T

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PRETR|AL l\/lE|\/|ORANDU|V| by Petr. Gina Brasher
Lancllev (C!S 05,-'05!14)

05/09/2014

 

05/19/2014

HEAR

HEAR|NG BEFORE JUDGE COHEN AT
B|R|\/||NGHA|\/l, AL 5-19-14 PETR. |V|OT|ON FOR
SANCT|ONS AGA!NST RESP. - C.A.V.

CAV 05/19/2014

 

05/19/2014

|\/|OOO

|\/|OT|ON FOR SANCT|ONS AGA|NST
RESPONDENT by Petr. Gina Brasher Langley (C/S
05!18!14}

ORD 06/26/2014 R

05/29/2014

 

05/19/2014

 

ORDER RESP. BY 6-18-14 F|LE A RESPONSE TO B
|V|OT|ON FOR SANCT|ONS AGA|NST
RESPONDENT

05/29/2014

 

06/17/2014

RSP

RESPONSE TO |\/|OT|ON FOR SANCT|ONS C
AGA|NST RESPONDENT bv RESD. {C!S 06!17)'1 41

06/17/2014

 

06/17/2014

NODC

NOT|CE OF DOCKET CHANGE OF RESPONSE B
TO ORDER DATED 05/19/2014 BY RESP. F|LED
06/17/2014. THE WRONG DOCU|V|ENT T|TLE
WAS SELECTED. THE RECORD HAS BEEN
CORRECTED TO REFLECT RESPONSE TO
|\/|OT|ON FOR SANCT|ONS AGA|NST
RESPONDENT F!LED.

06/18/2014

 

j 0026

 

06I26/2014

 

 

ORDER CASE |S REI\/|ANDED TO RESP. OFF|CE B
OF APPEALS FOR FURTHER CONS|DERAT|ON.
PART|ES BY10/24/14 F|LE REPORTS AND
PETR. MOT|ON FOR SANCT|ONS AGA|NST

 

 

 

RESP. FILED 5!1_9;‘14|8 DEN|ED.

 

 

05/22/2015

8-8-16
I’iainti |1` response

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06/27/2014

 

 

Page 2 of 3

 

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Docket No. 017267-13 L |NDEX

NO. DATE EVEN`F F|L|NGS AND PROCEED|NGS ACT/STAT DTE SERVED M

10027 07/09/2014 TRAN TRANSCR|PT OF 5/19/14 RECE|VED
"_ fCALENDAR CALL1

‘0028 09:'29/2014 RESP RESPONSE TO COURTS 6-26-14 ORDER & ORD 10/09/2014 R 09/30/2014
*' MOT|ON FOR SANCT|ONS AGA|NST
RESPONDENT by Petr. Gina Brasher Langley (C/S
09_!24!14}
10029 ‘|0/09/2014 O ORDER THAT SO |\/|UCH OF PETR'S. RESPONSE B 10/10/2014
TO COURT'S 6/26/14 ORDER, AS |S A |V|OT|ON
FOR SANCT|ONS AGA|NST RESP. |S DEN|ED.

 

 

 

 

 

 

 

 

 

§ § 0030 10/23/2014 RPT STATUS REPORT by Resp. (C/S 10/23/14) C 10/23/2014
. §993-1 49¢23¢‘294-4 RP~`F S:FA;FUS-R-EPQR-T-by-Resp¢(-Q/SMH%SMM ( C 10/23/2014
` STFUCKEN\
:] 0032 10/23/2014 O ORDER T||V|E IS EXTENDED TO11~24-14 FOR B 10/24/2014

RESP. TO |SSUE A SUPPLE|\/|ENTAL NOT|CE OF
DETERM|NAT|ON. STATUS REPORT F|LED ON
10-23-14 AT 12:12 P.|\/|. |S DEEI\/|ED STR|CKEN

` FROM THE RECORD rN TH|S CASE_

{0033 10/23/2014 |\/||SC AMENDED RESPONSE TO COURTS 6-26-14 R 10/24/2014
" _ ORDER & |\/|OT|ON TO GRANT THE REL|EF `
PET|T|ONED FOR BY PET|T|ONER IN TH|S
CASE by Petr. Gina Brasher Langley (C/S
10!21!14) fATTACHMENTS)

]0034 12/01/2014 |\/||SC SECOND A|\/lENDED RESPONSE |N R 12/03/2014
‘ ACCGRDANCE W|TH TH|S COURT'S 6-26-14
ORDER by Petr, Gina Brasher Langley (C/S

_ 11125!14\ fATTACHMENTS)

10035 12/01/2014 M081 |\/|OT|ON TO |l\/|POSE SANCT|ONS by Petr, Gina DN|\/l 12/03/2014 R 12/03/2014

' Br s_ber Lancl|ev (C¢‘S 11!29!141(ATTACHMENTS)
'| 0036 12/03/2014 O / ORDER RESP. BY12/16/14 PROV|DE THE B 12/03/2014

' " / COURT THE SUPPLEl\/|ENTAL NOT|CE OF

DETERMINAT|ON AS PREL)'|OUSLY ORDERED.

 

 

 

 

 

 

 

 

 

 

"| 0037 12/03/2014 DN|\/| DEN|ED MOT|ON TO lI\/|POSE SANCT|ONS by B 12/03/2014
l Petr. Gin a h L
. 7§ 0038 12/04/2014 RSP RESPONSE TO ORDER DATED 12/03/2014 by .C 12/04/2014
` ReSD. {CFS 12104£141(EXH|B|T) _
g 0039 12/08/2014 O ORDER THAT PETR. SHALL CEASE ALL EX . B 12/08/2014
PARTE COM|\/|UNICAT|ONS TO THE COURT. k '- '
_ fATTACHMENT) _)
l 0040 01/13/2015 |\/|OP |\/|E|V|ORANDU|V| OP|N|ONl JUDGE COHEN T. C, - ' B 01/13/2015

-l ME|V|O. 2015-11 (DEC|S|ON W|LL BE ENTERED
1| SUSTA|N|NG THE DETER|\/||NAT|ON FOR 2006_ _ _
_ : AND 2009) '
j0041 01/14/2015 ODD ORDER OF D|S|\/|lSSAL AND DEC|S|ON /, _ .' B 01/14/2015 C
ENTEI:ZEDl JUDGE COHEN, THE PET|T|ON FN `
TH|S CASE |S D|S|\/||SSED AS |\/lOOT AS TO 2008 ,¢1"
_ AND 2010. _ - - '
110042 02!12/2015 |\A|SL ` MOT|ON FOR RECONS|DERAT|ON OF R 02/18/2015
" F|ND|NGS OR OP|N|ON PURSUANT TO RULE
161 by Petr Gl[LLB,r_asher Lanu|ev fLODGED}
10043 02/18/2015 O ORDER THAT PETR. |\/|OT|ON LODGED 2/12/15, B 02/19/2015
SHALL RE|\/|AIN LODGED FOR PURPOSES OF
L THE RECORD |N TH|S CASE AND W|LL NOT BE
F|LED.

 

 

 

 

 

 

 

 

 

 

 

 

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I"|ainli |T response _.
lixl-ilml`c'% ill mails 3 ,
Nu l;r¢-cv-uo-os-Plsc ¢-, M//
Chic|` Judge l’alricin F,. Camphc||-.Smilh

05/22/2015 wage a ul a

 

Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 72 of 188

"_

Request for a Collection Due Process or Equivalent Hearing

 

Use this form to request a Collection Due Process (CDP) or equivalent hearing wl .th ffice of
Appeals if you have been issued one of the following lien or levy notices:

'_ g under lRC 6320,
anng, _
ECENED
R 0056
1 1 0 5 ile

Complete this form and send lt to the address shown on y ur lien orie WWP'§:

copy of your lien or levy notice to ensure proper handling of you rel:ll!tl§'[='@`!|<,‘ms

     
 

  

Notice of Federa| Tax Lien Filing and Your Right to a He
Notice of intent to Levy and Notice of Your nght to a
Notice of Jeopardy Levy and Right of Appeai,

Notice of Levy on Your State Tax Refund,

Notice of Levy and Notice of Your nght to a Hearing.

 
   
 

   
  
   

Call the phone number on the notice or 1-800-829-1040 if you are sure about the co address
or if you want to fax your request. w a ee|_& €Cc| maili_»{}=- ,7&,,3 amf Oédé\ K£(O //_¢/2

You can find a section explaining the` deadline for requesting a Collection Due Process . ‘_
hearing in this form's tnstructi`o'ns'. i_f you've missed the deadline for requesting_a CDP; _ _._' ;`;
hearing, youl must check line; 6 (Equivai`ent_Hea`i'ing)' to request an equivalent I'learin_c_`;.l '- ‘

1. Taxpayer Name: (Taxpayer 1) Gma' /(}m/@,/
Taxpayer identification Number *

CurrentAddress 700 acli fla '

city £Q@_ @ZMC &2 24 State if zip code _J”.??/ 6

 

 

 

 

 

 

2. Telephone Number and Bes't Time Home (W‘} ' E’ai{' I:I_pm.
to Call During Normal Business Work ( ) - [| am [:] pmc
Hours Celi (q»g‘{) C{(,C? c/j 97 |:l am. |:l pm.

 

3. Taxpayer Name: (Taxpayer 2) imm
__, Taxpayer identification Number Q}IM[ § 3 2]]§2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. l n Current Address . a D~_p
ifDil‘f rent from .
gaddrs:s Abave) lfY State Zip Code
4. Telephone Number and Best Time Home ( ) - l:l am. l:] pm.
to Call During Normal Business Work ( ) - \':l am. I:I pm.
Hours - gen ( ] _ [:] am. g pm.
§§ 5. Tax information as Shown on the Lien or Levy Notice (lfpossible, attach a copy of the notice)
G\ ` ‘ Type of Tax (lncome
1 , ' Tax Form Number - -
-E G\ etc. or Civi| Penalty) ’ ’ ’ _
' .C
><
m 8 _,/.o ‘/0 m 70 300 6 -- pto /<f)
§
Form 1 2153 (Rev. 3-2011) Catalog Number 26685D www.lrs.gov Department of lhe Treasury - internal Revenue Sarvice
51.7-./£/ _ _ ._ ,_ d.
l l ' es l. rla-114 g l_’i’('p rod
fielsz oak t No. 17267-1 31_
’ ann l response , l . .
l.axlilBl'i ('; !\f inure § f EXhlblt 2-J ` c,
Nu l; ln-¢v~i)n clr,»l’l_-jc; d/] f pq al 4 § j
(fl\icf.iudgc i’alncia ii_ (.`amp|)cii-Slnith

t Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 73 of 188

 

Request for a Collection Due Process or Equivalent Hearing

 

6. Basis for Hearing Request (Both boxes can be checked if you have received both a lien
and levy notice)

l:l Filed Notice of Federal Tax Lien W Proposed Levy or Actua| Levy

 

7. Equivalent Hearing (See the instructions for more information on Equivalent Hearings)

ij l would like an Equivalent Hearing - i would like a hearing equivalent to a CDP Hearing if my
request for a CDP hearing does not meet the requirements for a timely CDP Hearing.

 

8. Check the most appropriate box for the reason you disagree with the n|ing of the lien or the ievy.
See page 4 of this form for examples. You can add more pages if you don't have enough space.

if,~ during your CDP Hearing. you think you would like to discuss a Collection Aiternative to the
action proposed by the Collection function it is recommended you submit a completed Form

433A (individua_|) and/or For 433B (Business), as appropriate, with this f r . See Www.irs. ov
for copies of the forms. }t€¢;/ jn.nocc/\/J 0"<$€1 fenef and/ce on ou)H /éuo E:%mr%

Collection Aiternative I:l lnstalimen?ggre{é’;ng;\t l:! Offer in Compromtse HlCannotPay Ba|anoe
Lien |:] Subordination [:] Dlscharge fl Withdrawai

Piease explain:

 

 

 

My SPOUS€ 15 Respon$ible innocent Spouse Re|ief (Please attach Form 8857,
a u st forinnoc tS ous Reiief, to ou re uest.
§€/-" 0 ¢Mn agach P¢}£;/ c?n /;Ft _7£4¢ /*‘nu/'), @Aq,¢fnn}
Other (For examples, see page 4) g .

Reason (Vou must provide a reason for the dispute or your request fora CDP heaung witt not be honored Usa as
much space as you need to ptai'n the reason for your request At_tach extra pages if necessary.):

.7);“€=;'¢ /C/t')ow:"r/J ’70’7. 1455 932 457 z@/? 00 0/0”¢'/¢:¢’ /'r) )t) ffc/clad
/n 5005 Maz’ /€/va`//) c.z/) adea ¢w¢ Q¢=/ 5/` ;/ “’" 7£¢
>C room r p`,, O_My-/) e¢/ Juzc)n/L¢ L(). anew en mowwa 511 0?'
9_ Signatu|£;,$ | understand the/CDP hearing and any subsequent]udiciai revie§v viii suspend the statutory '{@§¢d’.
g period of limitations for collection action. l also understand my representative ori must sign andw\_`dw
date this request before the lRS Office of Appea|s can accept lt. if you are signing as an officer
of a_company add your title (presidant, secretary, etc.) behind your slgnature.

 

 

   

 

 

 

 

 

 

 

 

S|GN HERE Taxpaye 1's Signat e Date
If/ //'/»/¢>'l-
Taxpayer 2's Signature (ifa joint re¢rsst,/ both must sign) Date
O Y [:] l request my CDP hearing be held with my authorized representative (attach a copy ofForm
"' q5 23 s1
._ 4 .
.Q ,_
f § Authorized Representative's Signature Authorized Representative's Name Telephone Number
><
QJ
u" 01
§ le usa only
lRS Employee (Prlnt) Employee Telephone Number lRS Received Date
Scwi,, éa¢m mass- ‘Mo@ //»Y/&O/;l~
Form 12153 lt$ev'. 3-2011) Cataiog Number 26685D www.lrs.gov Department of the Treasury - int\:;nai Revenue Service
153 wion/0 511/3 (j) mem
8-8-16 _
. l Plainti|‘l`rcspo_nslc _ _ ,,' DOC_ e_t NO` 1?26? 13|"
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§§i;flj{u<;;gve PatriciaE_(_i;l!tplt§|`~Smith pg '© b 92

`* » Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 74 of 188

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UNITED STATES TAX COURT
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(FIRST) (MIDDLE) (LAST) 1-'.><1111.111 r }c) 'M“- /
Nt)l |G'CV'O UG:T¢PI{' L) WL r l
§ §//¢¢9 faa 1441 las/62 cs/ that ms sss-F- '~ sss ““““
I,F.A.‘)'l':. TYPE OR l’RlN`l') Petition€r(s)
v_ Docket No.
COMMISSIONER OF INTERNAL REVENUE,
Respondent
PETlTlON
l. Please check the appropriate box(es) to show which IRS NOTICE(s) you dispute:
|:] Notice ocht`lciency l:l Notice Ochtermination Conceming Your Request for Relicf

From Joint and Several Liability. (lf you requested relief from joint and
Several liability but the IRS has not made a determination, please Sec the
Information for Persons Representing Themselves Beforc the U.S. Tax
Court booklet ortho Tax Court’S Web site.)

g Notice of Determination
Concerning Collection Action [l Notice ofDetermination Concerning Worl<er Classit`lcation

2. Provide the date(s) the IRS issued the NOTIC}/ checked above and the cit' and State ofthe IRS oft`lce(s)
issuing the NOTICE(S); 43 125 f/ 3 /`/o 191/149 Q/ /£Mé;£gmn §§,pea.,(§

3. Provide the year(S) of period(s) for Which the NOTICE(S) Was/Were issued: MQQD_CZ_BO_/O

4. SELECT ONE OF THE FOLLOWlNG:

 

If you Want your case conducted under small tax case procedures check here: l:l (CHECK
lt` you want your case conducted under regular tax case procedures, check here: ya( x ONE BOX)
____-____

NOTE: A decision 1n a “Srnall tax case” cannot be appealed to a Court ot` Appeals by the taxpayer
ortho IRS. lfyou do not check either box the Court will tile your case as a regular tax case.

5. Explain Why you disagree with the IRS determination m this case (please list each point separately):

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é/cL/M 7‘/1:/ /G/f€: §§ 6/%9£.0{ (¢€}) /%fm/r’/ (G)
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/ Page 7 ' f188

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6. State the facts upon Which you rely (please list each point separately):

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y_%'raij/§ (G,)

 

 

 

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No. 1:16-cs '12116-1>£<; ¢/ 49 _/{
Chief Judge Patricia E_ Caniphc:'ll-Smith

 

 

 

You may use additional pages to explain Why you disagree with the IRS determination or t0 state additional
facts._ P|easc do not submit tax forms, rcceints` or other times of evidence with this nc:lition.4

ENCLOSURES: Please check the appropriate boxes to show that you have enclosed the following items with this
petition:

g A copy ofthe Determination or Notice the IRS issued to you /U@ ¢d U/]C )é{/o% fm
I:l Statement of Taxpayer Identification Number (Forrn 4) (See PRIVACY NOTI CE below)
i:| The Request for Place of Trial (Form 5) l:| The filing fee

PRIVACY NOTICE: Form 4 (Statement ofTaxpayer ldentification Number) will n_ot be part ofthe Court’s public tiles.
All other documents filed with the Court, including this Petition and any IRS Notice that you enclose with this ]Petition7
will become part ofthe Court’s public files. To protect your privacy, you are strongly encouraged to omit or remove
from this Petition, from any enclosed IRS Notice, and from any other document (other than Form 4) your taxpayer
identification number (e.g., your Social Security number) and certain other confidential information as specified in the
Tax Court’s “Notice Regarding Privacy and Public Access to Case Files”, available at ww\>v.ustaxcourt.aov.

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1511 DATE (AREA CoDE) Tm.EPuoNENo

    

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l\/lAlLING ADDRESS

    

CITY, STATE, ZlP CODE

State of legal residence (if different from the mailing address):

 

 

SIGNATURE OF ADDITIONAL PETITIONER (e_g_,SPOUSE) DATE (AREA CODE) TELEPHONE NO.

 

MAlLlNG ADDRESS CITY, STATE, ZlP CODE

State oflegal residence (if different from the mailing address):

 

 

SIGNATURE OF COUNSEL, IF RETAINED BY PETITIONER(S) NAME OF COUNSEL TAX COURT BAR NO_

 

MAlLlNG ADDRESS, ClTY, STATE, ZlP CODE DATE (AREA CODE) TELEPHONE NO.
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/6199 3 W ad §§ h 4

Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 77 of 188

b/p ,/ s /@ Web/060 '@C"
Chal|en_qes to the Existence of Amount of Lia llitv 41
You are disputing your liability, and have indicate'rthat there remains $?“2'.¢63?§5"_ of funds

ordered with escrow in 2005 that remain unaccounted for by ex spouse's attorney oct ,a ()","'-.c/;S 0M
property sold that generated the 2004 tax paid in dispute . g imc dpa/Ann 55 7§1/,£!

Appeals Ana|vsis of the |ssue: You are precluded from raising the liability issued under CDP
since you had a prior opportunity to dispute the liability When you petitioned Tax Court on
November 4, 2012, and were later denied relief on December 5, 2012.

ass-s S£g@l tag g}.]oc)l)'v€en#'§

You raised no other issues ’?'37"'3
1a
Ba|ancing of need for efficient collection with taxpayer concern that the collection
action be no more intrusive than necessary

A|l required legal procedures Were followed in issuing the notice of intent to levy, and
advising the taxpayer of his appeal rights. The taxpayer Was given the opportunity to raise
any relevant issues relating to the unpaid tax. lRC Section 6330 requires that the Sett|ement
Officer consider whether any collection action balances the need for efficient collection of
taxes With the legitimate concern that any collection action be no more intrusive than
necessary. The issue in this case is Whether a levy against the taxpayer’s assets is
appropriate The taxpayer did not agree to the qualifying collection alternative proposed by
the Sett|ement Officer to resolve the outstanding liability, or provide financial information
needed to support an inability to pay. Therefore, the notice of intent to levy balances the
need for efficient collection of the tax with your concern that the action be no more intrusive
than necessary.

8-8-16
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Page/9 of 519

EXhibit

 

CaS€ lilG-CV-OOZOG-PEC

'|nternal Revenue Service
Brookhaven Appea|s

1040 Waverly Ave.

Stop 906

Holtsville, NY 11742

f"[f/late: May 22, 2013

GlNA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 32266-3740

Dear Ms. Langley:

Document 24 Filed 09/09/16 Page 78 of 188

Depa;tment of the Treasury

.`\ v `n~\
Person to Contac`t: "
Arleen Maginn
Employee__lD Number: 0193081

" ` Tei;" i(631) 687-8020 Exi. 1416

Fax: (631) 687-8297
Contact Hours: 6:30am - 3100pm ET
Refer Reply to:
AP:CO:Ll-BRZ:ADM
ln Re:
Collection Due Process - Levy
Tax Period(s) Ended: ’
12/2006 12/2008 12/2009 12/2010

@@l@lf

Your case has been assigned to me for Appeals consideration and completion. l have
already reviewed the case flle, and the CDP conference notes prepared by the prior
Sett|ement Officer, James Stewart. l am sending you this letter to allow you the

opportunity to contact me.

During the telephone with Mr. Stewart on January 30, 2013~, it was asked that you send
the financial information needed to consider a collection alternative to the proposed
|evy. ¥ou bags not submitted any financial documentation.

ln order for me to continue with your consideration, please provide the following

additional information and documentation:

o A completed Collection lnformation Statement (Form 433-A for individuals
andlor Form 433-B for businesses.) with requireg financial supporting

documentation

* -NOTE: | can offer you what is called a Stream|ined lnstallment Agreement for'a"?

minimum monthly payment of $90.00 per month or higher. l don’t need a'

l

l ' completed form 433-A to grant you this agreement lf you would like an

agreement for $90.00 per month or a higher amount, please contact me b1

June 5, 2013 to discuss the terms.

P|ease be advised that we will make a determination in the Collection Due Process
hearing you requested by reviewing the Collection administrative file and whatever

information you have already provided.

lf you would like to provide information for our consideration, please '*" en ""i**“" 14

days from the date on this letter, June 5, 2013.

8-8-16
l’|ainli|l`responsc ,_

exhibit gaf-f paoli 1507/-
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pocket No. 17267-131
EXhibit 5-.1

EXhibit

Page,% of;!?

-W-M.

Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 79 of 188

lnternal Revenue Service Department of the Treasury
Brookhaven Appeals -- ' `" '

1040 Waverly Ave. . Person to Contact: 1

Stop 906 [` Arleen Maginn _ _
Holtsvillel N¥ 11742 `-- Employee _lD_Numb'er: 0193081

71"§1';""'(`6`31)'68%8020 Ext. 1416
_ Fax: (63‘|) 687-8297
Date: dUN 2 5 2013 Refer Rep|y to:
AP:CO:L|-BR2:AD|V|
Taxpayer |dentification Number:
GlNA B LANGLEY XXX-XX-OO76
700 OAK ST ~ Tax TypelForm Number:
NEPTUNE BEACH FL 32266-3740 lncome / Form 1040
ln Re:
Collection Due Process Hearing
(Tax Court) a
Tax Period(s) Ended:
12/2006 12/2008 12/2009 12/2010

cERTiF|ED MA\L ' ?0// //:5'0 0002/ /<?W,Z/dr
Norlca oF DETERM!NATioN . `
coNcERNlNG coL\__EchoN Achor~i(s) uNoER sEchoN 6320 and/or 6330

Dear Ms. Langley: @ @ iP Y

We have reviewed the collection actions that were taken or proposed for the period(s)
shown above This letter is your Notice of Determination, as required by law. A
summary of our determination is stated below. The attached statement shows, in detaill
the matters we considered at your Appeals hearing and our conclusions about them.

lf you want to dispute this determination in courtl you must f11e a petition With the United ~ c
States Tax Court within 30 days from the date of this letter. v _

To obtain a petition form and the rules for filing a petition, write to: Clerk, United States
Tax Court. 400 Second Streetl NW, Washington, D.C. 20217l or access the Tax Court
website at www.ustaxcourt.gov.

ln addition to the regular United States Tax Court proceduresl the United States Tax
Court also has a simplified procedure foran appeal under section 6330(d)(‘l)(A) of a
determination in which the unpaid tax does not exceed $50,000. You may also obtain
information about this simplified procedure by writing to the United States Tax Court or
accessing the United States Tax Court website at www.ustaxcourt.gov.

The time limit (30 days from the date of this letter) for filing your petition is fixed by

law. The courts cannot consider your case if you file late lf an appeal is filed in the
incorrect court (e.g., United States Dlstriot Court). you will not be able to refile in the
United States Tax Court if the time period for filing a Tax Court petition has expired

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No 1;11]~¢\/-111206-1‘1£<: [ / .'»1 Docket NO. 17267-13L
ChiefJudge Patricia E. Campbell~Smith EXhibit 7_J

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Brookhaven Appeals f j ;,‘l ,
1040 \/\/averly Ave. Person to Contact: l g-'§.| f '-'f / _ ,j _"1 155 '”“' “
Stop 906 l<irnberly A Piro t /"“ ' =

l-lo|tsville, i\lY 11742 Employee |D Number: 0192211

Tel: 304-579-6823
Fax: 855-286-9705
Date; August 1, 2014 Contact Hours: 6:30 am - 3 pm EST
Refer Rep|y to:
AP:CO:Ll-BRC;KAP

GlNA B LANGLEY ln Re:
700 OAK ST Collection Due Process - Levy
NEPTUNE BEACH Fl_ 32266-3740 Tax Period(s) Ended:

- \.t,\\ 12/2006 12/2008 12/2009 12/2010

Dear l\/ls. Langley:

T-his is to inform you your case has been reassigned to me based on the 5,/.q// W§
C;Yd@l” reeee=i+r'ree-::l-a+ion from tax court. @ Gi<£\iinl owe /M§w 0"\1 and ’lwo O‘q /

l vvould like to discuss your CDP hearing With you and l am requesting you call me on
l\/londay, August 13, 2014 at 10:30 am EST_ lf this date and time does not work for you,
'~lease call and we can reschedule , g -.

'U \\D‘€b}u>\tikt\e):)\s§ DQ'{O{?C“ '%r

 

l have reviewed our case file There is a aero b' anc-e on tax year 2003 and 2010. As of

the date of this letter there is a balance of 5 1H . on tax year 2006. There is an

amended return for tax year 2009 being processed l-lovvever, the representative <\ do 44
reviewing the amended return for 2009 needs additional information to process your /.w/ @jui>

claim. The representative advised me letter v-/as issued to you explaining vvhat $7)
information is needed and stated the information must be received no later rh.an . OJL f
September 2, 2014 or the claim maybe disallowed 'h" `fg,){iJ-'/`-
Lm€¢»lfb

if you have any questions prior to our scheduled ca|l, please feel tree to call me. i£t>f ja O©

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" "“ _- _. _ , `Bincerely,
s_s-ie N;.NC‘

Pla int iff response

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i/-_ ha f ,:)»`;` No l:l6-cv-00206-PEC le
'\'lii /'»»F|‘/ d l ll 0 ChiefJudge Patricia E. Campbell-Sn

Sett|ementGr'fi-:.er

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Case 1:16-cv-00206-PEC Document 24

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PHILADELPHIA__pA;xlqg§§agb§§;'

  

700 OAK- ST
NEPTUNE`BEACH`-FL

Taxpayer Identification Number:
Tax Period(s):

Form:

Dear Taxpayer:

Un Apr. 15, 2014,
adjustment for one

All carryback claims must include the following:
a computation of your loss
if the loss is being used in more than one year,
B-NOL showing the computation of the carryover amount,
schedules refigured in the carryback year(s)

loss year return,
A-NDL),

limited to Schedules A, D,

   

E and Form 6251¢;_

Filed 09/09/16 Page 81 of 188 _

In-reply refer to: 0533908259
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|`Jltlinlill` rec.‘;pons<: 3-3-|6 _
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No. 1:|6-€¥-00206-|’[§€ \ QT
Chic:|`_ludgc Patricia lE. Carnphc|l-Smith

,,6 ,gpf
`r ,1‘1
ian

XXX-XX-XXXX

Dec. 31, 2008 Dec. 31, 2009
Dec. 31, 2011 Dec. 31, 2012
IUQDX

we received your claim for a refund for a carryback
or more tax periods listed above.
can't approve it. We are returning it to you.

We're sorry we
/

y QCC¢S, \/

Pages 1 & 2 of the ¢/;/
(usually a Schedule /} V/
\

a Schedule C
all forms and d\
to include but not 0

’“A
_is';b\o

 

You must complete the enclose Schedule A-NUL to comgyte the_loss 0
available to carru Ac£. You must complete the enclosed Schedule B-NOL

showing the computation of the carryover amounts from 2008 to 2009 and

Vou must complete

the enclosed NOL carryover worksheet to

compute the remaining carryover amount to 2012.

<%\\You must resubmit pewly signed_corrprrad plasma raw

and 2012_with a
J) separate claim.

qS , 2 2016 or they`may e
QLEHPMFYEYYEFTbnS.

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@Li'

J;’§i?/

 

of this letter.
When you write,
telephone number

You should keep a

Telephone Number ( )

You also can write to us at the address at the top of the first page €)

please include a copy of this letter and provide your/ha
with the hours we can reach you in the spaces below. t
copy of this letter for your records.

?nnRT_gagg zgli

'of the information listed above attached to each
These claims must be
1531 0 avenue tasw?§§§ration of the*sta¥it?*?r

received,n§ lateg than Seqtember<:

1Please call us toll free at 1-800-829~0922 if you have questions.

U\

 

Thank you for your cooperation.

fn . .i"'

Hours pkkh tul _ :
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Case 1:16-cv-OO206_-PEC Document 24 Filed 09/09/16 Page 82 of 188

fm
FO 1045 (2010) Pag(i §

 

S<$hedule A_NOL (see instructions)"'

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ Enter the amount from your 2010 Form 1040. line 41, or Forrn 1040NR, line 39. Estates and trusts,

enter taxable income increased by the total of the charitable deduction, income distribution
.' deduction,andexemptionamount. . _ . _ . _ . . _ _ _ . , . . . . . . . . 1 ________
' 2 Nonbusiness capital losses before limitation Enter as a positive number 2 __
“ 3 Nonbusiness capital gains (without regard to any section 1202 exclusion) _1_3_____ ___ ___
; 4 lf line 2 is more than line 3, enter the difference; otherwise, enter -0- 4 __

5 lf line 3 is more than line 2, enter the difference; l

otherwise enter -0- . _ . . . . . 4 , . _5__ _____
~ 6 Nonbusiness deductions (see instructions) . , , _ . . _ . t . 6 _ _ _ _
§ 7 Nonbuslness income other than capital gains
1 (see instructions) , _ _ . _ _ . _ . . . 7__1 ___ .. _
_ sAddiineSsandr.,.._......._._.,_8
:_ 9 lt line 6 is more than line 8, enter the difference; otherwise enter -0- t _ _ . . . . . . 9 __ _ ____
f 10 li line 8 is more than line B, enter the dinerence;
=_`___ otherwise enter -0-. But do not enter more than [<]
- line 5 _ _ . . . 10
_. 11 Business capital losses before limitation._Enter as a positive number 11 __.
__ 12 Business capital gains (without regard to any l
;e section 1202 exclusion) . _ . . . . . , 12 __
§_ 13 Addiinesioandiz_ _._-.-_.._.,._... 13
§ 14 Subtract line 13 from line 71§1, lf zero or less, enter -0- _ . . . . . 14
§ 15 Addiines4and14.. . . . . . . . . _ . . . ._ 151 __
§ _ __ .
§ 16 Enter the loss‘ if any. from line 16 of your 2010 S_chedule D (Form 1040).
j {Esiates and trusts. enter the loss, if any. from line 151 column {:3), of
Scheclu|e D (Form 1041).) Enter` as a posltive number lt you do not have
a loss on that line (and do riot have a section 1202 exclusion], skip lines
_`_ 16 through 21 and enter on line 22 the amount from line 15 _ _ . . 16 _
_ 17 Section 1202 exclusion Enter as a positivenumber . . . . _ , . _ . . , . . . _ . _l___ _
§ 18 Subtract line 17 from line 16. lf zero or less, enter -O- , . . , _ , 18 _
§ 19 Enter the loss, if any, frorn_line 21 of.'your 2010 Schedule D (Form 1040).
§ (Estates and trusts, enter`the loss, if__any_ from line 16 of Schedule D
§ (Form 1041).) Enter as a positive number , , ,_ . _ . _ . t . . 19
.:'_ 20 ll line 18 is bmore' tha/nllin_el 19, enter:t_he_dif_ference; otherwise enter -0- 20
§- 21 ll line 19 is more than line 18, enterthe*difference; otherwise enter -O- _ _ . , _ . , . . _21_._
_ 22 Subtract line 20 from line 15. lf zero 'or less, enter -0- . . _ , . _ _ . , . . . . _ , .Q.,__ _ _ _
:___ 23 Domestic productionactivities deduction from your 2010 Form 1040, line 35, or Form 1040NR, line
'- 34 (or included on Form 11041¢, line 15§)`.: ` . . . , . , . . , . . _ . _ , , , ._§3_._ _ _ __ _
§ 24 NOL deduction for losses from other years:Enter as a positive number _ , _ . t _ . . . 24
§ 25 NOL. Combine lines 1, 9', 171y and 121 T't_hrough 24. lf the result is less than zero, enter it here and on _ _
` page 1, line 1a. lf the result is zero or more, you do not have an NOL _ . _ _ , . _ . . . 25
~ \1=0.-1:1`1045 (2010) v

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ChiefJudge Patricia E. Campbell-Smith

Case 1:16-cv-OO206-PEC Document 24 Filed 09/09/16 Page 83 of 188

rem 1045 (2010)

Schedule B_NOL Carryover (see instructional

CCJrnplete one column before going to the
next column. Start with the earliest
carryback year.

preceding

 

tax year ended E>_

 

1 NOL deduction (see instructions). Enter
as a positive number _

2 Ta)<able income before 2010 l\iOL1
carryback (see instructions). Estates
and trustsl increase this amount by
the sum of the charitable deduction
and income distribution deduction

3 l\let capital loss deduction (see
instructions) _ . . .

4 Section 1202 exclusion Enter as a
positive number _

5 Domestic production activities
deduction .

6 Adjustment to adjusted gross income

fmha instructions) c

"_,`_,`_,

7 Adjustment to itemized deductions
(see instructions) .

8 individualsl enter deduction for
exemptions (mlnus any amount on
Form 8914, line 6, for 2006 and
2009; line 2 for 2005 and 2008).
Estates and trusts, enter exemption
amount .

9 l\/|oditied taxable income Combine
lines 2 through 8. lt zero or less,
enter-O- .......

10 NOL carryover (see instructions).
Adjustment to itemized 7
Deductions (lndividuals Only)

Complete lines 11 through 38 for the
carryback year(s} for which you
itemized deductions only if line 3, 4
or 5 above is more than zero_

11 Adjusted gross income before 2010
NOl_ carryback .

12 Add lines 3 through 6 above .

13 l\/lodifiecl adjusted gross income Add
lines 11 and 12 . . .

14 l\/ledical expenses from Sch. A (Form
1040), line 4 (or as previously adjusted)

15 l\/ledical expenses from Sch_ A (Form
1040), line 1 (or as previously adjusted)

16 i\/lultiply line 13 by 7.5% (.075)

17 Subtract line 16 from line 15. lt zero
or less enter -0- .

18 Subtract line 17 from line 1141

19 l\/lortgage insurance premiums from
Sch. A (Form 1040), line 13 (or as
previously adiusted) _ _ . .

20 Refigured mortgage insurance
premiums (see instructions) .

21 Subtract line 20 from line 19 _

 

 

 

 

 

preceding preceding
tax year ended_ ?r tax year ended_ iv

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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`\ Form 1045 12010)

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Eage§4 of 188

internal Revenue Service
Brookhaven Appeals

1040 Waverly Ave.

Stop 906

Ho|tsvii|e, NY 11742

Date: August 22l 2014

Department of the Treasury

Person to Contactf
Kimber|y A Piro
Employee |D Number: 1000192211
Te|: 304-579-6823
Fax: 855-286-9705
Contact Hours: 6:30 am - 3 prn EST

Refer Reply to:
AP:CO:L|-BRC:KAP
In Re:
Collection Due Process - Levy
Tax Period(s) Ended:
12/2006 12/2008 12/2009 12/2010

GlNA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 32266-3740 `Pb `L\

t \
cc@`i\gb

Dear Ms. Langley: {

l received your message and have enclosed account transcripts for your records for tax

years 2004 through 2010. This Wii| give you an accounting of all payments received and
refunds issued or applied to other tax years.

|f you have any other questions, please feel free to contact me at the number listed

above.
Since_reiy, l
ads _
Kimberiy A Piro
Sett|ement Officer /\
~ ./)2¢7///7 v
g 8-8-16
Enclosures: l»m.'mm'm.m“sc _

exhibi'r ,/')aci'é PAGE§
No. 1:16-cv-00206-PEC ¢ /C
Chiefludgc Patricia E. C pthi-Smith

Account Transcripts 2004 through 2010

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ACC'OUHt@A@®QdDGMZ@B}FE@O ©@Q.Um,egtt)&HL/§Ikl'%g 09/09/ g Page l of 2

§§ lntemal Revenue Service
United States Dep artment of the Treasury

H:: This Product Contains Sensitive Taxpayer Data __n
Account Transcript

 

 

 

 

 

 

 

 

Request Date: 08-18~2014
Response Date: 08-18~2014
Trackinq Number: 100209400564
FORM NUMBER: 1040
TAX PERIOD: Dec. 3l, 2004
TAXPAYER IDENTIFICATION NUMBER: 260~21-8735

SPOUSE TAXPAYER IDENTIFICATION NUMEER: XXX-XX-XXXX

BARNEY J & GINA B LANGLEY

--- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ~--

ACCOUNT BALANCE: 0 . 00
ACCRUED INTEREST: 0.00 AS OF: Dec. 24, 2012
ACCRUED PENALTY: 0 . 00 AS OE`: DeC . 24 ,' 2012

ACCOUNT BALANCE PLUS ACCRUALS
(this is not a payoff'amount): 0.00

** INFORMATION FROM THE RETURN OR AS ADJUSTED **

EXEMPTIONS: 05
FILING STATUS: Married Filing Joint
ADJUSTED GRoss INCOME: 315/639-00
TAXABLE ;rNcoME: 295,861.00
8-8_16
TAX PER RETURN. 37,483.90 plaintiffmpome \ L
sE TAXABLE INCOME TAXPAYER: O-OO EXHIBIT’V» ”C/ PAGE
No 1:16-¢v-00206-PEC 2/ /7
se TAXABLE INcoME spoosE; O-OO ChiefJudchauiciaE_campbell-sma
ToTAL sELF EMPLOYMENT TAX: O-OO
RETURN DUE DATE oR RETURN RECEIVED DATE (wHIcHEvER Is LATER> Apr. 15, 2005 wa
PRocEssING DATE May 30, 2005 C\

 

 

 

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CODE EXPLANATION OF TRANSACTION CYCLE DATE AMOUNT

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United States Department of the Treasury

 

 

 

 

 

 

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Account Transcrlpt
Request Date: 08-10-2014
Response Date: 08-18-2014
Tracking Number: 100209400564

FORM NUMBER: 1040 x
TAX PERIOD: Dec. 31, 2005
TAXPAYER IDENTIFICATION NUMBER: XXX-XX-XXXX

SPOUSE TAXPAYER IDENTIE`ICATION-NUMBER: XXX-XX-XXXX

GINA B LANGLEY

-~- ANY MINUS SIGN SHOWN BELOW SIGNIF'IES A CREDIT AMOUNT ---

ACCOUNT BALANCE: 0 . 00
ACCRUED INTEREST: 0.00 AS OF: Jan. 14, 2013
ACCRUED PENALTY: 0.00 AS OF: Jan. 14, 2013

ACCOUNT BALANCE PLUS ACCRUALS
(this is not a payoff amount): 0.00 8_8_16
Plaintiff response ‘,4
EXlele /)//r€ PAGE /
** INFORMATION FRoM THE RETURN ca As ADJUSTED ** NOl_.IG_c\._nDzG@_H-.;C bn /'§-
Chief.ludgc Patricia lf€. Campbell~Smith

EXEMPTIONS: 01
FILING STATUS: Married Filing Separate
ADJUSTED GROSS INCOME: 3, 420 . 00
TAXABLE INCOME: 0 . 00
TAX PER RETURN: 69.65

sE TAXABLE INCOME TAXPAYER: 463.00 50
se TAXABLE INcoME sPoosr~:: 0.00 § ‘
ToTAL sELF EMPLOYMENT Tsz 69.00 '

RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER) Aug. 10, 2009 q

PRocEssINo DATE oct. 05, 2009 O\S)L)

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CODE EXPLANATION OF TRANSACTION CYCLE DATE AMOUNT /z

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150
n/a
166
276
196
971

520
277

277

197

386
521

Tax return filed

07221-255-17732-9

20093808

Penalty for filing tax return after the due date 20093808

Penalty for late payment of tax
Interest charged for late payment

Notice issued

CP 0023

Bankruptcy or other legal action filed

Reduced or removed penalty for late payment of

tax

Credit transferred in from

1040 200712

Reduced or removed penalty for late payment of

tax

Reduced or removed interest charged for late

payment

Write-off of credit balance less than $l

Removed bankruptcy or other legal action

20093809
20093808

10-05-2009

10-05-2009
10-05-2009
10-05-2009
10-05-2009

08-11-2009
ll-23-2009

04-15-2008

11-30-2009

11-30-2009

ll-30-2009

03-02-2'01`0

$69.65

1$69.65
._»-~- "_\`
$14.63

$35.65
$0.00

$0.00
~$0.70

-$171.0§;
-$5.57
-$12.32

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Plaintiff response , ;
EXHIBIT /V/ 1115 PAGE g
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Chief Judge Patricia E, Campbell-Smith

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fm lnternal Revenue Service

United States Dep artment of the Treasury

 

 

 

U This Product Contains Sensitive Taxpayer Data u

 

 

Account Transcript

Request Date: 08-18-2014
Response Date: 08~18-2014
Tracking Number: 100209400564
FORM NUMBER: 1040
TAX PERIOD: Dec. 31, 2006

TAXPAYER IDENTIFICATION NUMBER: XXX-XX-XXXX

GINA.B LANGLEY
700 OAK ST
NEPTUNE BEACH, FL 32266-3740-007

~~~ ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT -~-

ACCOUNT BALANCE: 109.35
ACCRUED INTEREST: 18.77 AS OF:Sep. 01, 2014
ACCRUED PENALTY: 0.00 AS OF:Sep. 01, 2014

ACCOUNT BALANCE PLUS ACCRUALS
- (this is not a payoff amount): 128.12

** INFORMATION FRoM THE RETURN oR As ADJUSTED ** 38 m
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l-:xuusrr xvi/vt - louie ‘/ _

EXEMPTIONS: 01 No 1116-cv-00206-1’1~;€ 5 /"
FILING STATUS: Single CiiicfjudchalriciaE,£.` phcl|~Srnil|\
ADJUSTED GROSS INcoME: 7'553-00

TAXABLE INCOME: 0.00

TAX PER RETURN: 306.31

ss TAXABLE INcoME TAXPAYER: 11269-00 tqgé;?’/}

ss TAXABLE INCOME sPoUsE: O-OO 1

ToTAL sELF EMPLOYMENT TAX: 194-00 TF

RETURN DUE DATE OR RETURN RECEIVED DATE (WHICHEVER IS LATER) Auq. 27, 2009

PROCESSING DATE Oct. 26, 2009 (y\ Q)

 

 

 

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CODE EXPLANATION OF TRANSACTION CYCLE DATE AMOUNT

150 Tax return filed 20094108 10-26-2009 $306,31

n/a 07221-241-65517-9

460 Extension of time to file ext. Date 10-15e2007 04-15-2007 $O_OO

166 Penalty for filing tax return after the due date 20094108 10-26-2009 $100_00

276 Penalty for late payment of tax 20094108 10~26-2009 $47.48

196 Interest charged for late payment 20094108 10-26-2009 $62:20

971 Notice issued 10-26-2009 $0.00
CP 0023

520 Bankruptcy or other legal action filed 08-11-2009 $0.00

277 Reduced or removed penalty for late payment of 11-23~2009 -$4.60
tax

706 Credit transferred in from 04-15-2008 -$350.54
1040 200712

277 Reduced or removed penalty for late payment of ll-30-2009 -$24.50
tax

197 Reduced or removed interest charged for late 11-30-2009 ~$27.00
payment

521 Removed bankruptcy or other legal action 03-02-2010 $0.00

971 Notice issued lO-ll-2010 $0.00
cP 0071 '

290 Additional tax assessed 20112008 05-30-2011 $0.00

n/a 17254-526-05055-1

971 Tax period blocked from automated levy program lO-l7-2011 $0.00

971 Collection due process Notice of Intent to Levy 10-17-2012 $0.00
~- issued

971 Collection due process Notice of Intent to Levy 10-22-2012 $0.00

- -- return receipt signed

971 Collection due process request received timely ll-08-2012 $0.00

971 Collection due process levy (hearing) request or ll-08-2012 $0.00
levy and lien (hearing) request received

520 Bankruptcy or other legal action filed 11~08-2012 $0.00

u:_ This Product Contains Sensitive Taxpayer Data _TH

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m lntemal Revenue Service

United States Dep artment of the Treasury

 

 

 

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Account Transcript

Request Date: 08-18-2014
Response Date: 08-18-2014
Tracking Number: 100209400564
FORM NUMBER: 1040
TAX PERIOD: Dec. 31, 2007

TAXPAYER IDENTIFICATION NUMBER: XXX-XX-XXXX

GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH, FL 32266-3740-007

--- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AM_OUNT ---

ACCOUNT BALANCE: 0.00
ACCRUED INTEREST: 0.00 AS OF: Jan. 14, 2013
ACCRUED PENALTY: 0.00 AS OE`: Jan. 14, 2013

ACCOUNT BALANCE PLUS ACCRUALS
(this is not a payoff amount): 0.00

** INE'ORMATION FROM THE RETURN OR AS ADJUSTED **

 

 

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Plaintiffrcsponso f l _
ExEMPTIONs: 01 EXHuHT/v?/Lé PAGEA/'
No 1;16-¢\/-00206-111;€ g/ /{
FILING STATUS: Single ChiefJudge Patricia 1:'. Can phc||-Smith
AoJUsTED GROSS INCoME: 25,741.00
TAXABLE INCOME: 2,053.00 `
TAX PER RETURN: . “:12'0_5,_30:"__:,,~’
sa TAXABLE INCOME TAXPAYER; O-OO 10 L/
se TAXABLE INCOME sPoUsE: O-OO ip , ‘@
ToTAL sELF EMPLOYMENT TAx: O-OO _ rzj
RETURN DUE DATE oR RETURN RECEIVED DATE (wHIcHEvER Is LATER) Aug. 27, 2009
PRocEssING DATE Nov. 02, 2009
F_ TRANsAcTIoNs |

 

 

 

 

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CODE EXPLANATION OF TRANSACTION CYCLE DATE AMOUNT

150 Tax return filed 20094208 11-02-2009 $205,30
n/a 07221-241-65509-9

 

 

 

 

 

 

 

806 W-2 or 1099 withholding 04-15-2008 -$726.86
971 Notice issued 11-02-2009 $0.00
CP 0024 '
520 Bankruptcy or other legal action filed 08~11-2009 $0.00
826 Credit transferred out to 04-15-2008 /“ $171.02
1040 200512 ` 21 .'_
826 Credit transferred out to 04-15-2008 $350.54
1040 200612
971 Notice issued ll-30-2009 $0.00
CP 0049
521 Removed bankruptcy or other legal action 03-02-2010 $0.00
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Plaintiff response _
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Chieflurigc Patricia E. Camz)c|l-Smith

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§§ Intemal Revenue Service

United States Dep artment of the Treasury

 

 

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Account Transcript

 

1

Request Date: 08-18~2014
Response Date: 08-18-2014
Tracking Number: 100209400564
FORM NUMBER: 1040
TAX PERIOD: Dec. 31, 2008
TAXPAYER IDENTIFICATION NUMBER: XXX-XX-XXXX
GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH, FL 32266~3740-007
-~- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---
ACCOUNT BALANCE: 0.00
ACCRUED INTEREST: 0.00 AS OF: Jun. 09, 2014
ACCRUED PENALTY: 0.00 AS OF: Jun. 09, 2014
ACCOUNT BALANCE PLUS ACCRUALS
(this is not a payoff amount): 0.00
8-8-16
l’hunrdfrcsponse `
** INFORMATION FROM THE RETURN on As ADJUSTED ** mcme AND/d |.AG|. ,j

EXEMPTIONS:

FILING STATUS:

ADJUSTED GROSS INCOME:
TAXABLE INCOME:

TAX PER RETURN:

SE TAXABLE INCOME TAXPAYER:
SE TAXABLE INCOME SPOUSE:
TOTAL SELF EMPLOYMENT TAX:

RETURN DUE DATE OR RETURN RECEIVED DATE

PROCESSING DATE.

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Chief Judge Patricia 1?.. Camphcil- -Smith

 

 

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(wHIcHEvER rs LATER) Aug. 27, 2009
Sep. 28, 2009
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CODE EXPLANATION OF TRANSACTION

150
n/a
806
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766
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971

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706

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971

977

n/a

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Tax return filed

07221-241-01510-9

W-2 or 1099 withholding

Extension of time to file ext. Date 10-15-2009
Tax relief credit

Penalty for late payment of tax
Interest charged for late payment

Notice issued
CP 0023

Bankruptcy or other legal action filed

Reduced or removed penalty for late payment of
tax

Bankruptcy or other legal action filed
Removed bankruptcy or other legal action
Removed bankruptcy or other legal action

Notice issued
CP 0071

Penalty for late payment of tax
Tax period blocked from automated levy program

Collection due process Notice of Intent to Levy
~- issued

Collection due process Notice of Intent to Levy
-~ return receipt signed

Collection due process request received timely

Collection due process levy (hearing) request or
levy and lien (hearing) request received

Bankruptcy or other legal action filed

Credit transferred in from
1040 201312

Penalty for late payment of tax
Interest charged for late payment

Amended tax return or claim forwarded for
processing

Amended return filed
19277~535-00728-4

 
  
 

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09~28-2009

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04-15-2009
04~15-2009
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10-05-2009

08-11-2009
11~02-2009
03-02-2010
10-11-2010

10-11-2010
10-17-2011
10-17-2012

10-22-2012

11-08~2012
11-08-2012

11-08-2012

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06-02-2014
04-15~2014

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q Plaintiff response

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_$270.19
$0.00
~$600.00
$23.63
$14.46
$0.00

$0.00
-$7.87

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$141.75
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Chief.ludge Patricia E. Campbell- -Smith

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 94 of 188
'AccodntTranscrip1257-27-0076 1040 Dec. 31, 2009 LANG Page l 0f2

 

fm lntemal Revenue Service

United States Dep att.ment of the Treasury

l This Product Contains Sensitive Taxpayer Data il

A_ccount Transcript

 

 

 

 

 

Request Date: 00~-18~2014
Response Date: 08-18-2014
Tracking Number: 100209400564
FORM NUMBE`.R: 1040
TAX PERIOD: Dec. 31, 2009
TAxPArER IDENTIFICATION NUMBE_R: XXX-XX-XXXX B_S_m
Pia:`nlil`i`rcspousc _, l
GINA B LANGLEY IEX|||BIY /V/"""C l’A(`j|;` ./-'{')
Noi'l6-cv-00206-PL-`C /-// /’?
700 OAK ST Chici`Judgc Patriciali.Cant;\th!-§;rlith

NEPTUNE BEACH, FL 32266-3740-007

--- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT AMOUNT ---

ACCOUNT BALANCE: 1, 169.15

ACCRUED INTEREST: 199.23 AS OF: Sep. 01, 2014

ACCRUE`.D PENALTY: 326.‘10 AS OF: Sep. 01, 2014 z
// _

ACCOUNT BALANCE PLUS ACCRUALS 3b

(this is not a payoff amount): 1,694.48 1 l/] §

** INFORMATION FROM THE RETURN OR AS ADJUSTED ** ~\LWN jj
EXEMPTIONS: 0 1
FILING STATUS: Single

ADJUSTED GROSS INCOME; 30,289.00
26,-99-9'.'0'0 "O" FM OJ¢E”M lading 5

TAXABLE INCOME:

 

 

TAX PER RETURN: m O "

sa TAXABLE INCOME TAXPAYER: 0.00

ss TAXABLE INCOME SPousE: 0.00

ToTAL sELF EMPLOYMENT TAx: 0.00 ZY
RETURN DUE DATE on RETURN secreton DATE <ercHx-:vr:a rs LATER) Apr. la, 2011 5 \;;'v> gp
PROCEssING DATE May 16, 2011 04
1 TRANSACTIONS 1 1037 f/ {j

 

 

 

 

 

 

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CODE EXPLANATION OF TRANSACTION

Tax return filed
07221-109~14608-1
W-2 or 1099 withholding
Extension Of time to file ext. Date 10~15-2010

Inquiry for non-filing of tax return

Notice issued
CP 0059

Credit to your account

Penalty for filing tax return after the due date 20111808

Interest charged for late payment

Notice issued

CP 0023

Tax period blocked from automated levy program
Collection due process Notice of Intent to Levy

-- issued

Collection due process Notice of Intent to Levy
-- return receipt signed

Collection due process levy (hearing) request or
levy and lien (hearing) request received

Collection due process request received timely
Bankruptcy or other legal action filed

Amended tax return or claim forwarded for
proc§sging .`

`9$€-*(£Hended return filed

1-921'7'-53'§-'00582-4

 

 

 

 

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CYCLE DATE

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20111808

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04-15~2010
04-15-2010
02-24-2011
03-14-2011

04-15-2010
05-16-2011
05-16-2011
05-16~2011

02-27-2012
10-17-2012

10-22-2012
11~08-2012

11-08-2012
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04-15-2014

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706 Credit transferred in from
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fm Intemal Revenue Service

United States Dep artment of the Treasury

 

 

 

 

 

L This Product Contains Sensitive Taxpayer Data ll
Account Transcrlpt
Request Date: 08-18-2014
Response Date: 08-18~2014
Tracking Number: 100209400564
FORM NUMBER: 1040
TAX PERIOD: Dec. 31, 2010

TAXPAYER IDENTIFICATION NUMBER: XXX-XX-XXXX

GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH, FL 32266-3740-007

--- ANY MINUS SIGN SHOWN BELOW SIGNIE`IES A CREDIT AMOUNT----

ACCOUNT BALANCE: 0 . 00
ACCRUE`.D INTEREST: 0.00 AS OF: Aug. 18, 2014
ACCRUED PENALTY: 0 . 00 AS OF: Aug . 18 , 2014

ACCOUNT BALANCE PLUS ACCRUALS

 

 

(this is not a payoff amount): 0.00
8-8-16
Plainti|`|`rcspor}se H
** INFORMATION FRoM THE RETURN oR AS ADJUSTED ** EXHIB|'|',A)/VC» PA<;E/"/_
N0_1;16-cv-00206-PEC ,7 / {'
ChlefJudge Patricia E. Camphe|l-Smith
EXEMPTIONS: 01
FILING STATUS: Single
ADJUSTED GROSS INCOME: 221014-00
# TAXABLE INCOME: 0.00 "" O" Q)\|,hd d(.e
_--'______-k
TAX PER RETURN: mm -O" 7 33
sE TAXABLE INCOME TAXPAYER: O-OO g log ' q
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TOTAL sELF EMPLOYMENT TAX: O~OO g' lg"’¢/ ‘ v$eeé‘{
RETURN DUE DATE oR RETURN RECEIVED DATE (wHIcHE\/ER Is LATER) Apr. 15, 2011 ,l
PROCESSING DATE May 23, 2011 0\ €81
TRANSACTIONS ||

 

 

 

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CODE EXPLANATION OF TRANSACTION CYCLE DATE AMOUNT
150 Tax return filed 20111903 05-23-2011 $1, ,OO <:) '1,-1
#f.'
n/a 07221-109-50712-1 gee
806 W-2 or 1099 withholding 04-15-2011 -$497.86
766 Credit to your account 04-15-2011 -$400.00
196 Interest charged for late payment 20111908 05-23-2011 $2.44
971 Notice issued 05-23-2011 $0.00
CP 0023
971 Tax period blocked from automated levy program lO-24-2011 $0.00
971 Collection due process Notice of Intent to Levy 10~17-2012 $0.00
-- issued
971 Collection due process Notice of Intent to Levy 10-22-2012 $0.00
-- return receipt signed
971 Collection due process levy (hearing) request or 11~08-2012 $0.00
levy and lien (hearing) request received
971 Collection due process request received timely ll-08-2012 $0.00
520' Bankruptcy or other legal action filed 11~08-2012 $0.00
706 credit transferred in from 04~15-2014 '4$769;47 `
1040 201312
276 {§enalty for 1ate payment of tax 20142005 06-02-2014 $146.23 t
196 Interest charged for late payment 20142005 06-02-2014 7$5'5.61 ”¢;'
9717“"§Hended tax return or claim forwarded for 04:15-2014 $0.00 6
processing
977 Amended return filed 04-15-2014 $0.00
n/a 19277-535-01512-4 j w
291 Prier tax abated 08-16-2014 -$1,483.00 1 1.'
n/a 29254-606-05247-4 m»"m` j
277 Reduced or removed penalty for late payment of 08-18-2014 -$146.28 l
tax 1 d.
197 Reduced or removed interest charged for late 08-18-2014 -$58.05
payment if
826 Credit transferred out to 04~15-2011 $897.86
1040 200912
0'00 * {/}
826 Credit transferred out to 04-15-2014 $789.47
10 00912
40 2 1,663.00 +
971 Notice issued 146_23 + 08-18-2014 $0.00
cP 0021 1
971 N t' ' d 58.03 + 08 18 2014 $0 00
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8-8-16 /` 7707'/ 1
Plaintiff response , , , 1 f 0
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ChiefJudgeParrieia r-:. c mpbtll-smirh 7 j 'r J J ‘ 01)
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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 98 of 188

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Cllicl`ludg<: Patricia F£. Cumpmd
UNITED sTATES TAX COURT

GINA BRASHER LANGLEY
Petitioner,
v.

Docket No. 17267-13 L

Filed Electronically
COMMISSIONER OF INTERNAL REVENUE,

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Respondent. )
RESPONDENT'S STATUS REPORT

In accordance with the Court's Order on June 26, 2014,
respondent is providing the Court with a status report on the
above captioned matter.

1. On May 19, 2014, in Birmingham, Alabama, the parties
appeared and were heard regarding this matter.

2. On June 26, 2014, this Court Ordered petitioner's
collection due process (“CDP”) case be remanded back to
respondent's Office of Appeals, and Ordered that a new
independent Appeals Officer be assigned to the case.

3. Further, this Court Ordered the Office of Appeals to
hold a CDP hearing by August 25, 2014.

4. Further, this Court Ordered respondent to provide

petitioner with an accounting of the payments applied and

refunds made for tax years 2004 through 2010.

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Case 1:16-cV-OO206-PEC Document 24 Filed O9/O9/16 Page 99 of 188

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Docket No. 17267-13L 'w"mm"wm"“:“mmmn$mm

5. The Court Ordered the respondent to issue a
supplemental notice of determination to petitioner, clarifying
the basis for determination made.

6;“7'7hengohrt Ordered that the parties submit joint or

reports regarding the status of the case by

.ember 29, 2014, petitioner filed a response to

26, 2014, Order, which appears to be a status
re, respondent is submitting his own status

ner's CDP case concerns tax years 2006, 2008,
2009, and 2010, as noted on the notice of determination.

10. Respondent assigned a new Settlement Officer, Kimberly
Piro, to handle petitioner's case. Ms. Piro has no prior
involvement in this matter.

11. In preparation for contacting petitioner, Ms. Piro
determined that the petitioner had submitted a 1040X for tax

year 2009, directly to respondent's compliance department. Gg?
1 z "
12. Ms. Piro sent petitioner a letter on August 1, 2014, 1"1 H

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scheduling a CDP hearing for August 18, 2014.
13. The August 1, 2014, letter also informed petitioner

that she

had until September 2, 2014, to submit documentation to

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Case 1:16-cV-OO206-PEC Document 24 Filed O9/O9/16 Page 100-01°-188 .

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C|'.icl judge Patricia F. t amphcl|- -Sm'\lh
Docket No. 17267-13L

respondent's compliance department, supporting her position on
the 2009 1040X.
77M714:771heLCDP hearing was held on August 18, 2014.

15. Petitioner did not raise collection alternatives, but
continued to dispute that taxes were owing, and claimed that she
was due refunds for tax years 2008 and 2010.

16. Ms. Piro provided petitioner with a copy of the refund
check for the 2004 refund, and was provided account transcripts
for ta§ years 2004 through 2010, for her to review the
application of payments.

17. Petitidn:;%provided respondent's compliance department

with some supporting documentation regarding the 2009 104OX.

.18. lt appears there was some confusion as to whether

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respondent's compliance division timely received the information
from petitioner for consideration of the 1040X. Even so, w
petitioner's information is being considered.

19. Upon conclusion of respondent's compliance division's
review of petitioners 2009 104OX, Ms. Piro will determine if
further consideration of the 2009 tax will be necessary at the
Appeals level.

20. Due to the involvement of the compliance division, Ms.
Piro needs additional time to consider the 2009 tax liability

before issuing a supplemental notice of determination.
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 F§,a;g@ 101 of 188 §¢/f
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Docket No. l7267-l3L

Wherefore, respondent respectfully submi nis status

report.

WILLIAM J. WILKINS
Chief Counsel
Internal Revenue Service

Date: 10/23/2014 C/Ql%' %;é_,

CLINT J. LO¢%E

Attorney

(Small Business/Self-Employed)
Tax Court Bar No. LCO405

801 Tom Martin Dr

Rm 257

Birmingham, AL 35211
Telephone: (205) 912-5465

OF COUNSEL:

THOMAS R. THOMAS

Division Counsel

(Small Business/Self-Employed)
ELLEN T. FRIBERG

Area Counsel

(Small Business/Self-Employed:Area 3)
HORACE CRUMP

Associate Area Counsel
(Small Business/Self-Employed)

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Chief lodge Patricia

  
 
 

Department ofthe Treasury-|nternal Revenue Service

Amended U.S. lndividual lncome Tax Return OMB NQ, 1575-voa

> lnformation about Form 104OX and its separate-instructions is at www_irs.govfforrlHO-¢Cx.
This return is for calendar year EI 2012 l:l 2011 l:l 2010 ;Blzuu&]

11040)(

(Rev December 2012)

   

 

 

 

 

 

 

 

 

 

 

 

Other year. Enter one: calendar year or fiscal year {month and year ended):
YOur Hrst name and initial Last name Your social security number
a ' = =
'7rm (H/?<;s/@/ M 7
|f a joint retuml spouse's first name and initial Last nw / Spouse's sociai security number
' l
. l 1
Home address (number and street} lf you have a P.O. bo)<, see instructions Apt no Your phone number
City, town or post oli'ice. state, and Z code |f you have a foreign address, also stigma spaces below (see instri.r.tions)_
twa 77 747/m max /:»7 52 25
Forelgn chntry name ` Foreign province/state/county Foreign postal code

 

 

 

 

Amended return filing status. You must check one box even if you are not changing youili|ing status.
Caution. /n genera/; you cannot change your f///`n`g status from /'o/'nt to separate re turns afferthe due date

 

 

 

 

ingle [l Married filing jointly l:l Marn`ed filing separately
Clualifylng widow{er) l:] Head of household (lf the qualifying person is a child but not your dependent see instructions)
- A_ Original amount B. Net change-
USe part m On the back to explain any Changes oras previously am:iuntc:l`rncrease C. Correct
_ adjusted or [E|cl:rease)_ amount
lncome and Deductjons (sec`n.'.tructions) explain in Par| |l|

 

 

1 Adjusted gross income |f net operating loss (NOL) carryback is

included, check here > § 1 393$3 fZQ __ ._

2 ltemized deductions or standard deduction n . . . . . . . . . 2 570 6,(]0 t
Subtract |inei? trim linei E!.NUE SERHCE _ . t . . . 3 §§qu¢}_ -7,q 1 .¢¢: __
4 Exemptions. ia , e e~ fhbe `,ge 2 and enter the / . _
amount from line"" “ N j j;j§.g§§_t .322@2 . . . ._ , . . 4 L'j"é§()&j "~zcg ?£}é:§)
_5 Taxable income f i'§li)ne¢¥ from line 3 . . . . . . , . , . 5 MS`Q,_'ZQ Q _
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6 Ta)<. Enter method used tdBng)jEre ax:

 

 

 

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0 8 Subtract line 7 from line 6, lf the result is zero or less, enter -0- _ _§_ a "
\- 9 Othertaxes . . . . . . . . . . . . . . . . . . . . 9 79 _ “' ___
g 10 TOtaitax.AddnnesaandQ. . . . . . _ . . . . . . . , 10 ,,QQZAQQ_§‘ZZW,D_M C`)
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11 Federal income tax Withheld and excess social security and tier 1 FlHTA .
tax withheld (if changing, see instructions) . . . . . . . . . . 11 /j’§- ’7_/__ ` fig , ‘_'Z£‘ _
12 Estimated tax payments, including amount applied from prior year's
return......,...._..........120 _
13 Earned income credit [FIC) . . . . . . . . . . . . . . _ _ 13 C>
14 Fielundable credits from Schedule(s) l:lBBi 2 or l:l M or Form(s) U2439
flame l:l§aos l:lser.ii [l23812(2009-2011) flame ljaaea

l:lBBBS or l:lother{speclfyj: 14 l 0 .'_ 0

15 Total amount paid With request for extension of time to file, tax paid With Origlnal return, and additional

taxpaidatterreturnwasfiled t . . _ _ , . . . . . . _ . . . . . . . . 15 QO ‘

 

 

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16 Tota| payments Add lines 11 through 15 . . . . . . . . . .
Refund Or Amount YOu Owe (Note. A/low 8-12 weeks to process Form 10-40X.)

 

 

 

 

 

 

17 Overpayment, if any, as shown on original return or as previously adjusted by the lPS. . . . . . 17 O
18 Subtract line 17 from line 16 (lt less than zero, seeinstructions) t . . , . . . . . . . . _lB____/{ g 24
19 Amount you owe. lt line 10, column C7 is more than line 18, enter the difference . . , . . t . 4 19 O
20 lf line 10, column C, is less than line 18, enter the difference This is the arnount overpaid on this return _20_ £££, 'Zf
21 Amount of line 20 you Want refunded to you . _ . . . . . . . . . . . . . _ . . , _ZT” d £¢10_ 24

_ 22 Amount ot line 20 you want applied to your fenter year]: ______es£nated tax _l_22 "1"? -"v""¢ w `_

 

 

For Paperwork Reduction Act Notice, see instructions Caj_ NO 113¢.3!_ l Fq_,m 1040x (HEV 12
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For assistance, call:
Deparunent of the Treasury l-800-82M9D
Internal Revenue Service Your Call'el*r !D: 215913

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GIN§ B LANGLEY
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JACKSQN\¢I.I`L'I_‘;E,' BC FL 32250#2919 l -_

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cxhihrr ELEVEN PAGE Orif ,-
No. 1:16-cv-00206-PEC

Chief Judge Patricia E. Campbell-

Wo__Changed Your Estimated.'l`ax Tot_al - ¥ou Havo an Amount Due

Wo.changedyoiir~2005-_-Estimated._'l'aze?otal.reported_:onyourrotcmne-Est_imated Ta)'e-'I_`otol }nzly inq'li'.`idot@ - ,

_ Estimated- Tax Payméot§§`credit applied from another tax year,. or payments-received with `an extension of

tunc to file; As a result of these`chang_es, you owe 518_9.58 as shown in your tax statement below. If you
think we made a mistake, please call us at the number listed above. When you call, please have yourl
payment information and a copy of your tax return available This infonnation will help us find any
payment you made that we haven`t applied

 

 

    

T"a'x Statement
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Paymonts and Creditl '
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Estimatod Tax Payments $.00
Other Credits $.00
Other Paymen`ts 9 ’ 90 * $.00
Total Payments and Credits $.00
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Tax - -. . ., _ ' .
Totai Tax oh Reui‘m ` " ‘“ ' ` 2 ’ 005'@0 * ' $69.65
Underpayment of Taxes $69. 65
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Interest $35.65
Amolmt You Owe t 3189.58
Subtractod Payments We Haven't Included $ .__
You Owe the Adjusted Amo\m $

   

  

 

    

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 104 of 188

The Defendant's notices of refunds due / credits erroneously applied for Plaintist 2013 tax

year and the Plaintiffs amended tax years 2008, 2009, 2010, 2011 and 2012 total $16,851.06 are

Summarized at a through m below.

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3)210'27
1)146-00
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8'97
1)279-82
1)687~33
709'47
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097-06
612'25
11687-33
1)140~98
16)851'06

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3..

Tax year 2013 notice to Plaintiff by Defendant dated June 2, 2014 Overpayment for tax

year 2013 $3,210.27(D33) #26 in PlaintiH's 6-27-16 objection to Defendant's motion to

dismiss.

Tax year 2012 notice to Plaintiff by Defendant dated February 15, 2016 refund due

$1,146.00 (Blos) ,#22 in Plaintier 6-27-16 Objecaon_

Tax year 2012 notice to Plaintiff by Defendant dated February 15, 2016 decrease in tax
$2,074.03 (B108) #23 in Plaintiffs objection 6-27-16.

Tax year 2011, Defendant notice dated 2-16-2016 amount applied $833.75. (B107)

Tax year 2011 notice dated 2-22-2016 $8.97 (D33) #24 in Plaintiff‘s objection 6-27-16.
Tax year 2011, notice dated 6-2-14, (D33) amount applied $1,279.82

Tax year 2010 notice to Plaintiff by Defendant dated August 18, 2014 overpayment

$1,687.33 (D24) #6 in Plaintiffs objection 6-27-16.

Tax year 2010, notice to Plaintiff by Defendant dated J‘une 2, 2014 amount applied
$789.47 (D33)

Tax year 2010, notice dated 8-1-2014 tax decrease $1,483.00 (B44, D25).

Tax year 2009 transcripts Credit transferred in from 2010 dated 4-15-2011 $897.86
(B48) #7 in PlaintiiT‘s objection 6-27-16. l

Tax year 2009, Defendant notice dated 2-16-2016 amount applied $612.25 (B107)
tax year 2009, Defendant notice dated 8-18-2014 amount applied $1,687.33 (D24)

Tax year 2008, Defendant notice dated 6-2-14 (D33) amount applied $1,140.98 (B48) #

8 in Plaintiifs objection 6-27-16.
8-3-16
Plaintitl' response

The Defendant has not addressed why the Plaintiffs over-payments noticed as EXHIB|T ,I.WHLV|_: PAGEOM

No 1: l6-cv»0020()-PEC {;. ,,'.
7_26_16 ChlefJudge Patrlcla E. Campbe||-‘
Plaintiff motion 5
No l:l6-cv-00206-PEC
ChiefJudge Patricia E. Campbell-Smith

Case 1:16-oV-00206-PEC Document 24 Filed 09/09/16 Page 105 of 188
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l _- . r _ _ n l - aj I'lninti[Trcs|)t)nsc /

' 5 é/ mclean nluoannvnt,i .£
mm 8857 Request for innocent Spouse Re|ief hlj’ N"' '6 ‘~`" "U‘m€' "*C ‘ .-‘“ */ *

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magma-m am 591 > Do not tile with your tax retum. ~ > Bee separate lnsuuclione. -
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v

important things you should know

0 Anewer all the questions on this lorm that applyl attach any necessary documentation. and sign on age 4. Do not delay
illan this lorrn because ot missing docw'nentstlon. Sse instructions

o E.y law the lRS must contact the person who was your spouse for ihs years you want rsl|el'. Tbere ara rio excepllona.
even for victims ot spousal abuse or domestic violence Your personal information {such as you current nema. sociroaa.
and employed will be protected Howsvar, il you petition the Tax Court your personal information may be rel_eeaad_ Saa
instructions ior detalis. §

1 lt you need heip. see How To Get Help ln the lnstructlons.

 

 

Should you tile this torm? You must complete this"l part for eaéh` tax year.

 

 

fn Veer 1 Tax Voer 2 TH Yelr !l'

 

1 Enter each tax year you went rellet. h is important lo enter the correct yssr. For example
il the iFlS used your 2000 income tax refund to pay a 2004 tax amount you jointly owed. q
entertax year 2004, not tax year 2006 . . 1_ 00 `
Caution. The iFlS generally annot collect the amount you owe until your request for each
year is resolvad. Howover, th_e time the lFtS has to collect is extended See Collection

 

 

Ststuts of Ll_mltatlons on page 3 `ot'ths lr\stnx:tlons. ` ,
2 Cheok the box for each your you`would like s refund it you qualify for relief. You may M/ ' ' j
be required to provide proof ot payment. Sea instructions . . . . . . . > 2 n l.:l

Vee No Yee Nc Ves Na

 

' 3 ' Dld the lRS use your share of the joint retun_d to pay any ot the following peat-due
debts of your spouse: federal tax. state income tax. child support, spousal support.
or federal non-lex debt such as s student loan?

¢_ li “Ves.' stop here: do not tile this form lor that tax year. lnstead, tila Form 8379. Sec "

 

 

 

|nstructlons. . ’ '
olr~No,"golollne4 . . .. ........ 3 g gm L_-l 13 l:l
4 Dld you tile a joint retum for the_ tax y_aar listed on line 1? ~ /
l il "Yes," _sl<lp lins 5 and go to line 6. M/ m m m |j m

¢ lt"No,"gotollneS . .` |. . . . 4

5 li' you did .not tile a joint retum. for that tax year, were you a resident or M:one,
Calltornla, ldaho, Loulslane, Neue'de, New Mexico Te)ta.a, Wsshlngton, or Mscon`!|n?
0 lt 'Yee." see Commu'nr'ty Property Laws on page 2 of the lnstructlone. '
e if “No" on both lines 4 and 5. stop here. Do not tile thls form for that t'sx year . l . 5 m m U ' n m g

'|l you want toilet lor more then 3 yearl. l'»l out
an additional iorm.

 

 

 

 

 

 

 

 

 

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F` 5 tgoy ) 30'7- ’7'/35

 

Part ill Tell us about you and your spouse for the tax years you want relief

7 Who was your spouse for the tax years you went roliet? FHe a separate Form 8857 lor tax years involving dltierent spouses or
former spousal.

' That n ‘s current nam Seciel security number al im
l 534 _
Current horne s rosa t mlzrl §§le tit knowni. ll a F*. 0 hole see instructions a Apl. no.

 

 

 

 

 

 

 

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5/19/14 Petitioner's Stipu|ation of Fact

Exhibit 69
Page(g§ of

Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 106 of 188

8-8-16
Plaintili`rczaponse

' EXHIl'ti'l` /‘I’-Z PAGE})¢V
i . i _ No 1:16-cv-00206-PEC 7

Chiefludge Patricia E Campbe| l-Smith

 

F,,,,,, 8857 Request for innocent Spouse Re|ief h|'{'é/
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mwpm > Do not file with your tax retum. > Bee separate |nstruetfons.é _

 

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important things you should know

filing thh form because of missing documentation See instructions
0 By lll\ilr`l the lFtS must contact the patton who was your spouse for the years you wsm rellaf.

¢ if you need he|p, see How To‘Gei Help In the lnstructions.

m Should you file this fon'n? .You must complete this'_part for each tax year.

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your crmr\t name. address

 

 

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if the iFiS used yot.r 2006 income tax refund to pay a 2004 tent amount you lolntly oured,
enter tax year 2004, not tax year 2008 . . . . . . . .

 

 

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Cautlon. The iFtS ganer_aliy.cannot coitect the amount you owe until your request for each
year is reedtved. However, the t|rn_a the lRS has to collect la extended. See Coffecrfon
Siefute of Lfrnffaffone on page 3 `ol the motivations

2 Cheok the box for each year you would litre e refund ff you qualify for relief. You may 15/
be required to provide proof of peyment. See instructions . , b 2

 

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3 Did the ins use your.ehare cf the joint refund to pay any et the following past-due v“ "° y” "° ””
debts of your spouse: federal tex, state incomel tax, child eupport, spousal support.
or federal non-tax debt such _as s student laen?

\_ if "Yae." stop here: do not file this form for that tax year. instead, file Form 8379. See
instructions .

~lr“Nn,'goteltnM... 35 DUE

 

4 Did you file a taint return for-the tex year listed on line 1? /
0 if “Yea.' strip line 5 and go to line 6. M,
o ti 'No.' go to line 5 . . . . . . . . . . 4 m

 

DUE

5 tf you did not file a joint return for that tax year, were you a resident of Artzone, `
Cellfornia, ldeho, Louleiens. Netrade, New Meslce, Texae, Weshlngton, or wleconsin?
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m Te|l us about you and your spouse fo`r the tax years you wang relief

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former spouses

   

 

 

 

   

 

 

 

 

 

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§§ g{'go. 17267-13L
EXhibit H

    
 
 

pause for the box years you want relief? File a separate Form 8857 for tax years involving different spouses or

 

 

 

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 107 of 188

 
   
  

             

 

   
  

8-8-16
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big », ij EXhibit B

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 108 of 188

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No. 1:16-cv-00206-Pr-;t; aj /
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 109 of 188

UNITED STATES TAX COURT
GlNA BRASHER LANGLEY
Petitioner,

v. Docket No. 27396-12

COMMISSIONER OF INTERNAL REVENUE , Filed EleCtrODiCa.'

8-8-16
PlaintiFf`response ,
EXHIBIT FouRTEEN PAGE l¢-‘];
No 1:16-cv-00206-PEC
ChiefJudge Patricia E. Campbell-Sn

Respondent.

-MOTION TO DISMISS FOR LACK OF JURISDICTION

RESPONDENT MOVES that this case be dismissed for lack of
jurisdiction upon the ground that the petition was not filed
within the time prescribed by I.R.C. § 6015(e) or § 7502.

IN SUPPORT THEREOF, Respondent respectfully states:

l. The final determination dated June 23, 2011, upon which
the above-entitled Case is based, was sent to Petitioner's last
known address, the address shown in the final determination, by
certified mail on June 23, 2011. A copy of the final
determination is attached as EXhibit A.

2. Evidence of certified mailing is shown by the postmark

date stamped on the certified mailing list; a copy of which is

 

attached hereto as xhibit B.

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3. The certified mail number 7161 7618 3633 3739 1366,
corresponds exactly to the certified mail number on the final

determination, which is located at the top of the letter.

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Case 1:16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 110 of 188

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Docket No. 27396- 12
EXhibit B

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Case 1'16-cV-OO206-PEC Document 24 Filed 09/09/16 Page 111 of 188

1331 IRS 3'.1::;‘:1‘.1'.2:.“::.§.":.13

P.O. Box 120053, Stop 840F In reply refer to: 0297543211
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ChiefJudge Patricia E Campbell-Smith

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Tax Yearc(’:l)n: 2004 `J'Y§'" p/c_/ |LU`:§-"""u-\ ,-\O
ontact Person: Mr. Mutters < /1\;, l1 31\50 f»\Z\Q/ ,'

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Employee Identifioation Number: 5`1`29853""`"" , w l v ,."\1
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' l FaX Number: 859-669-5256 l.'{ "'_!

FINAL os'rERMINATIoN LQ

Dear Taxpayer:

EXhibit 8

Paoe@é,of

We considered your Form 8857, Request for Innocent Spouse Relief, and

steps you can take if you disagree with our determination to deny l
full or partial relief.

For TAX YEAR(S) 2004

5/19/14 Petitioner's Stipu|ation of Fact

¥ou are denied relief under IRC section 6015(f) of the Internal
Revenue Code.

' after July 22, 1998

- The liability must be attributable to the nonrequesting spouse.
Exceptions include:
¢ - Items attributable to the requesting spouse are solely due to
the operation of community property law
- Nominal ownership (name only) where the requesting spouse
rebuts
¢A- Misapproprietion of funds

use not amounting to duress
- No assets were transferred between the spouses filing the joint

 
  
 
 

 

  

Docket No. 17267~13L
Exhibit l

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Plaintiffrosponse dr 8
Amount due immediate|y: $116. 53 §>0<8}861_§§_;§)§§§};§§88}°8 3

Chiefludge Patricia E. Campbel|-Sr
As we notified you before our records show you

 

have unpaid taxes for the tax year ending Bming Summary

December 31 2006 (Form 1040). ll you don' trail

us immediareiy or pay the amount due by Am¢um you gW@d 8 5 109_ 35
August" 4 -2011 we may seize (“leuy“) any state mtere§t Cha[g@$ "" mg

tax refund to Which you' re entitled end apply it to
the 5116.53 you owe
|f you still have an outstanding balance after vve
seize any state tait refund, vve may take possession
of your other property or your rights to property
What you need to do immediately Pay immediately

8 8 ~ Send us the amount due 015116.53 or vve may seize(" levy' ')yourstate tax refund

on or alterAugL1st4, 2011

Amount due immediately 5116.53

 

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700 OAKST . l_\_l_otice date luly _25 2011
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\185 Q) ' Make your check or money order payable to the limited States Treasury
(gl<l' ¢ Write your Secia| Securin number 12 5.7- 2?- -00761 the tax year (2006), and the form

Paym€nt GOL"' al try nun1ber(1040) on your paymentanrl any correspondence

 

ii
Fh/ Amount due immediately $116.53

il\lTERNAL RE\/ENUE SERVICE
ATLANTA, GA 39901-0025

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Case 1:16-cv-00206`-PEC` Document 24 Filed 09/09/16 Page 113 of 188

 

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Case 1:16- -C\/- OOZO€-PEC Document 24 Filed 09/09/16 Page 114 of 188

Notice --------------- ---------------------- C~ p504 ................................

Department ofthe Treasury T§?_$..Y§?_F ................................. §QY_ ........... ..

w lrternal Revenue Service .. _
Atlanta GA 3990l 0025

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700 OAK ST
NEPTUNE BEACH FL 32266-3740007 j \
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8-8-16
E" ' Plaintiffresponse F_
( q EXHIBIY l § PAGE j

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intent to 59i_29 your prongrry n_r_r Ogghtg 19 pmpertu /2
Amount due immediately: $2,9 0.50

 

115 we notified you before our records slro v you (

hare u?.,‘.'aro ta fafor the tax year ending Bi"in_g Summary

December 31. 2009 (Form llfilll_. ll you don t call

US ll'llqi€d|a_[l£'|§l Dl' pay ll'|E ammle [lUE L)y ,_`T‘l|'g}]nf you OW@(} w \ 52 856 48
August 4 2011 we may seize { levy" l any state Fa,rur`e_ m pay pel,“r,\_, "` ` " " ' ' ' " ' "' jim
tax refund to Which you' re entitled and apply n to mtere$t charges ' ' '22`0;0
the 52' 900 50 YOU OWP` Amount due immediately w n w 2 ` ` $27900_59

ll you still have an outstanding balance after vve
seize any state tax refund, vve may take possession
of your other property or your rights to property
What you need to do immediately Pay immediately
* Send us the amount due of $2, 900 50 or vve may seizel" levy ')your state tax refund
on or afterAugust4 2011

_______________________________________________________ Continued on back..

 

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g mem _ 111011€€ date . . 1111121 2011 :_`1.`_"_'_' `
IP neptunesracnrt;¢zse~;rrooor godé"| Sec'ur'lt'y' 'num'b'er 257 '2'7 007‘6

l 41 y (} ex ~ l\/lake your check or money order payable to the United States Treasury
16 ll l - Write your$ocial Security number(257- 27- -0076) thetax year (2009) andthe form
Pa ment (? - » , } number (1040) on your payment and any correspondence
w 13 c
Amount due immediately $2,900.50

 

 

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1:16-0\/- 00206- PEC Document 24

Filed 09/09/16 Page 115 Of 188

P. 0. Box 120055, Stop BQOF In reply refer to: 0297825590
Covington KY 41012 May 151_2_01_1 LTR 5657C i0
257- 27- 0076 200512 50
Input Op: 0297825590 00019498
BUDC: WI
GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 52266-5740
Social Security Number: 257-27~0076
Form: 8857 3 h 'WW“
Tax Year§s): 2005 2006 l&@%
l PlaintiHmotion
attachment B page 82
g tro 1:16-cv-00206-PE(2
Contact Person: Ms. wong 1 OmwmngmmECmmmuwr
Employee Identification Number: 1000197775 _,_~'"mm~ahm,mh_

Contact Telephone Number:
FAX Number:

Dear Taxpayer:
we received Form 8857,

basic eligibility requirements because:

Vou did no_t file a joint income tax return for tax year(s)

2005 and 2006.

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M- »~~-1-»-"

IF YUU HAVE ANY QUESTIONS:

See Publication 971, Innocent Spouse
Liability and Equit§ble Relief), for
www. irs. gov or call l 800~ TAXFORM to

Request for Innocent Spouse Rellef §And
Separation of Liability and Equit`able Relief).

1-866-897~4270
859*669*5256

\(IOL`

You do not meet the \?

       

./?|/\;?

Rg%ief (And Separation of
more information. Visit
order a copy.

- Call the contact person shown on this letter between 7:50 a.m.

and 5:50 p.m.(ET), or

r Write to us at the address shown on this letter.

copy of this
hours we can reach you.

Best daytime phone number ( )

Please include a

letter and your best daytime phone number with the

8-8-16

 

Best time to call during the days

Plaintiff response
EXHIBIT SIXTEEN PAGE 10
No l: l6-cv-00206-PEC 9

 

ChiefJudgc Patricia E. Campbell

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No 1:16-cv-00206-PEC el -

  
  
  
 

 

  

You must compiete F

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form and submit it to: W’“M§D’§”§‘§“L§SH§WWM
internal Revenue Service
/ Stop 84OF /
P_O. Box 120053
Covington, KY 41012

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Ensu"e that yOU Sign and date the
By law. the ins must geneva .,~.

_.,. ,Wr spouse or _rorrner ~‘

Form 8857 or it vvi|| be returned to you.

spouse to inform him/her that you filed Form 8857 and advise
l ot preliminary and iinai determinations i-ioWever, the lRS vvill not disclose your personal information
You should receive a final determination letter from the internal Revenue Service Wit_n,in six months frorr the date
1 you tile the Form 3357.

The conclusions above are based on information provided by you in response to the questions noted beiovv. This
does not constitute Written advice in response to a specific wri

tten request of the taxpayer vvithin the meaning of
section 6404(t) of the internal Revenue Code.

    
   
 

   

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For Which tax year are you requestin

 

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Are yo_u inquiring about receiving your share etc taint refund that Was used to pay any ot the following past-due
.' debts ror your spouse (or former spouse)? rio Chang:i£

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Did you file a ioint return for the tax year you are requesting innocent .on~e@ D~'-'~"* "

1 …,..c., it-s- Ciieng§
here a remaining balance due for 2004? i\io Cnanoe

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Did you file a partnership return With eleven or more partners for thc tax year you are re
R‘E.|"B‘c? NG ;:;]g`:i`:Ln-:

question innocent Spouse l

Did a tax court make a final decision not to grant you relier"'irom joint liability for 2004; bury/311 ;1_‘.::;:.'1.";‘.;,‘{1._[.[_._1_
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GINA B LANGLEY

700 OAK ST
NEPTUNE BEACH FL 32266~3740

sam

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jj l Nnmswpw%r_ 4a Tax vear(s)x Dec. 31' 2004

Chici`_ludgc Patricia I-j. Canmiicll-Smith

  

Person to contacts Thorosa Griffis

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Employee Idontification Numberx 1000197638

C
19
'§QJ Contact Hoursx 7:30 a.m. to 3330 p.m.
_Ei:g (Eastern time zono)
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§§ telephone Number: <aes) 397~¢»270

am 3 .

§ § Fax Number: (859) 669-5256 (not toll-froo)

INNOCENT SPOUSE CLAIMS PREVIOUSLY DENIED FDR THE 2-YEAR RULE
UNDER SECTIDN 6015(f)

511'9}'1? -
(Qi

Dear Taxpayor: /

l The IRS previously issued you a letter in regards /
to your claim for innocent spouse relief file on Form 8857, Request ap

for Innocent Spouso Rolief, because your request was not filed within
the two-year deadline under section 6015(f).

` Tha IRS has recently decided that claims filed under section 6015(f)
322_ng_lgggg£_£aggl£gg_£o_po filed wTEEIn the two-year deadlina. If
or innocent spouse relief,

=Eleasa goaggly by completing and signing a new Form 8857. Be sure to

 

 

include any supporting documents. You may use a enc ased envelopa,
or fax the Form 8857 and any supporting documents to us at tha fax
number shown abova. /,M

.ADUITTONAL INFURHATIUN IF YOU REQUEST RECONSIDERATION DF YOUR REQUEST MEZ

We may need to reach you while we process your request. IF your /z?
address or phone number changes while we are processing your request
or if you have questions, call the contact person shown on this
letter, or write to us at the address shown on this letter. Pleaso
nclude a copy of this letter and your host daytime phone number with
th_ hours we can reach you. /, th

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EXhibitB
Page y'of@{;

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.0. qu 120053, Stop 840F In reply refer to: 0297222112
Covington KV 41012 Aug. 27, 2012/ LTR 3657C Eo
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GINA B LANGLEY

8-8-16 l
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¥L`\:|l:i;f.i:u|gu Patricia E;_ (.umpha.l\ Smlth

Social Security Number: =6
5

Form: 1040
Tax Year(s): 2004

Contact Person: Mrs. Ryan
Employee Identification Number: 1000197722
Contact Telephone Number: 1-866-897-4270 ext 8125
FAX Number: 859-669-3717

Dear Taxpayer:

We received Form.8857lmRequest for Innocent Spouse Relief. You didn't
meet the basic eligibility requirements because:

You can do the following to get additional informations

- Review Publication 971, Innocent Spouse Relief. (Visit www.irs.gov
or call 1-800-TAXFORM to get a copy of this publication.)

- Call the contact person shown on the first page of this letter
between 6:30 a.m. and 3200 p.m.(ET), or

f;: Write to us at the address on the first page of this letter.

Please include a copy of this letter and a daytime phone number with
the best time to call you.

Daytime phone number ( )

 

Best time to call during the day:

 

Remember to keep a copy of this letter for your records.

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j|~ "-HR TOLL f)@'A/’m

adv/snf O'E'

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P.U; Box 120053, Stop BQOF In reply refer to: 0297404711
Covington KY 41012 Oct. 22, 2012 LTR 5657€ Eg
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BUDC: WI

  

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GINA B LANGLEY `

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Social Security Number: _m

Form: 1040 &&M

Tax Year(s): 2004 Pmmmwwme ,
Emel'r r(,__, PAGE _§_
No l : 16-cv»00206-PEC L,

Chefhm cPandaE.Can bdhsmnh
Contact Person: Mrs. Lar _____ g p

Employee Identification Number: 1000196205
Contact Telephone Number: 1-866-897-4270 X8156
FAX Number: 1-855-277-9040

Dear Taxpayer:

Thank you for your correspondence received 09262012.

There is currently no amount owed and we have made no additional
assessments for tax year(s) 2004. If in the future you are

contacted regarding any changes to your return, that will result in a
balance due, you may re-file the Form 8857, Request for Innocent
Spouse Relief. ‘

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EmeH.;
Page §§ Gf 33

Per IRC Section 6511 , a claim for a refund must be filed by the
taxpayer within 5 years from the time the return was filed or 2 years
from the time the tax was paid, whichever of such periods expire
later. your 2004 return was filed on April 15, 2005 and the tax was
paid February 24, 2006. You filed your Form 8857 on June 5, 2009,
which was after the claims period had expired.

EllOnErS

You can do the following to get additional information:

- Review Publication 971, Innocent Spouse Relief. (Visit www.irs.gov
or call 1-800-TAXFURM to get a copy of this publication.)

| - Call the contact person shown on the first page of this letter
between 7:30 a.m. and 4:50 p.m.(ET), or

Please include a copy of this letter and a daytime phone number with
the best time to ca11 you.

Daytime phone number ( )

 

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 120 of 188

Docket No. l7267-l3L &&M
Plaintiff response f
EXHlB[T SEVEN TEEN PAGE ca
letter was issued on June 23, 2011. NO\mCVdp%IEC

ChiefJudge Patricia E. Campbell- -Sr
21. Respondent's Motion for Summary judgment argues that a

Final Determination letter was issued, which thereby precluded
petitioner from raising the issue again in this docketed case,

since she received a prior administrative hearing on that issue.

22. Respondent's claim that petitioner received a Final
'Determination letter from respondent is consistent with
respondent's Answer which admits this Court did not make a final
decision in docket number 27396~12.

23. Respondent’s Final Determination letter is separate and

distinct from a Tax Court decision on the merits. Respondent
~’- -“’“ ='f“~-» ~`~»_,,~

routinely sends taxpayers Final Determinations, which are

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jurisdictional “tickets to the Tax Court.

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24. Respondent did not make a false statement regarding
will

 

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respondent's issuance of a Final Determination letter.
_________-________*_'____"-___-__.-_.`_._._..___._______._ .___ .._-_____.__._ ,_

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25. To further clarify the record, respondent contacted the

..

Appeals Officer who issued the notice of determination. The
Appeals Officer admitted that her statement in the notice of
determination was erroneous.

26. lt appears that the Appeals Officer saw a copy of
respondent's Answer to docket number 27396-12, and
misinterpreted the nature of such document.

27. Despite the Appeals Officer's mistake, respondent's

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Case 1:16-cv-OO206-

 

 

January 271 2015

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A. Signature

PEC Document 24 Filed 09/09/16 Page 121 olafll88mB page 19
01 16- -cv- -00206- PEC

Chiefjudge Patr1c1a ll Cainpbell-Smi'

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Plain`tiilC motion

 

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8-8-16
Plaintiff response

 

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Ps Form 3811,Ju1y 2013

 

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Domestic Return Receipt

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Case 1:16-cv-OO206-PEC Document 24 Filed 09/09/16 Page 122 of 188

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GlnaLangmy
700 Oak St.
Neptune Beach,Fl 32266

  

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gm IRS lntl:rnul Revenue Service

In reply refer to: 0538908239

 
   
   
     
   

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Taxpayer Identification Number: XXX-XX-XXXX

Tax Period(s): Dec. 31, 2011 Dec. 51, 2008
Dec. 51, 2009 Dec. 51, 2012

1040

   
      
    

  

Form:

   
 

Dear Taxpayer:
Thank you for your response of Sep. 02, 2014.

,we have forwarded your claims to the Appeals Office. They should

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Cll\icfludgu Patricia E. CampbcII-Slnilh

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Case 1:16-cv-00206-PEC_ `[')'c>'r§`r"rr:_rr5l

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In reply refer to: 0538908259

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GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 52266

CERTIFIED MAIL<`

Taxpayer Identification Number: XXX-XX-XXXX

Kind of Tax: lncome
Date of Claim(s) Received: Apr. 15, 2014
Tax Period : Dec. 51, 2008

Dear Taxpayer:

WE CUULDN'T ALLUW YOUR CLAIM

wHV WE'RE SENDING YOU THIS LETTER
This letter is your notice that we've disallowed your claim for
credit for the period shown above.

,jnlz» * 1[7
WHY WE CANNUT ALLUW YUUR CLAIM ' }M?az

We requested additional information in order to process your claim on
7/25/2014. we did not receive a reply by the date requested.

We can't allow a claim for credit since you filed your claim more
than 3 years after the due date for the tax return which established
the carryback.

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IF You DISAGREE ___éa MH’I(/ Q§] m 510 b W { l 7

/ -
ch may appeal our decision with the Appeals Office (which is
independent of our office) if we disallowed your claim because our §
records show that you filed_y£££#;laim_late. Generally, a claim is 'j
late if you filed it the later of: J

» 5 years from the return due date of a timely filed, »§
unextended return lb
- 5 years from the date we received a late return or a timely x
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filed, extended return L;LKQ')U lacy
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2 years after you paid the tax

tion, the amount of any credit or refund for a claim filed
three years of the tax return is limited to amounts paid

-n the three years before filing the claim plus the period of
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 125 of 188

0558908259
Sep. 16, 2014 LTR 1050 0
257-27~0076 200812 30

00000188

GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 52266

Sincerely yours,

7@‘7§

Nancy J.

Aicllo
Field Director

, Accounts Management

Enclosure(s):
Publication 1

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Case 1:16-cv-00206-PEC Document 24 Filed 09/09/16 Page 126 of 188

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f -.- ._:._f 1305 mt 539 vic;; 5-6-16
PlaintittC motion
attachment B page 20
No_ l;lG-ov~OOZOt$-PEC
C|\iel`Judgc Patricia E. Campbell-Smitl
z
Gina Langley:

Tne tollovving is in response to your November 2_@_ 2Q_i4 request tor delivery information
on your Certified l\/lailT"" item number 7013302@@0,®0'28263331. Tne delivery record
shows that tnis item vvas delivered on August 3&\, 12014 at Q:iO am in PHlL/\DE|_PH|A,
PA 19154.' Tne scanned image ottne recipient information is provided below

 

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Signature ot Recip.'ent: F'=t
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Jl"‘@m.fr § 1:_53_

 

 

 

lAddress or Recipient; i# W_Jli_;_l:_,__i___'_,:i,_?_

Tnani< you for selecting tne Postal Serv.`ce for your mailing needs

  

lt you require additional assistance please contact you' .loozii¥i-`iest-©ttice'o`r` postal
representative _ '-
S ncerely, l 63 ]<’{'./§ ./L xii iii ./

United States Postai Service j(,» 23

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Case 1:16-cv-OO206-PEC Document 24 Filed 09/09/16

 

 

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ll Complete items 1, 2, and 3. A|so complete
item 4 if Restricted De|ivery is desired.
I Print your ames and address on the reverse

so that we an return the card to you
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or on the f nt if space permi.

po nee nee to me Post o

vtes igation and response

  
 
  
   
   

A. Signature
X
B. Fleceived by (Printed Name)

  

 

// l:l Agent
ry l:| Addressee

C'f Date of De|ivery , ~"

 

 

1. Artlcle Ac`ldre`esed to:

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D. ls delivery address different from item 1? m Y€‘S
lf YES, enter delivery address below:

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3. Ye‘§me
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Page 127 di11'88“prage 19

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ChieFJudgc PatriciaE. Cainpbell-Smi'iv

5-6-16
PlaintilT motion

 
 
 

8-8-16

Plaintin response

EXHIBIT EIGHTEEN PAGE 57
NO 1:16-cv-00206-PEC 57 s‘,"

Chief\ludg_e Patricia E. Campbell-

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Case 1:16-cv-OO206-PEC Document 24 Filed 09/09/16 Page 128 of 188

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Gina Langley
700 Oal< St.
Neptune Beach,Fl 32266

 
 
 
  
 

8-28-14taxpayerlD XXX-XX-XXXX,responsetoletter8~1'14#053890 39

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pt;eram manager,iRS \/iCL U£ [3§ ('9,7§ 623 Hij 131 7013 3090 COCO 5 /$/
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Regards |`\/lr. Lutz, 7§3 //j§lc@d:ue} 3 'Z. 666ij 53de g';)@ s //

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De artment ofthe Treasury
gm IRS internal Revenue Service

In reply refer to: 0538908239

  
 

   
    
   
  

PHILADELPHIA PA 19255~0025 oct. 29, 2014 LTR aec 0
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Taxpayer Identification Number: XXX-XX-XXXX
Tax Period(s)= Dec.'sl, 2011 Dec. 31, 2000

Dec. 51, 2009 Dec. 31, 2012
1040

   
      
    

   
 

Form:

 

Dear Taxpayer:
Thank you for your response of Sep. 02, 2014.

We have forwarded your claims to the Appeals Office. They should

f?)rrn 5*1/3 3€1)6 C/€a/~ 961/3 pg </`G//g //»7»/5

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Case 1:16-cv-00206-PEC__ 110ch "1=119009109/16 Page 129 01138

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 130 of 188

- ' Department ofthe 'E`rca:uuy
gm IRS Internal Revenue Sor\'icc

In reply refer to: 0538908259

PHILADELPHIA PA 19255~0025 Sep. 16, 2014 LTR 105C 0
XXX-XX-XXXX 200812 50
71617618565747077416 00000184
BDDC: WI

GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 52266

300282

CERTIFIED MAIL<`

Taxpayer Identification Number: XXX-XX-XXXX

Kind of Tax: lncome
Date of Claim§s) Received: Apr. 15, 2014
Tax Period : Dec. 51, 2008

Dear Taxpayer:

WE COULDN'T ALLOW YOUR CLAIM

WHY WE'RE SENDING YOU THIS LETTER
This letter is your notice that we've disallowed your claim for
credit for the period shown above.

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We requested additional information in order to process your claim on
7/25/2014. We did not receive a reply by the date requested.

WHV WE CANNOT ALLOW YUUR CLAIM

We can't allow a claim for credit since you filed your claim more
than 5 years after the due date for the tax return which established

the carryback- ____611;!_@%'0 23 {(/ @£LW 110 M].U md Q/O.t`m L{/IS lb/

IF YOU DISAGREE 1055 _?

   

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Vou may appeal our decision with the Appeals Office (which is
independent of our office) if we disallowed your claim because our (
records show that you filed your ' e. Generally, a claim is j
late if you filed it the later of: U’

~ 3 years from the return due date of a timely filed, €t,¢L

unextended return
- 5 years from the date we received a late return or a timelyL yql;: `L

filed, extended return bd QN') 011
2 years after you paid the tax ij |.{

tion, the amount of any credit or refund for a claim filed qJL
three years of the tax return is limited to amounts paid

-n the three years before filing the claim plus the period of
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 131 of 188

0538908259
Sep. 16, 2014 LTR 105C 0
XXX-XX-XXXX 200812 30
00000188

GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 32266

Sincerely yours,

7@‘7§@%

Nancy J. Aicllo
Field Director, Accounts Management

Enclosure(s):
Publication 1

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Case 1:16-cv-00206-

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Gina Langley:

The following is in response to your November 2__0 2014 re
item number 701 3302L,0000232 3331
shows that this item Was delivered on August
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on your Certified l\/la_ll"

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P/`-\19154 The scan

Signature ot Recip.'ent:

,A.ddress ot Recipient:

lt you require additional assistance p. 'ease corta

representative

Sincerely,

United States Postai Service

PEC Document 24 Filed 09/09/16 Page 132 of 188

5-6-]6

Plaintiff motion

attachment B page 20

No l:lé-cv-OOZOG-PEC

ChiefJudge Patricia EA Campbell~Smili

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IFP,PRO SE,REOPEN

 

US Court of Federal Claims 8 8 16 l
United States Court of Federal Claims (COFC) qiaimii=r response 3-3-16 y ,
CIVIL DoCKET FoR CASE #= 1:16-cv-00206-PEC §§TE;TJJ_%§‘§§§_§§CPAFE "
Internal Use Only Chiefjudge Patricia E. C pbell»
LANGLEY v. USA Date Filed: 02/10/2016
Assigned to: Chief Judge Patricia E. Campbell-Smith Jury Demand: None
Dernand: $51,()00 Nature of Suit: 212 Tax - Incorne,
Cause: 28:1491 Tucker Act Individual
Jurisdiction: U.S. Government
Defendant
Plaintiff
GINA BRASHER LANGLEY represented by GINA BRASHER LANGLEY
700 Oak Street
Neptune Beach, FL 32266
(904) 469-4397
PRO SE
V.
Defendant
USA represented by Brian James Sullivan
United States Department of Justice -
Tax Division
P.O. Box 26
Ben Franklin Station
Washington, DC 20044
(202) 616-3339
Email: brian.j .sullivan@usdoj . gov
LEAD A TTORNEY
ATTORNEY TO BE NOTICED
Date Filed # l)/Qek/er Text

 

08/12/2016 l ` /(Court only) ***Case Reopened (dls) (Entered: 08/12/2016)
l |

 

08/12/2016 § ORDER allowing defendant’s motion for clarification to be filed by leave
of the judge; granting § Motion for Clarif`lcation; Vacating the judgment
entered on August 1, 2016; withdrawing the court's opi_ni_ojland.orderliled
W&; and directing plaintiff to file a response by 9/9/16.

lgned by Chief` Judge Patricia E. Campbell-Srnith. (dls) Copy to parties.
(Entered: 08/12/2016)

 

 

 

 

 

httpS://ecf.cof`c.circfc.dcn/cgi-bin/DktRpt.pl?636537842l44341-L_l_()-l 8/16/2016

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08/12/2016

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1114

MOTION f`or Clarification, filed by USA [by leave of the judge]. Service:
8/8/16. Response due by 8/25/2016.(dls) (Entered: 08/12/2016)

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08/01/2()16

tit

(Court only) ***Civil Case Terrninated. (dls) (Entered: 08/01/2016)

 

08/01/2016

See Order of 8/12/2016 Vacating JlJ-DGM-E-i>l-ilen&e+ed~<pueeuanHe-R§de

 

(~&ep§ete-pai=t+es-)-Eell-s}-(Entered: 08/01/2016)

 

08/01/2()16

(Court only) Keyvvords: re: 2() Pro Se Complaint; Dismissal for Lack of
Subject Matter Jurisdiction; Tax Refund Claim; Takings Claim; Suit
precluded by previous actions in Tax Court; I.R.C. § 6512(a). (dls)
(Entered: 08/01/2016)

 

08/0]/2016

See Order of August 12, 2016 Withdrawing P\-E-PQR-'IlE-D-QPPNJQN-enel
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9-|-}4-9944-964§-(-}§94§§2-1-46}(Entered: 08/01/2016)

 

08/01/2016

(Court only) Keywords: re: § Pro Se Complaint; Motion for Sanctions;
RCFC ll; RCFC 6.1. (dls) (Entered: 08/01/2016)

 

08/01/2016

_REP_()RIED ORDER denying 7` Motion for Sanct'i'oiis` pursuant t'c§ Rule ll.
Signed- by"Chiel" Judge Patricia E Campbell- Smith. (dls) Copy to parties.
(Entered--OS/Gl/20l6)

v

 

08/01/2016

ORDER RETURNING UNFILED: Plaintiff‘s sur-reply, received July 29,
2016. Signed by Chief Judge Patricia E. Campbell-Srnith. (dls) Copy to
parties (Entered- 08/01/2016) F aj ({

 

07/14/2016

REPLY to Response to Motion re 1_5 AME NDED MOTION to Dismiss
pursuant to Rule 12(b)(l), filed by USA. Service: 7/l4/2016.(evv)
(Entered: 07/15/2016)

 

06/27/2016

RESPONSE to § Amended Motion to Dismiss pursuant to Rule l2(b)(l),
filed by GlNA BRASHER LANGLEY. Reply due by 7/14/2016.Se1vice:

6/27/2016(@W)(Em@r@d. 06/30/2016)mainlyme \ ila-95 ¢Léi<_~mlir vivid

xv 3

 

06/10/2()16

AMENDED MOTION to Dismiss pursuant to Rule 12(b)(l), filed by l
USA. Service: 6/lO/2016.Resp0nse due by 6/27/2016.(ew) Modified on
6/14/2016 - corrected docket text(jtl). (Entered: 06/13/2016)

C/| f

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06/03/2016

ORDER granting § Motion for Leave to Proceed in fortna pauperis Signed
by Chief Judge Patricia E. Campbell-Smith. (ew) Copy to parties
(Entered: 06/03/2016)

 

05/23/2016

RESPONSE to 9 MOTION to Dismiss pursuant to Rule 12(b)(1), filed by
GINA BRASHER LANGLEY. Reply due by 6/9/2016. Service:

 

 

05/23/2016

 

le §~’~

ORDER granting l_O Motion to File an Amended Motion to Dismiss. Rule
l$(b) Amended Pleadings due by 6/10/2016. Signed by Chief Judge
Patricia E. Campbell~Smith. (eW) Copy to parties. (Entered: 05/23/2016)

 

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8/16/2016

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‘) 1 ' .
05/20/2016 `i\ § viii RESPONSE to 1 MOTION for Sanct1ons pursuant to Rule ll, filed by
i L USA. Reply due by 5/31/2016. Service: 5/20/2016.(ew) (Entered:
OL 05/20/2016)

05/20/2016 § l\/IOTION For Leave To File An Amended Motion to Dismiss - Rule 15 2
MOTION to Dismiss pursuant to Rule lZ(b)(l), filed by USA. Service:
5/20/2016. Response due by 6/6/2016.(ew) (Arnended Motion To
Dismiss) # l. (Entered: 05/20/2016)

MOTION to Dismiss pursuant to Rule lZ(b)(l), filed by USA. Service:
5/10/2016. Response due by 6/10/2016.(ew) (Entered: 05/10/2016)

1 H L.@'
05/10/2016 l llc/',I§ AMENDED COMPLAINT against USA, filed by GlNA BRASHEI€` 4

 

 

 

05/1()/2016

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LANGLEY. Amendment to l Complaint,, filed by GlNA BRASHER C()Q b f7 l
LANGLEY. Answer due by 5/27/2016. Related document l Complaint, l ?1(_,[1/ ,
filed by GlNA BRASHER LANGLEY.(eW) (Entered: 05/ 10/2016) Oj /:,,I !Ar 1103 ; 4a

- 1
05/10/2()16 - f itcqu MOTION for Sanctions pursuant to Rule ll, filed by GlNA BRASHER ` cm
Q ' LANGLEY. Service: 5/10!20,16. Response due by 5/27/2016.(ew {)c,§;,`/ 703

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<Em@r@d- 05/10/2113} a 111-.-~_1,-1/1/1111111\(1 mw 1
04/13/2016 6 ORDER granting § Motion f`or Extension of Time to dns\iv\i:r, Answer due

by 5/10/2016. Signed by Chief Judge Patricia E. Campbell-Srnith. (ew)
Copy to parties. (Entered: 04/13/2016)

MOTION f`or Extension of Time until 5/10/2016 to File Answer re _l_
Complaint,, filed by USA. Service: 4/8/2016.Resp0nse due by 4/25/2016.
(ew) (Entered: 04/08/2016)

 

 

 

04/08/2016

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04/08/2016

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NOTICE of Appearance by Brian James Sullivan for USA.. Service:
4/8/2016.(ew) (Entered: 04/08/2()16)

MOTION for Leave to Proceed in forma pauperis, filed by GINA
BRASHER LANGLEY. Service: 02/10/2016. Response due by
2/29/2016. (vdw) (Entered: 02/18/2016)

NOTICE of` Assignrnent to Chief Judge Patricia E. Campbell-Smith. (vdw)
(Entered: 02/18/2016)

02/10/2016 H 1 COMPLAINT against USA (DOJ) (Copy Served Electronically on

l w N(_) Department of Justice), filed by GlNA BRASHER LANGLEY. Answer
due by 4/11/2016. (Attachments: # l Civil Cover Sheet) (vdw) (Additional
attachment(s) added on 2/18/2016\# 2 Appendix) (vdw_). (Entered:

02/18/2016) ;O, Oné',-,i¢) |‘lfi.
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02/10/2016

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Brookhaven Appeals ` _ 5 “E/ q ¢.
1040 Waverly Ave. § six \> Person to Contact: SF`S”{`° CU-, 59
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Ho|tsyiile, NY 11742 Employee ID Number: 10001922'11
Tel: 304-5?9~6823
Fax: 855-286~9705

    

 

  

Date: __\‘;m/ 2 0 20;4 ContactHours: 6:30
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GlNA s LANGLEY Tax TypelForm Numl N".- "'6'¢"","’25""£']§€@1“ vii ._§.“m=
709 OAK ST individual income Ta. Ch'.°§]“dgelamm ` p
NEPTUNE BEACH FL 32266-3740 ` In Re:
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‘. .,_- _….___._ 1 d 1,\) _ ) \R Tax Court( )
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/__ij ¢~', W Jg::- suPPLEMENTAL NOTroE oF DETERMINATiON v
chERNrNG coLLEc:TroN Acrrc)N(s) uNbER sEchON 6320 andror 6330

MS_ Gnia B. Langley: CL¢;(;{ mbi »’Ja¢ l`/ L.R_)Cé/j €fff)§'l €O@'<_f _ . _
'ru\ \/n)b:llt‘i"‘ 5 gale ll §§ USG §'6473“
The determination summarized below and described in detail in the attachment supplements the Notice (1‘.)
of Determination dated June 25, 2013. This supplement is being issued pursuant to the order of the 4 llé?_r
Tax Court dated June 26, 2014 remanding the case lo this appeals office A copy of this su ' ‘
also being sent to Clinl J. i_ocke Aitorney, |RS, Area Counsell Birmingham, AL.

carryback/parry fon/vard years (2008, 2009, 2011and 2012) by September 2,

2014. The
disallowed the claims as untimely When you did not r

espand by »‘.SeptemberQ, 2014 .

      

Service

 
   

   
 
  
  

 

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cc: Birrnlngham, Al_ Area Couns

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Cindy R Kasminoff

  
  
 

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7 Of 188

~r - 9/16 Page 13

' '§Y;HO%EPWCW¢UWWD 142va vl}§g ig§{i%d or when the NFTL filing Was
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_ Cef had 00 Drior involvement With respect to the specific tax periods either in k }/)j
nce.

nd information you provided ivl
egal and pro edural requirements and the actions taken or
proposed re appropriate under the circun'rstancesl _@

. e amended return for tax
` d accordingly leaving an overpayment Which was applied 'to"your"`“
gUUQ"iiaBiiity. lHe're` is"no"'lUmb€EH€e"on tax year 2008 due to an applied overpayment from tax

the carrybaci<rcarry forward years (2008, 2009, 2011 and 2012) by
h Service disallowed the ciairns as untimely When you did not respond by

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 138 of 188

8-8-]6
Plaintiff response
“ 3 _ exhibiT TWENTY ONE PAGt
No. l:l6-cV-00206-PEC
ChiefJudge Patricia E. Campb
provided to petitioner With respect to her account for 2006 through 2010. The
supplemental determination on the remand has not yet been received The pending
motions to dismiss this case Were taken under advisement so that an adequate
explanation of the unsatisfactory state of the record could be provided. Petitioner,
however, has persisted in filing with the Court repetitious and meritless motions,
has contacted the Court’s staff ex parte about filing documents and has recently left
at least one inappropriate voicemail message concerning matters in Florida that do
not affect her pending cases. The time has come to resolve this case.

Although respondent’s positions have been inconsistent and untimely,
jurisdictional filing deadlines may not be extended by_ equitable tolling, even Where
a government official or employee has provided erroneous information on Which a
taxpayer has relied. See Brown v. Dir.. Office of Worl<ers’ Comp. Prog;ams. 864
F.2d 120, 124 (l lth Cir. 1989); Pollock v. Commissioner, 132 T.C. at 21-32;
Schoenfeld v. Commissioner, T.C. Memo. 1993-303. Ihy_s_respondent’s motion to
dismiss for lack of jurisdiction on the ground that the petition vvas not timely filed
is meritorious Hovvever, the:_»ab_suence of a deficiency determination for 2004 and
oui'”lia‘cil€l ofjurisdiction"in this"_ins“tance is a"str'aightforward application`of statutory
language and does not involve equitable considerations Upon due consideration
and for oause, it is hereby

ORDERED that respondent’s Motion to Dismiss for Lack of Jurisdiction
filed May 19, 2014, is granted. It is further

ORDERED that respondent’s Motion to Dismiss for Lack of Jurisdiction
filed February 20, 2014, is deemed moot. It is further

ORDERED that the Within case is dismissed for lack of jurisdiction

(Signed) Mary Ann Cohen

Judge \
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ENTERED: N0v122014 §
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Case 1:16--0\/ oo{qee_ae@@@pduppqii,b_ /9/) panédpqméli@;raag@pso oi las
Case: 15 10791 Date Filed 08112l2015 Page: 2 012

Gina Brasher Langley filed a request with the Commissioner of Internal
Revenue for innocent spouse relief under I.R.C. § 6015(f). The Commissioner
denied her request. Langley filed a petition with the Tax Court for review of the
Commissioner’s decision. The Tax Court dismissed her petition This is her
appeal of that dismissal. We review the Tax Court’s legal conclusions § nw and

its factfindings for clear error. See Ocmulgee Fields Inc. v. Comm’ r 6_16”~*_1;9 '1'*

Plaintifl motion

1360, 1364 (i ith Cir. 2010). §§lill?§§ii§§§i»ic
C|iiel`Judge Patricia E_ Campbe||-Smit
On June 23, 2011, the Commissioner mailed Langley a final determination

letter that denied her request for innocent spouse relief. She had 90 days from the

day the letter was mailed to file a petition in the Tax Court for review of the \

Commissioner’ s decision l. R. C. § 6015 e)(l). She did not file a petition for
review until November 9, 2012, over 500 days after the Commissioner mailed the
final determination letter. Her petition for review was untimely\.\ The Tax Court

did not err in dismissing it.

AFFIRMED. Wi'“@"/ f lp § _
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 140 of 188
Supreme Court of the United States

Gina Brasher Langley
(Petitioner)

V. No. 15-6929

Internal Revenue Service
(Respondent)

To m<; debt /77#/¢1.€<£2,£/? Counsel for Respondent:

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NOTICE IS HEREBY GIVEN pursuant to Rule 12.3 that a petition for a writ of
certiorari in the above~entitled case was filed in the Supreme Court of the United States
on November 9, 2015, and placed on the docket November 13, 2015. Pursuant to Rule
15.3, the due date for a brief in opposition is Monday, December 14, 2015. If the due
date is a Saturday, Sunday, or federal legal h_oliday, the brief is due on the next day that is
not a Satllrday, Sunday or federal legal holiday.

Unless the Soh'citor General of the United States represents the
respondent, a Waiver form is enclosed and should be sent to the Clerk only in
the event you do not intend to file a response to the petition

Only counsel of record Wi]l receive notification of the Court's action in
this case. Counsel of record must be a member of the Bar of this Court.

Ms. Gina Brasher Langley
700 Oak Street
Neptune Beach, FL 32266

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NOTE: This notice is for notification purposes only, and neither the original nor a copy should
be filed in the Supreme Court.

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Brookhaven'Appea\s
1040 Waverly Ave.
Stop 906

Ho|tsvi||e, NY 11742

Date: August 29, 2014

GlNA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 32266-3740

Dear l\/ls. Langley:

Person to Contact:
Kimberly A Piro
Employee lD Number: 1000192211
Te|: 304-579-6823
Fax: 855-286-9705
Contact Hours: 6:30 am - 3 pm EST
Refer Reply to:
AP:CO:L|-BRC:KAP
|n Re:
Collection Due Process - Levy
Tax Period(s) Ended:
12/2006 12/2008 12/2009 12/2010

| Was able to obtain the front and back copy of the refund check for $46.66 Which Was

issued on |\/|arch 17, 2006 for tax year 2004.

| have enclosed a copy for your records.

Enclosures: .
Copy of 2004 Refund Check

Sincerg-;'ly\l

\-...__¢.

\\`J
Kimber|y A Piro
Sett|ement Officer

5-6-16

Plaintiffmotion

attachinth B page 24

N01 l:l6-cv-00206-PEC

Chiet`.ludge Patricia E Campbe||-Slnit

8-8-16

Plaintiff response

EXHIBIT TWENTY TWO PAGLr
No 1:1r1»cv_00206-PEC 131 .
Chieflud;ze Patricia E. Campbell

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QK/m/oii one ij C`WQ €’/7@0

 

Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 142 of 188

Case 1:16-cv-00206-PEC Document 24 Filed 09/09/16 Page 143 of 188

itself.” Floricia Stcm.iie 83 7. 01 “whoever in one or more official proceedings willfully
makes two or more material statements under oath which contracdict each other,
commits a felony of the second degree.”

The $408,000.00 loss includes the funds from the 2006 cl< # 28911585 payable to

the appellant by the respondent but never received by the Petitioner.

- The technical provision of26 US Code S 6015 Section 25.15. 3. 4. 4 (03 08-13)

regarding collectlon activity states “the offset of an overpayment against the joint

liability under IRC 6402 constitutes collection activity See Camr)r')ell v Commissioner.
]2] TC 290 i200]3) the Respondent offset the ove1payment of the joint refund not

received by appellant but did not prove so until August 29, 2014 when it proved that cl<

28911585 payable to Gina Langley for 2004 refund was cashed by others

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Treas. Reg. 1. 6015- -5(11_) prohibits levies andjudicial proceedings while an
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innocent spouse claim is pending” initiated a collection proceeding in 2006 in related

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`,»-

_._--“""

case 17267-13 while not verifying that appellant's 2004 tax refund dated March 2006,
was not received by taxpayer until August 29, 2014.

The appellee states in #2 ofhis 2-20~14 motion to dismiss regarding the letter
dated 6-23-11 “Evidence of certified mailing is shown by the postmark date stamped on
the ceitified mailing list, a copy of Which is attached hereto as EXhibit B.”

There is no signature by appellant. The mailing list appears to be that ofthe appellee
and the United States postal service shows no mailing with that number. See H page 28

The appellanthasiequested proofofdeliveryth1oughouttheseproceedings. No -' ?}}?L
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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 144 of 188
H/QJ/ 19 J}/f/I)_

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D k t N . 27396 l2 2 U£Cpc/-

under 60l5(e) for review of stand-alone innocent spouse
determinations (occurred December 20, 2006).

 

STATUS OF STIPULATION OF FACTS: Completed __ ln Process _§“
ISSUES: *
l. Does the Court have jurisdiction to hear this case?
2. Does the refund statute bar any possible relief petitioner

is seeking?

WITNESS (ES) RESPONDENT EXPECTS TO CALL: NOD€ 3_8-16

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EXl'llBlT TWF.N FY fl'{REl`. I. .__

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amy oF PACTS: . ,_ .1102116-1»1;~:(: a‘? l
Late Petition n U Wie,w ¢L) jj ng§yifda@g_ mm .` ,,
On April 15, 2004, petitioner filed a jnint return with JVFLS

Barney"jj`Lan§jéy; Ee§itioner and Mr. Langley self-assessed EYHU‘
taxes in the amount of $42,117.05. A payment of $37,883.90 was Hw,

submitted with the return.
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Two overpayments from tax year 2003 were applied to the
2004 account. The remaining balance of_tax, penalties and
interest were paid by the petitioner and Mr. Langley by February

21, 2006. ,M|,_LM?;H faa 011-77 al an 1@1,3141>%9, pool lab
._ ._ . . .!_ . ;:. . _..__ __ _. _ _ ‘. °_ ' ' ` ' ' :- :j"'_' L?O'B}h(j

        

On May 13, 2011, respondent issued the petitioner a letter
“Proposed Determination (Untimely Claim) - Offer to Suspend
Case.” Petitioner was informed that respondent was proposing to
deny relief under 6015(f) for failure to submit a request for
relief within 2 years of the first collection action by
respondent. Due to litigation involving the 2 year issue (Lantz
v. Commissiog§£?“lSZ'T;CY‘No[ 8 (2009)) petitioner was_given the
option to hold her case in suspension or receive a final
determination letter H`Petitioner`was informed that if she chose
to receive the final determination letter she would.nave 90 days
to petition this Court.

  
  

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LL/M/_ alj _//9/ /?€,{‘/*'1111')6/€111" tl/: 1»1! t¢’€ftl’/§ 3 l ` l f

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 145 of 188 '-

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under 6015(e) for review of stand-alone innocent spouse
determinations (occurred December 20, 2006).

Docket No. 27396-12 - 2 _

STATUS OF STIPULATION OF FACTS: Completed __r ln Process X

ISSUES:

l. Does the Court have jurisdiction to hear this case?

2. Does the refund statute bar any possible relief petitioner
is seeking?

 

WITNESS (ES) RESPONDENT EXPECTS TO CALL: None 3-8-16
' ' I'\SC
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sUlvaRY oF'FAc'I's: NOl._lé_Cv_OOzOé.m»;c 0‘7 q
chief Judge Patricia EE“""D:;'?
Late Petition HU}/WGUQL) jj Wm€//#g&dl) m CC ~.,. <
Qn April 15, 2004, petitioner filed a joint return with ZQLL§ /j‘

Barney:TFlhngl§yf Petitioner and Mr.'fangley'self~ass§§sed ¢$qgl
taxes in the amount of $42,117.85. A payment of $37,883.90 was`
submitted with the return. '

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Two overpayments from tax year 2003 were applied to the
2004 account. The remaining balance of_tax, penalties and

interest were paid by the petitioner and Mr. Langley by February
24, 2006.

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On May l3, 20ll, respondent issued the petitioner a letter
“Proposed Determination (Untimely Claim) - Offer to Suspend
Case.” Petitioner was informed that respondent was proposing to
deny relief under 6015(f) for failure to submit a request for
relief within 2 years of the first collection action by
respondent. Due to litigation involving the 2 year issue (Lantz
v. Commissiongrr”l32“T[Cf”Nof 8 (2009)) petitioner was_given*the
option to hold her case in suspension or receive a final
vdeterminationwletter`:"'P'etitioner'was informed that if she chose
to receive the final determination letter she would have 90 days
to petition this Court.

`,____~_i___n_____“____w`___ 5/19/14 Petitioner*s Stipuc;ation Of
f 31/7396 / 2 _`""‘““~‘~-»-1.__“._._ EXhibit /

/_` . m '1‘.1"-'.\-1-¢}.-_ .1::

_ . 4 » ,- Pag€;) Of § will if€>'.“‘:.»
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form is fnmjgh¢d to give you a statement of actual settlement costs. Amounts paid to and by the settlement agent are shown_

[`[_gm_g.¢"r_narked ‘(p_o,c.)' Were paid outside the c_lqsing; they are shown here for informational purposes and are not included in the totals.
'djustrnents for items Unpaicl By Seller’ are_b§if§ecl~on estimated amounts, and are subject to adjustment by Borrower(s) and Seller(s) When

 

 

 

 

 

 

'. actual amounts become available -_. ~ .

D. Name'-'and A=ddress ofBorrower: § .- r
Alexander R. McNeal § ;[.-! W_ d
60510th Avenue North,.]acksonville BeaCLLFL, 32250 _ l ii ,; ;§f’ : __ § l pq rid ~,

E. Namef and Address ofSeller: ,i ""'r f ~.../ -"` f':_} v ivy 5
_,,Bafrne`y J. Langley and Gina B. Langley /)/_ S§\ § §' ' j '=`_{i " §§ `:,' Gim 9)’0
_ it _‘ <___ :`.!s -1' '_ -| \J tn

F. ' 1 l g h

5 $ - \
Nameand Addressofrender; - - . '“ \.‘_ ,1. § \1_}§ §Lii_.§

G. Property Location:

Neptune Beach, FL 32266 ` January 31 2005
' 3
J. Summary ofBorrOWer’s Transaction K. Sllmmary Of Seller’s Transaction

605 li}th Avenue North, Jacksonvil|e Bcacll, FL 32250 County: Duval Beaches Home Sites Block 3 Lot 6
Settlement Agent Name and Address

Richard T. Morehead, P. A.

444 Third Street

 
   

January 31, 2005

 
  

    

Disbursement Date:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

100. Gross Amount Due From Borrower` y l 400. Gr_uss Amount Due To Seller
lOl. Contract Sales price -- $205,000.00 401. Contract sales price $205,000_00
102. 402.
103. Settlement charges to borrower (li.ne 1400) $i,503.50 403.
104. 404_. _
105. - . 405.
A_djustments for items paid.by_.seller in advance _ _ Adjils`tme`nts_fer item paid by~sellel‘ in advance
106. from `to_ . ` -` ` 406. from _to
107. from in ‘ . _ 407. earn t_o_ -' _
103. from iq _ . ' 408. from 10 - _ _ __ §§ ' .`
` lOSi._~fro`ln to § " _ _ ' z _' 1409. iam to ' '- ._ " /!_1. 'r_ '
110.' ' ' _-. - . 410. `- _"{ \r,\"
lll. 41 I. ` `]
112. 412. l
120. Gross Amount Due From Borrower $206,503-50 420- GFOSS AIHOllIltS Dll€ TO S€ller $205,000.00
200. Amounts Paid By Or In Behalf OfBorroWer 500. Reductions In Amount Due To Seller
2(]1 _Deposit Or earnest money $5,000.00 501. Excess deposit (see instructions)
202 Prinoipa] amount ofnow loan(S) 502. Settlement charges to seller (line 1400) $4,027_13
203. Ex.isting loan(s) taken subject to 503. EXiSfiHB lGEm (s) taken subject to
204 P[jncipa[ an]()unt Of an loan 504. Payoff Of iOElIl tO Wiiil€lm Jel'l'y BI'B.Sh€I` $121,59770
205. Interim Interest (lst loan} from to 505~ PHYOFEOHOHH fO
206. Intel'im Interest (2nd loan) from t0 506- PHYOH` OflOaH 10
201 ' 50?.
ggg_ 508.
209_ 509. .
Adjuslmems for items unpaid by seller Adjustments for items unpaid by seller
210. County Pruperty Taxes from 1/1/2005 to 1/31/2005 $211.20 510. County Propel'l.y Taxes from 1/1/2005 to 1/31/2005 $211.20
211_ from to 511. from to
212. from to 512- from to ' """° `
2_13_ H-Om to 513. nom to
214. Assumption #1 interest from to 514- ASSUmPinH #1 interest 12me tO 8-8-16
§:(53. Assumptiun #2 interest from to §§ Assumpti°“ #2 interest frOm tO §§E§§&e¥;;/ISSTY FOUR pA(
' NO 1:16-cv-00206-PEC l
21'}'. _ 511 Chiefjudg€ Patricia E. Campb€|l
2[3_ 513.
219. 519.
220_ Total Paid By,rFor Bon-ower $5,211.20 520. Total Reduction Amount Due Seller $125,836.08
§L). Cash At Settlement From/To Borrower 600. Cash At Settlement To/From Seller
3()1_ GroSS amount due from borrower gmc 120) $206,503.50 601. Gross amount due to Seller (Iine 420) $205,000_00
302. Less amounts paid byffor borrower (Iine 220) $5,211.20 602. Less reductions in amt. due seller (lin_e 520) l $125,836.08 \
m l es crow media

 

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 147 of 188

ITI Nl-\N cll'»\\ PRINT|NG COMHN\IY

DEPosrr RECEIPT & PURoHAsE AND sALE Aonnpsl`nnm ' '~--\

z _ / _ _ Date <_fd__J/J’A/MH;Z'._Z)_Z/£t§:”- '
Recc_i_pt is n%rcby acknowledged by ._c _;:[£iddz___z__i[£f].!_(%!fi_l/j&é£{:j ______ herewafter"cz;_`iledi_£;:§,§,NT of the sum cg
i-_a_cre::: _______ scm _;“__¢?rrznjui:_zz__ri_¢liaheir __________________

 

____________________________________ hereinafter called BUYER,

which term may be singular or plural and shall include the heirs, successors, personal representatives and assigns of
the Buyer) as a deposit and as a part of the purchase price on account of offer to purchase the property of ____________

_________________________ ______________________________________________________________________ hereinafter called SELLER,
(which term may be singular or plural ruid shall include the heirs, successors, personal representatives and assigns of

the Seller) said property being in ___.'.HK.’.!..‘Z§§_/_` _________ County, Florida, and described as follows:

fi53545M/5 %/:Z/a ref 74 JW J/@.¢ f

§ 44 5 /j>Z/) /4//€“/,'/;/5/' /Vgi/tj%
@c?/($o'/i/(// //p ¢',4;./,`/ i 3 3 250

The SELLER hereby agrees to sell said property to the BUYER and the BUYER hereby agrees to purchase said
property from the SETJLER upon the following terms and conditions (if completed or marked):

l. The total PURCHASE PRICE to be paid by the BU'YER is payable as follows: _ _

{If the following items, (c). [d) and (e) tire to he adjusted at closing, the agreed adjustments may be indicated by
writing "not less than,” "nct more thnn" r “appro):imately” before the amounts of thc items.)

 

 

(a) Earnest money deposit; receipt of Which is hereinabove and hereby acknowledged ______________ $ _';/Fz`“@ 52

(b) Additional payment _____________ __ ___ _____ _.. $

(c) Additional payment due at closing (not including costs of Buyer) _____________________________ $ 200/0023 ,00

(d) Proceeds of new note and mortgage to be executed by the BUYER to any lender other than the ”§ §A,
SELLER _______________ _ _ _______________________ $

(e) Ex'isting mortgage balance encumbering the property to be assumed by the BUYER ____________ $

 

::::;:;;: ___________ """"""" i\

secured by a valid purchase money mortgagel in a form acceptable to. SELLER, on said property
executed and delivered by the BUYER to the SELLER dated the date of closing, bearing interest

at the rate of ______ % per annum and payable $ __________________ per
TOTAL PURCHASE PRICE:

(f) b"i{iaii%}` 'ci{i§_"t£` 'i'h“é*§i`s‘i;`,f.§i=`t" ie”`i§é'é§;ié§?i}§&"i§§_ `a` '{i"é§§iia"i§i§'§r_£r'rfi§§§;§"i§§i§ '6§ ‘t'i§e ' §UYE" "i€t_. RL§T

 

2. _It is understood that the said property will be conveyed by WARRANTY DEED subject to currcn`t"taxcs,- existing f
zoning ordiiicnccs, covenants restri€tions, and easements of rcccrd. `~-
f rW-a
S amp

3. The nurse win pa §
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».____ _r,_.,-
..-..._,,,.......-v'-

( VF' Recorcllng Fces on Notc ( ) Intangible Tax on Mortgage ( ) __________________ Attorney's Fee

( ) Mortgagee’s Initlal Service Fee ( ) Mortgagee’s Transt`er Charge ( ) Appraisal Fee ( ) Prepaid Insurarice and
Taxes ( ) credit Report < ) opinion or Tiu_e (X) Pi-ieics- _l£@_ __ ;_eé_aMtSMIDE>_CDE?I__-___

( ) Mortgage insurance premium (X) __'_7_//_`_7:7_`_'5)~___’_"_;:/_\_/__§__-'___)_SUUIMMT_MMM]§“-- ei~
4. The SELLER will pay fort - z 1

t i/)/Stamps on Deed ( ) Surtax ( ) Title Insurance ( ) Survey ( ) Real Estate Sales Fee (Mlbstrac fTitle

( ) FHA or VA Discount ( ) FHA or VA mortgage costs except prepaid items ( ) ----------------- Attorney'$ F€€

) AppraiSal FEE (\/)/Satisfactlon of Mortgage (M)“Tcr ite Report

(
( ) -------------------------

   

 

 

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PropertyLOcation; case 1:1o-cv-oozoo-P1:c, Document 24 Fn

313 & 314 Third Street, Atlantic Beach, FL 32233 Cc|)'L{l_gJiye-I'E*uval

_-a_______________

 

I.

Settlement Agcnt Namo and Addross

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Richard T. Morehead, P. A. l. Settlement Date:
444 Third Street September 2, 2004
Neptune Beach, FL 32266 Disbursement Date:
. Summary of Borrower’s Trsnsaction K- Sll"““=\l'y of Seller,$ Tra"sacfin September 2’ 2004
00. Gross Amount Due From Borrower 400- Gross Amount Due TO Senm_ n
Ol. Contract Sales He- $639,5{)0.00 401. Coutra¢;t sales price
02. 402- $639,500.00
03. Settlement charges to borrower (linc 1400] $4.524-64 403v
104_ 404.
105. 405.
Ad‘usltnents for items paid by seller in advance Ad~ .
106. from wl 406. rom§'lsmmMaiM H__
107. from to 407. from 10
108. nom to 408. from 10
109. from to 409. from to
llO. 410.
ill. 411.
iiZ. 412.
120. Gross Amount Due From Borrower $644,924-64 420- Gross Amounts Due To gene
200. Amounts Paid By Or In Beh`alf OfBorrower 500. Reduqtions In Amount Due r _ $639,5[]0.00
201 .Deposit or eamest money 501. Excesg de msu See insmlctio To Sellcr
202. Principa] amount of new ioan(s) $50,000.00 502. Settle…
203. Existing ioan(s) taken subject to 503. ° g me

 

204.

Principal amount of 2nd loan

504.

Exisiin 1 - 1400 $27 694 00
0 . \ '
Payoff§ an §s} taken snblocr to

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

205. interim Interest (1st inan) from 9/1/200410 9/2/2004 $2.26 505. rayorr:;};:: §§ ;:;1§;:;§…3 1 1.25
206. Interim Interest (2nd loan) from to 506. Payof`f Of loan to $2()5,213_06
207. 507.
208. 508.
209. 509.
Adjustments for items unpaid by seller Adjustments for itc l -
210. County Propcrty Taxes from 1/1/2004 to 9/2/2004 $3,802.40 510. CounL pro er Taxes from lms unpaid by seller
211. Rent prc-ration from 9/2/2004 to 9/30/2004 $1,058.68 511. itemth
212. ii“om to 512. from tw
213. from to 513. from to `
214. Assumption #l interest ij‘om to 514. Assum non #l interest from le __
§§ Assumption #2 lnterest from to § l;. AM"MT!__
. _ . ` _ `|
§l;. Security Depos1t Transfer $l,DS0.00 §§ Securlt@§§p_qsit nansz , nlra $1‘050-00
219. 519. D‘\ /
\)'

220. Total Paid ByfFor Borrower $55.913.34 520. Total Reduction Amount nn _\\
300. Cash At settlement me/Tp Borrower 600. Cash At Settlement Tomrm ‘~` Se"er $320,629.39
301. Gross amount due from borrower {lino 120) 3644,024.64 601. Gross amount due to Sener (l_h Scllol-
302. Less amounts paid byffor borrower (|ino 220) $55,913.34 602. Less reductions in amt due S:H? 4:|@ $639,5[]0.00

' er '“C 520) $320,629.39

303. Cash |§]From i__] To Borrower

THIS IS IMPORTANT TAX INFORMATION AND lS BEING FURNISIIED '['0
ARE REQUIRED TO I*`ILE A RETU'RN, A NEGLIGENCE PENAL'I'Y OR ()'[-I_I

$588,1 11.30 603

 

' Cash E{i T0 i__|From Sel

ler

 

$318,870.61

me IN rEuNAL REVENUE SERWCE. w wm

THIS l'rEM Is REQUIRED '1‘0 BE REPORTED AND THE ms 1)E1'ERM1NESE“ SAN(""'"ON WlLL ne mroseo oN wm w

 

re dy: A\llomnll:d Rcll Es|a|l.' S¢ rvl:es, [lur. -{8[|0'_|339'\195

   

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O __JDOJ_Y_ tip 1

THAT I'I' HAS NOT sees REPORTED.

[-'|tc: UJ¥.|$JSMS

Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 149 of 188

_ '. 1 ¢ d
FOOTNOTES 34“13‘”*3 513

Asset and Liability Footnotes

 

l * Markct Valuc

2 * Husband' 5 non- -marital proceeds from Sale of 3l4- 316 Brd Street g
property;ymnnmna1 1___ _H q sp

3 *Joint account as of 10- 26- 04

__ 'Mw_for 2004 aid. Howevcr, there will be a 2005 debt to
duAmount Uni<nown"_""`nl :iS timc.

 

      
   

..I>

*Dcforred payment until Jan. 2005
*unknown monthly payment

*unknown.monthly paymnct

LX)\lO`\U`|

*Son'S Automobilc

Income and Expense Footnotes

 

l * 700 Oak Street
*700 Oak Street
*700 Oak Street
*Husband'$ and Son'S

*Husband'$ and Son'S

O\LI\>D»LA)N

*Son'S Jccp - JoSh is obligated to pay $6,000 of this loan liability -
Husband and Wifc arc responsible for the remainder of the loan

7 *Parties have Sold rental property Which has not been calculated for
capital gains or tax purposes at this timc.

8 *Husband'$ and Son'S

2112/1C 1 1 1 1111
But/1145 511 jicyt 1‘11.1111‘3“ C/33M (7

:>JZ')
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31(¢ Q&‘,t|{ {'3§£ CLJCiOi/'g` 5\ QU§

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Pagel

` e 150 of 188 _ w _
Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Pag O/) UGKH/XL]$/

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uNrFonM REsmENHAL APPHAlsAL HEPORT 1111 31§"1;"531 R?§°d

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Gommants on Sa$es Cemparlson

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See: attached addenda

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Page __of_`ofthe mother‘s
. Motl'on 3/16/07

`3"-' Re: cage 1006-3851

Rel l6-2004-DR-9042-FMXX

§ AUB.Cll[OEI]E___@ pgg 2 Of § 3 _ Emonlne

- .- 1 e ore!sa -
55 Analys|s ol any. oumanl agreement al sale, oppon. or llcllop ol eub]ocl prope.ny and m`y: s ol any p'lor eales ol subleol and oomperebles wllnln ooo year ol the dale 01 appmlsal;
he eub'oc| m-ari has nol lrensz‘srmd!auld h the -oet 12 months ec:o'dm Lcl the Coun:- Public Rocorr.'e' nw lwe ii been |lscad lhr -, the

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ellme|ed 1111 e R. n o Gross

'.; lNDlCATED VALUE BY SALES COMPA.HlSGN APPROACH
:" lNDlCJ.l’EB VALUE Bf INCBME APFRGACH a Aoliubie' , 1111 ll.1 _
j Thlc apprelsalla made L`°i 'ae le' l eeo}acrloihs rapalro. el".e.':l?oos, |nspectlocs croocd"eoce llslod below sublectlu completion perp"\*re
':f‘ Gondlueos elApprzlsal: Thro reo. adheres to the stale of lo ide'e USF'AP S!andards - de-an...ree' rlrr':l.o--cend:ms a»-i end ore allechecl. \G/J
`:': EVvae'l alan va.'ua 00 =do s on merkel.
Flnclecooclllern; Tho Se.'oe Comer!eon A-reach is conslde=ed the maez ramon rcd-calm 01 va!ue fur .'l del-cte e- ar end ee.‘.1erraee1.‘em 11 le
'j -!'~'El fullwe‘h: |n thl'n casel. ha GoetA-ronc:h ls nol a-rad-Jct!nn ccsl u\..l re 'aco~nool coil l'mn= roanea! dam ar Ma'eha|! and Swm.
a- lncome -raach nat consrdorada -lrcablel lhle maer erie al lies l.~‘a. _
§ m purpose el lhre appraisal ls de estimate he mad<el value of he m'preemy ctr is m zJea-:: cf ms reperL based on h‘\e lowe :e.'ee:r's and lhe centl.eailoe. conocoeol w
§ eeo limiting eeedllJeo:, and ma*nl value deepth lha[ an stand ln o'~e albehee F'e:e'e viz Fe-n 439.‘1.".11\ iam 13043 {¢lersee E- 'a"' . _
§ l{WE}EsrlMA.'E nismazerl.u.Lus,.AsoeFlh'Ee.o,= me am Fe-:veon'm°.s monroe we espeo' 13 cF oe.fzmeoq . jl/)
3 MHlCH FS T'H UATE UF .'HEPEC`|“|'OHMG I'HE EFFE’.`l’l‘¢'E DAFE ClF TH?S P.EFOR.". 'C 55 3 300 000 ‘
m APPHA.'SEH. Ka=_a Hea d"RZ DOOOdDd.-‘Sla!a-Ca fed Go".o's` nova se 5.=.-‘.=1 SS""\' AFF'HA€SEN 10".'¢.1= REG'¢ =E~'."

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10 2 CU!JPMLE NO.J
The above ln post 12 months
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0 sale .'ee 1 _-_J‘_S`~‘ :` 3"'! "”=EL'L_ . s la
__,....1..11-........ 1M..l.-_i._.__l . '|l-ic we p} PAGE 2 313 Fa~m blas Form 1601 8-9]

9 ' 0 q 'M; d"\ rN‘f .‘1:"11 LAZ-'Wl’l"O’AL’epp'aca 10111~1’::11.:.~‘0111 co - ‘-LJ-’.‘-.é....-\_l.*;&£ *l CO m
v, QQHCMR §§ §\Cl`i ab 0 Of}
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/. ’ Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 151 __,\§_p%§§_§___
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3 ,:}_Q,»'___£ f¢§§f !G»"_ ; § _;.‘»__Fi.~»_u - -, _= ~
4 iii ~ wis a :_-| "'.€Er;' §;Ff"?di wl' _ a L'
5 J!x jn/f;x!fw‘z 2 l fl -_F’_=’»T __ _____ ___H_ __ .:__;O;_____@_ ____ ___; s
6 |i="\\f;_UM-¥ 5»_12!‘.22?/ ig§, _ g'_.:_‘_:)_éf_{_é__!_`_ _ 6
7 -i"'-J J'_i ‘ _ §'?’;fj, f § i_Q!i§?V:$-§ / _ `/
8 .::>\1»9»¢' r § § 2 '?-.'¢a i_ / :255:" 7 : 5
9 ‘#' ib\. ..“.bl"\"s{_“ \_ 45wa . l ‘¢_»_/_";"__; _: ‘§Q!_¢{`g(}_g;'_’\ G_‘_ 9
10 __ ¢"»’LL. z ma..'-_u'.o.-_»- § ‘ “'f"/___ . 1,_ ____________2~_5&13§22:1 W __ ___ - j'1C
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12 -»@ \__§_\c,pm_e __04:;,021-;):: "~w%"s\u._, _ ;f~_?&'_ ____.;:');_<1_§3_;),.¢3 _ _§h
13 .C;'K' Qa*_.»» -1'»8 _"-`-- '.:15
_. § _. .. . \ _r L'/.X\g_fl~$'_ _ _
14 ', '&*_Z: __ 1 :<_/‘: 31€§@ 12 §§
15 l 'Q.‘ Q .' _ __ ____@_.s_c_~.f?:_,;__.-' __ _ ."f
16 ‘ § ! ' l : ' ' 1"' `,"' me
l ¢l‘?_. t < fow:'§ __
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20 ! ¢“»~”¢ _ __ ___._.____ gang-22 _ __ _ -:2f
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33 *` _- _ - _'1_3:
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40 .§ l i _ 14a
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OU|LL COHPOFIAT|ON-GENEFIA|_ OFF|CES, L|NCOLNSH|HE, |L 60069-3521 NO 7-45104 PFI|NTED |N USA

`~L v;r

`am1120$

Department 01 the Treasury
internal Revenue Service

Case 1:16-cv-OO206-PEC Document 24 Filed 09/09/16 Page 152 01 188

Form 2553 to elect to be an S corporation.
> See separate instructions.

U.S. lncome Tax Return for an S Corporation

> Do not file this form unless the corporation has timely filed

 

OMB No. 1545-0130

1®95

 

For calendar year 1995, or tax year beginning

, 1995, and ending

,19

 

A Date of election as an
S corporation

JQA¢:‘/J: /f§
B Business code no. (see
Specific instructions) P'

/7//

Name

H/)r)~zo£.(m/m + /om/a/

Use
|FlS

Il@r //)1~/ am H~ri/)¢v/)l¢r/;¢

C Employer identification number

55 :;/Soo Sz/

 

label.
other_ Number, street, and room or sdite/ho. (lf a P.O. box, see page 9 of the instructions) D Date incorporated
wise
1 20 Eo< reese 351/f /¢, pass

 

ZlP code

o 30%6

City or town, state, a

)él`lL/@m]d

print or

type-

 

 

$

 

E Total assets (see Specitic instructions)

5@545 495

 

F Checl< applicable boxes: (1) E initial return

2):l Final return

3) [l Change in address

4) [:l Amended return

G Check this box ift this S corporation is subject to the consolidated audit procedures 01 sections 6241 through 6245 (see instructions beiore checking this oo)<) .
H Enter number of shareholders in the corporation at end of the tax year

> []

>

 

Caution: lnclude only trade or business income and expenses on lines 1a through 21, See the instructions for more information

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1a Gross receipts or sales L,§ZQA_S£S_U b Less returns and allowancesMOMC/_l_l c Bal > 10 QO§/ §r@g 59
cu 2 cost or goode sold (sohedule A, line e) 2 3'7, 264 5'..?
§ 3 Gross profit. Subtract line 2 from line 1c _ _ . . 3 /é 7 303 07
g 4 Net gain (loss) from Form 4797, Part ll, line 20 (attach Form 4797) 4 "
_ 5 Other income (loss) (attach schedu/e) 5 ' ~_'
6 Total income (|oss). Combine lines 3 through 5 > 6 /¢ 7302 537
§ 7 Compensation of officers. 7 Q)O 0 7? g
§ 8 Salarles and wages (less employment credits) 3 9/ 73 570
§ 9 Ftepairs and maintenance 9 _
§ 10 ead debts 10 '
§ 11 Rents . 11 "
§ 12 Taxes and licenses 12 6 5/!5 5/-'2
§ 13 interest . . . . . . . 13 -
§ 14a Depreciation (if required, attach Form 4562) . . 14a "" 1\
§ b Depreciation claimed on Schedule A and elsewhere on return _ 14b _
‘;, c Subtract line 14b from line 14a . 146 _
§ 15 Depletion (Do not deduct oil and gas depletion.) 15 "_'
§ 16 Advertising . 16 *
g 17 Pension, profit- sharing, etc., plans 17 §§32 53
§ 18 Employee benefit programs . 13 ‘//7? 512
§ 19 Other deductions (attach scheduie) . . . . 19 53 O_é» 6 6/
3 20 Total deductions. Add the amounts shown in the far right column for lines 7 through 19 . > 20 /Z/AJ /?/ §
D 21 Ordinary lncome( (loss) from trade or business activities. Subtract line 20 from line 6 _ 21 97 //d §/
22 Tax: a Excess net passive income tax (attach schedu/e). , 223 §
b rex from schedule D (Form ll2os) 22b
2 c Add lines 22a and 22b (see page 13 of the instructions for additional taxesl 22C __
g 23 Payments: a 1995 estimated tax payments and amount applied from 1994 return 233 %
§ b Tax deposited with Form 7004_ . 2311 "
§ c Credit for Federal tax paid on fuels (attach Form 4136) . 230 n ®
~cc: d Add lines 23a through 230 23d _rn\\ "
m 24 Estimated tax penalty. Check if Form 2220 is attached >l:l 24 f 1 `
§ 25 Tax due. lt the total of lines 220 and 24 ls larger than line 23d enter amount owed. See page w
'- 3 of the instructions for depositary method of payment . . . > 25
26 Overpayment. lf line 23d is larger than the total of lines 22c and 24 enter amount overpaid > 25
27 Enter amount of line 26 you Want: Credited to 1996 estimated tax > | neiunded > 27
Under penalties of perjury, | declare that l have examined this return including accompanying schedules and statements and to the best of my knowledge
P|ease and belief, it is true. correct, and complete. Declaration of preparer (other than taxpayer) is based on all information 01 which preparer has any knowledge
Sign
Here > ,
Signature of officer Date Tit|e
Paid ;|;§;LZ;S > Date Check if Se|f_ l:| Preparer's social security number
, employed > :
Pl'epa|'el" S Firm’s'fnarr|lfe(or l d > E|N > i_
Use only ;::lrsadd::eeemp Oye ) zll= code >

 

 

 

For Paperwork Reduction Act Notice, see page 1 of separate instructions.

Cat. NO. 11510H

Form 1120$ (1995)

 

;Form1040(1997) 5 / _/ /Cy/}p/!¢¢/ §§ »,,~‘:U» §,°:2_5`:~.$

 

 

Tax 7 33 Amount fro line 32 {adf¢ltiste’c'll gross income) . . . . _. . . . . .
Compu_ 343 check if: l:l You`were 65 or older, |:l ellnci; |:l spouse was 65 or elder, l:l elind.
tation Add the number of boxes checked above and enter the total here . . . . > 343 .

 

  
 

b lf you are married filing separately and your spouse itemizes deductions or
you were a dual-status alier'll see page 118 and check here . . . . . . > 34b m

_ _ lterrllzed deductions from Schedule A, line 28. O_R
35 'E"tef Standard_ deduction shown below to`r your filing statusl But see

the page 18 it you checked any box on line 34a or 34b or someone L
§r§°r can claim you as a dependent -

youri ° Sing|e`}_$4,‘l50 l l\/larried filing jointly or Qualifying widow(er)_$G,QOO
y 0 Head of household-_$S.USO I Married filing separately.-$S,ABO
|f you Want 36 Subtract line 35 from line 33 . . . . .

the lRS tO 37 lf line 33 ls 590,909 or |ess. multiply $2,650 by the total number of exemptions claimed on

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

qur:eyeour line `Sd. lt line 33 is over $90.900, see the worksheet on page 19 for the amount to enter . 37 5530
page 13_ 38 Taxable lncome. Subtract line 37 from line 36. If line 37 is more than line 36, enter -0- _ 38 ~ 4 . ” 72
39 Tax. See page 19. Check il.any tax from a l:l Form[s} 8314 b l:l Form 4972 . . > .39 Z,Q
Credits 40 Credit for child and dependent care expenses. Attach Form 2441 40 4/£ 0 00
41 Credit tor, the elderly or the disabled. Attach Schedule Ft . . 41 »
42 Adepilon credit Arleen Form ease .' . . . . . . . . 42 - _ 1-
43 Fer'elgn tax ereaii. Arleen Form 111_6 . . . . . . . 43 _. 1
_44 olner. cheek lrrrorn a [:l Form saco _ 5 E Form eeoc § ’ -
c l:l Forrn 3801 ! d'|:l l='o`rrn v(s,pe'eliy) 44
45 Adaiinee4olarough44 . .,. . . . . . . . . . . . . . . . . . 45 ~‘/36 co .
46 Sublract line 45 from line 39. li line 45 is more man line ae. enter -0- . . . . . , h 46 ¢,;), 55 §/ 1255 l
Other 47 Self»employment tax. Attach Schedule SE . . . . . . . -. . . . . . . . 47
Taxeis 48 A|ternatl\le mlnlrnum tax. Attach Form 6251 _. . . . . . . . . . 43

 

49 Soclal security and Medicare tax on tlp'ir'lccme no't repdlte'd to employer. Attaoh Form 413? -. 49
50 Tax on qualified retirement plans (inc|uding |RAs) and MSAs. Atta)ch Form 5329 if required 50

 

 

 

 

 

 

 

 

51 Advance earned income credit payments from Form(s) W-2 . . . . . . . . . . 51
`52 Household employment taxes Attach Schedule H . . . . . . . . . . . 52
53v Add lines 46 through 52. This is your total iex. . . . .- . . . .` . . . . > 53 652 0 0 z/ '7;§
54 Federal income tax Withheld from Forms W-2 and 1099 . . 54 91 8 3 '? 05
Payments- v , , ` . ' ar
55 1997 estimated tax payments land amount applled from 1996 return . 55 / /

56a Eame`d income credit. Altach Schedule ElC if you have a qualifying
child b Non_taxab|e earned income: amount >

 

 

 

 

 

 

 

 

 

 

 

   
    

 

Attach ' and type ">, '_ _________________________________________________ 563
FOrmS W-2. 57 Amount paid with Form 4868 (request for extension) . . . 57 ;U, QO/ , §
¥\é_§gc-_'l'qagg 58 Excess social security and FlFlTA tax Withheld (see page 27) 58 l
the front. 59 Other payments. Check if from a El Form 2439 b l:l Form 4136 l 59

60 Add lines .54, 55, 56a, 57, 58, and 59. These are your total payments . . . . . > 60 § g § 60 »'@O
Refund 6'1 lf line 60 is more than line 53, subtract line 53 from line 60. This is the amount you OVEHPA|D . 61 ' $/95 30
Have it 62a Amount of line 61 you Want REFUNDED T0 YOU. . . . . . . . . . . . * 623 ___
g:§gts|il;ed! > b' Routing number > c Type: l:l Checking l:l Savings
S a 27
agg?i||igne§gb, > d Account number l l l l l l l l l l l l l l l l l l

 

620- and 624 se Amount or line 61 ronwin APPqu m voun 1993 Estllrilmzl) nix > | ss | "5/95' l30
Amount 64 '|f line 53 is more than line 90, subtract line 60 from line 53. This is the AMOUNT YOU OWE.

You owe 4 For details on howto pay, see p*age27. . . . . . 4 . . . . . . . . > ./Bf v l _ _i-_‘.'-
65 Estimated tax penalty. A|so include on line 64 . . . , , | 55 | | R\\\\\\\\`<\\\\\\`\\"\\`\\\\\

Under penalties cl perjury, l declare that l have examined this return and accompanying schedules and statements, and to the best of my knowledge and

 

  

       
  

 

 

 

 

 

 

 

Sign belief, they are tnle, correct. and complete. Dec tiorl of preparer (other than taxpayer) is based on all information of which preparer has any knowledge

Here Your slgjatyr % F____/ n Date Your occupation

§nil:,;i;ii ..-/ e//a~/,er oe¢ei.,/i/m/

for your p se‘s signaturel if joing.l€tur OTH must sign. Date Spouse's o cupatign

records _ ()rutru\ §§ tt v ¢//-5‘/9{ fpsz 70,(', /2/`

Paid Preparer,$ U` 0 U Date Ch k _f Preparer's social security no.
signature lie l | d |:] l l

Pre arer’s Se emp °ye

p Firm's name (or yours EIN

Use On|y il self-employed and

address ZlP code

 

 

 

Case 1:16-cv-00206-PEC Document 24 i=iieci 09/09/1?5 _F`>§ge 154 of 138

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

--~1'1"20$ U.S. lncome Tax Return for an S Corporation one No. 1545_0130
Form - > Do not file this form unless the corporation has timely filed
Form 2553 to elect to be an S corporation. i|©ga
Department of the Treasury . .
internal Revenue Service > See separate instructions.
For calendar year 1998, or tax year beginning , 1998l and ending , 19
A Effective date of_e|ection Use Name // C Employer identification number
as a" 8 °…" l§§e,_ /t?$ L, /WF/u/AMML amf/wfwa .7/;¢'- 63 €¢;J/£Aoé>z/
/ Other_ Numberl street, and room or suite no. (lf a P.O box, see page 10 of the instructions) D Date incorporated l
a NEw bus.code no. WiSei _,4, 0, 525 gé §§ 6 ALL/05
(see pages 26`28) please Clty or town. state, and ZlP ode E Total assets (see page 10)
print or
fagg/w apa ,¢?/%_M/a , w w $ /93503 137
F Checl< applicable boxes: (1) i:i initial return (2) g Fina| return (3) i:i Change in address (4) i:i Amended return
G Enter number of shareholders in the corporation at end of the tax year . . . . . . . . . . . . . . . . . . > /
Caution: include only trade or business income and expenses on lines 1a through 21, See the instructions for more information
1a Gross receipts or sales i_/LMLZO_| b Less returns and allowancesL /l/D/VF l | c Bal > 10 /, 2 5% "//‘,V .3£’/"
'O 2 Cost of goods sold (Schedule A, line 8) . . . . . . . . . . . . . . . . 2 3/0» Qg/ W
§ 3 Gross profit. Subtract line 2 from line 1C . . . . . . . , 3 /, Oy_z 4/¢?2 §/é
g 4 Net gain (loss) from Form 4797. Part ll, line 18 (attach Form 4797) 4 ___
_ 5 Other income (loss) (attach scheduie) . ' . . . . . . . . . . . . . . . . . 5 ' "
6 Total income (|oss). Combine lines 3 through 5 . . . . . . . . . . . . . . > 6 /, 09/3, é/f;> %
3 7 Compensation of officers. . . . . . 7 Jz_/_ZZQ
§ 8 Salaries and wages (less employment credits) . 3 /7 )_£Zi>££
’§ 9 Repairs and maintenance. . . . . . . . . . . . . . . . . . . . . 9 423 52
§waacidebis................,..........10 *'
§11Rents.............................11 "’
§ 12 Taxes and llcenses. . . . . . . . . . . . . . . . . . . . . . . . , 12 /9- 735/ 77
'¢§1.'3lnterest........................,..,13 _Q.Z
§ 14a Depreclatlon (if required, attach Form 4562) . . . . . . . . 143 _
§ b Depreciation claimed on Schedule A and elsewhere on return . _ 14b -
; c Subtract line 14b from line 14a . . . . . . . . . . . . . . . . . . . . . 143 _'
§ 15 Depletion (Do not deduct oil and gas depletion.) _ . . . . . . . . . . . . . 15 "'
316Advenising_..........................16 "
§ 17 Pension, profit-sharing, etc.. plans _ . . . . . . . . . . . . . . . . . . , 17 _
§ 18 Employee benefit programs . . . . . . . . . . . . . t . . . . . . . 13 37 195/y 9/
33 19 Other deductions (attach schedu/e) gf`£'. HZVHF/G’WJW//Z/) . . . . . . . 19 535» 5°5?;/_&
§ 20 Total deductions. Add the amounts shown in the far right column for lines 7 through 19 . > 20 S¢?% 0 5 75
8
21 Ordinary income (|oss) from trade or business activities Subtract line 20 from line 6 . . , , 21 _%
22 Tax: a E)<cess net passive income tax (attach schedu/e). . . . 22a
b Tax from Schedule D (Form 11208) . . . . . . . . . . 22b
2 c Add lines 22a and 22b (see page 14 of the instructions for additional taxes,l . . . . . . 229 ____
5 23 Payments: a 1998 estimated tax payments and amount applied from 1997 return 233
§ b Tax deposited with Form 7004 . . . . . . . . . . . . 2313
§ c Credit for Federal tax paid on fuels (attach Form 4136) . . . . 230
-o dAcidiineszaaihroughzsc _ . . . . . . . . . . . , . . . . . . . . . 23d 'l\
§ 24 Estimated tax penalty. Check if Form 2220 is attached . . . . . . . . . . . > [:i 24 l W_
§ 25 Tax due. lt the total Of lines 220 and 24 is larger than line 23d, enter amount owed. See page k l
|_ 4 ot the instructions for depository method of payment . . . . . . . . . . . . > 25 J"l'i
26 Overpayment. lf line 23d is larger than the total of lines 220 and 24, enter amount overpaid b 26 miy\
27 Enter amount of line 26 you want: Credited to 1999 estimated tax > 1 neiunded p 27 \~ \ "

Under penalties of perjury, l declare that l have examined this retum. including accompanying schedules and statements, and to the best of niy knowledge
please and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign 712
Here } b /~'.§/.0€,4/7'

Signature of officer Date Tltle 2
Paid §reparer,$ > Date Check if Se"_ Preparer's social security number
gnature em:)loyed >
Preparer’$ Firm's_name(or E|N ,
Use only ;::r:ieifd::|s;employed) , ziP code >

 

 

 

For Paperwork Reduction Act Notice, see the separate instructions. Cat. No. 11510H Form 11208 (1998)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

age 1:16 -00206 . D m ni 24 l=ileol 09/09/16 Pagli§;§¥% or las
Form1040 (1999) @/-n€,y and _-7//;§ _ /;}/q@/Q;/ ,,_Qéyj .-,;)/d/l’ 735 . Page _2
Tax and -34 Amoun from line 33 (adjusted gross income) . ",/. / . . . ., . . . 34 /OI?"'/Gé ZZ
Credits ~35a Check itc l:l You Were 65 or older, E| Blind; l:l Spouse Was 65 or older, l:l Blind.
Add the number of boxes checked above and enter the total here _ _ > 35a
_ b li you are married liling separately and your spouse itemizes deductions or
[';andard l you were a dual-status alien, see page 30 and check here . * 35b l:l
Deduction 36 [:'ritel' your itemized deductions from Schedule A, line 28, OR standard deduction
i»°;olli‘;$* _ §§i"`§,?i ‘?l'§§r§§l?§; §§§,ii`ii°§§§§§.i;°§;"ndel§$ §‘SU"§§'§ §§§§§§§Sr"_”°`_' °“.e°’ied.a“y 36 445 s/z/7 m
Single: 37 Subtract line 36 from line 34 . . . . . . . . . . . . . . . . 37 461 959 § 7
::::(;f 38 -|f line'34 is $94,975 or less, multiply $2,750 by the total number of exemptions claimed on '
household line 6d. lf line 34 is over $94,975, see the Worksheet on page 31 for the amount to enter . 33 /3¢ 755 00
$6.350 39 Taxabl.e income. Subtract line 38 from line 37. if line 38 is more than line 37, enter -0- 39 531 910 ? M
l'|\C/)|ierl]rtr|id;eccl)ri‘i|ing 40 Tax (see page 31). Check if any tax is from a E Form(s) 8814 b [l Form 4972 . , > 40 C/. 307 00
Qualifying 41 Credit for child and dependent care expenses Attach Form 2441 41 €"[o 6) /0
g§‘|l§gg@rl¢ 42 credit for ine elderly or the disabled Attaon schedule a, 42
Mamed 43 Ohlld tax credit (see page 33) ` ' 43
filing 44 Education credits Attach Form 8863 44
Sepa“ate'“ 45 Adoprion Creditl Atioon Form 8839 . . 45
$3,600 ~
»_F ' 46 Foreign tax credit. Attach Form 1116 if required . . 46
47 Other. Checl< if from a l:l Form 3800 b l:] Form 8396
c |:l Form 8_80`| d m Form (specify) 47 _ ' y
'48 'Ad_d lines 41 through 47. These are your ltotal credits . . . . . 43 56@ /0
49 Subtract line 48 from line 40. lt line 48 is more than line 40, enter -0- _ ` . , > 49 €"74/0 430
other 50 Self-emp|oyment tax. Attach Schedule SE . 50
Taxes 51 Aiternative minimum tax. Attach Form 6251 . . . . . . . . . , 51
52 Social security and l\/ledicare tax on tip income not reported to employer. Attach Form 4137 52
53 Tax on lFiAs, other retirement'p|ans, and |\/lSAs. Attach Form 5329 if required 53
54 Advance earned income credit payments from Form(s) W-2 . 54
55 Household employment taxes. Attach Schedule H_ . . 55
56 Add lines 49 through 55, hile is your-total tax, . . . . . . . > 55 917§/3 90
Pavmel'lt$ ~57 Federal income tax Withheld‘fr/om'Forms W-2 and 1099 . 57 92 ?//1 OO '- -j- .
58 1999 estimated tax payments and amount applied from 1998 return , 58 _ 6 761 0 ?3`-" _
593 Earned income credit. Attach Sch. ElC if you have a qualifying child
b Nontaxable earned incomes amount . > ‘
and type > .................................................. 593
60 Additionel child tex credit Attoon Form 8812 . . 60
61 Amount paid With request `for extension to file (see page 48) 61
62 Excess social security and HRTA tax Withhe|d (see page 48) 62
` 63 Other payments. Check if from a l:l Form 2439 b l:l Form 4136 63
64 Add lines 57, 58, 59a, and 60 through 63. These are your total payments _ > 64 /5: Q?é' af)_
Refund 65 if line 64 le more then line 56, eobiiaot line 56 from line 64. Tnie is the amount you ovERPAlD 65 '7.’ 3 55 ¢/,;L
Have it esa Amount of line 65 you Wont l=lEFuNDED To You. _ > 563 é, 055 §/A
gg§§:§edl > b acutan number l l l l l > c Tiiile: E CheCl<irlQ l:l Savillgs l \ k
§§giii,g:ggm .. d AM… l l l l l l l l l l l l l till
66c, and 66d. 67 Amount of line 65 you Want APPL!ED TD YOUR 2000 ESTllVlATED TAX > | 67 l /_,;{ 0 0 log far
Amount 68 lf line 56 is more than line 64, subtract line 64 from line 56. This is the AMOUNT YOU OWE.
You OWe For details on hovl/ to pay, see page 49 . . . . . . . . -, . . > 68 "
69 Estimated tax penalty. A|so include On line 68 _ | 69 | - |
Sign gn|defr t;:1ena|tiest of perlury, l declare that l have examined this return and accompanying schedules and statements and t_O the best of my knowledge and
e le . ey are rue, correct, and completel Declaratlon of preparer (other than taxpayer) ls based on all information of which preparer has any knowledge
H.ere Your signature Date Your occupation Daytime telephone
§c;leraitpraegt:rn; c / _ / number (optional)
Keep a Copy- y _ _ _ _ /’- ei/ 00 op faa ar tf?a/i ,9§/€- 746
for your Spouse s signature lt a joint retum. BOTl-l must sign Date § use s occupation
records. ` Q’§/' 00 /j' (;€OX/A'T/@W
Paid §rge:§|;;$ > Date Check if Preparer's SSN or PT|N
Preparer,$ l self-employed m
l:irrri s name (or yours ElN
Use Onlv :c?der]\;:smployed)and > ZlP code
l=orm 1040 (1999)

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Case 1:16-cv-00206-PEC Document 24 Filed 09/09/16 Page 156 of 188

 

E Department of the Treasury-_lnterna| Revenue Service z©o 3
§ 1 040 U.S. lndivldua' lncome Tax Return | {99:| lRS Use Ozniy~l}o not write or staple in this si;iqci;\_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For the year Jan. 1-Dec. 31, 2003, or other tax year beginning ,,2003 ending ". OMB No.1545 tii;i?ii
Label Your l tit name and initial ___ Sl name \ : Your s°°'a' secumy number
isee _ § Jm€f-'/' f /?/)n/c-?z/ i)é() :d"/: !73.>
"'\SUUC“O?;) g if a i return, spouse s first name and initial l a 't rla l Spouse' s social security number
on page . E .-
use the le '~ 777 § / 0/7@/:4" '35/: ;77"/'2- /)/) '76;
labe'_ l H Home address (number and street}. |[ you have a P. O. hoii,k_sdfi page 19. Apt. no. A |mportant! ‘
§ '7/)/) max /-/' Y t
please pnm E City. wn or post offico. stat 'ind ZlP code if you have a foreign address see page 19. ou mus enter
or type. A 14 4 your SSN(s) above.
presidential 13 iri/filing (`)@C j / _?Bc;’\( j __ '
_ _ mé _ n ,, , You Spouse
Electlon Campalgn N . Checking Yes Wlll not change your tax or reduce your refund. __
[See page 19.} Do you. or your spouse if filing a joint retum. want $3 to go to this fund? . _ , > \:iYes ®No i:iYes @No
_ _ 1 |:| Sing|e 4 |:] Head of household (With qualifying person). (See page 20.) lf
Flill`lg Statl.l$ 2 § Married iiiing jointly (even if only one had income) the qualifying person is a child but not your dependent enter
Check only 3 Married filing separately. Enter spouse's SSN above this Ch"d'$ name here > _____________
one box. and full name here > Si:i Qua|iiying widow{er) with dependent child. (See page 20.)
_ 6a m Yourse|f. if your parent (or someone else) can claim you as a dependent on his or her tax N: °kf :°Xes 1
EXempthnS return, do not check box 6a . . . . . . . . . . . . . . . gaeacn:s;" 92
b cl;&$p€iuse . , . . . . . . . . . . . . . . . . . , . -v; . - . No. of children
' , {3} Uepl:i'ldciil’s {4] ii qualifying on 6c who:
Dependems Soci(:|) s[;:§:i?d;r:l:]ber relationship to child for chiid ial t lived with you
[1_}__i-“_ rst name Last name y t mg mail im p_ag:» m , did nol live with
' 515;:?: f 9{. jdl/q §'(:1,-7 M` you due i¢:i divorce
_ or separa on
|f more than nve F}¢]/¢?'o'/-' / /)Jj¢;('/ 5‘7£§§? EyW,/¢ f/”_¢'/f'/§)é"/_ E” (see page 21)
dependents d (, ‘ __
see page 21. /-Q 454#' /¥J/ //)/1[2/@// § 55- )9:5 } ‘?I/é /'~/(l/£:/€/<’/ 13 Dependents on 6c
,_/ L// ,/ E| not entered above __
. Add numbers
t m on lines 5
d Total number of exemptions claimed . . . . above >
7 Wages salaries, tips, etc. Attach Form(s) W- 2 C'.'..JOJL:> bb H(°[`/;}"< i'n¢¢'b//!(t'é) 7 //:55”7 _‘_<_¢Q
lncome 8a Taxable interest. Attach Schedule B if required 33 3622 ic/.Q-

 

    

Ana¢h b Tax- -exempt interest. Do not include on line 8a
Forrns W-2 and 9a Ordinary dividends. Attach Schedule B if required

w'zG here' b Qua|ified dividends (see page 23)

z

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Also attach
Form($) 1099_R 10 Taxable refunds, credits or offsets of state and local income taxes (see page 23)_ , 10
if tax WHS 11 Alimony received . . . . . . . . . . . . . 1_1
withheld' 12 Business income or (loss). Attach Schedule C or C- EZ . . . 12 _
13a Capita| gain or (|oss). Attach Schedule D if required. |f not required, check here > |:l 13a k 4 ' _§3_[,,_’
b |f box on 13a is checked, enter post- May 5 capital gain distributions L_JW
|fyou did not 14 Other gains or (losses). Attach Form 4797 . _ . . . . . . . . . . . 14
g§; a ;N'z'Zz 15a lRA distributions _ , 153 b Taxable amount (see page 25] 15b
p ge ' 16a Pensions and annuities 153 b Taxable amount (see page 25) 1617 .
Enclose, but do 17 Renta| real estate, royalties. partnerships 5 corporations. trusts, etc. Attach Schedule E 17 < //35§[) ‘/O;'
not attach any 18 Farm income or (|oss). Attach Schedule F . . . . . . . . . . . . . . 18
payment` A|So' 19 Unem lo merit rn ensati ii 19
please use p y co p o . . . . . . . . . . . . . . . . .
Form 1040-V. 20a Social security benefits . Lzo_a|___i_| b Taxable amount (see page 27) 2013
21 Other income. List type and amount (see page 27) ................................... 21
22 Add the amounts in the far right column for lines 7 through 21 . This is your total income > 22 / //) W¢') (3_
_ 23 Educator expenses (see page 29) . . . . . . . 23
Ad.|usted 24 lRA deduction (See page 29) . . . . . . . . . 24
Gross 25 Student loan interest deduction (see page 31) . . . , 25
lncome 26 Tuition and fees deduction (see page 32) . . . . . 26 9/
27 Moving expenses Attach Form 3903 . . . . 27 f i
28 one- hair of self-employment tax Anach schedule sE . 28 ' (){’/
29 Se|f- employed health insurance deduction (see page 33) 29 357 ? 30 \. \"\ 4
30 self-employed sEP, siileLE, and qualified plans . . 30 9
31 Penalty on early withdrawal of savings . . . .` . . 31
aaa Alimon aid lined rents ssii > 3 5 323
33 Add ii:eps 23 ihroug: 323 . . . . . . . . . 33 515 /3 56
34 Subtract line 33 from line 22 This is your adjusted g_oss income , . . . . > 34 /('iqf§§"`/ 333

 

 

 

For Disc|osure, Privacy Act, and Papenivork Reduction Act Notice, see page 77. Cat. No. 113208 Form 1040 (2003)

9/16 Page 157__-01°'18`8 `

 
 

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j Da\/Tl'rne phone number
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Joint return? _
See page 17.
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` 09/09/16 Page 158 ofl

Case 1:16-cV-00206-PEC Document 24 Filed ` d ?O`D
ali '>- }~7 ~oo)c, /@g/@)(

lN THE CIRCUTI` COURT IN THE FOURTH JUDIC[A_L CIRCUIT
I`N AND FOR DU`VAL CO UNTY, FLORIDA

CASE NO: 2009-CA-001429
DIV`ISION: CV-H

NATroNAL BANK; mscovER BANK; @o/)v 419 a w ed

sUZANNE woRRALL GREEN, P.A. mays u,,_,~¢yo,-/eo/ § ` '

sUZANNE w..cREEN, P.A.- and UNKNOWN w mla/yazoo ,j» y/¢)/aba/) y
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§§ 7£17% /m// z add (?£¢U~Q“; MCra
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>< <B` , (,,3')1'0 34 <?V,
u.r§ Gl'NA B. LANGLEY S A.FFIDAVIT OF COSI_S_ / 9 gy F/q_
STATE oF FLoRiDA `
COUNTY OF DUVAL
*`bEFORE ME, the undersigned authority, personally appeared Gina B. Langley,
who duly swom, deposes and says:
. |] l. Thal Gina B. Langley has expended the Following sums as costs in this
L cause : '
Down payment 4/| 5/05 §38,§8§.0§ (D
Interest payments per 1099’34/05~10-08 50,94§.00 >
03‘% -/ 2 Repairs 4-05 thru 10-03 5,000.00
' h-Am cg ah principal payments 5/05-10-08 IQ,_B_U0.00"@
pt (/\/ Homeowner’s insurance 4/05-|/09 8,0` 0.00
3~| 3 »|

 
 

Duval county Property Taxes 4/05-11/08 9,000.00 _
6.5 hours lawn maintenance/ mth w |mlq‘g(’ 08

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- 29 3 months ar 522.50/ hour d
30 ,'.'{~' z/o€r,'J/o§‘and 4/09 7 w 7 433.75.-
/.og. - Homeowner°§ insuranéé 4/6/09 397.08

   
  

Closing costs 4/! 5/09 8,494.99 (C)C_A A)

  

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` Pa e 159 of 188
Case 1'16-cv-00206-PEC Document 24_ Filed 09/09/16 _! g

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October 22. 2003

 

Ms. Gina Langley
l*l lB Pinewood Road
lnci<eenvllle Bench, Fl, 32250

Re: Oceanside Eanle Loom

Dear Ms. Langley:

With regard to the captioned matter and pursuant to our recent oonversat§ons, please he advised ot
the following

‘i’eu recently sent us a fast inquiring as to whether or not your eit-hueband. Bamey Ir¢]ngle}*. was
indeed a elgrior on your Mortgegl:. You may recall that you were still married when your lo§m was closed
end since this stib}ot:t property was to be your primary residencel our legal counsel advised us to include
Mr. Langley in the execution of the Mortgage only, i-le is not on obligor under the terms ol` the Note and
the debt that it represean. His execution ol` the Mortgage is construed ne his consent to the lien it

Includecl en our'i\dorlgage and we asked that they reflect that on their preliminary title cnmmitmem. The
title company’s decision to include blm on_ tt e ng§y Deed "l`o; homestead purposes only" was their

_ decision sod-net dictated b Deeonaieie Benk‘s ina c ozls_.,Fu:thermore. our ago counsel tells us that it
was unnecessary ' - """`"-""""""---""`_'"“"_"""----~
A-_"°'-'--=-»`__,...__~=

,, ihope that this is ofassistance to you. Please feel i`?ee to contact me should you eed anything
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5,/5|\/0? 11 n b Sincerely. § qu'%~ W
f?.§£l}.{£)rll'- @!'l‘€, é:$éz‘o.<fj:£@~},é_ §.f‘.;!.] gin-ll 02 UM ,.»

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viz/712 /j'y’ %£ I’laintiffmotion

attachment C15

Case 1:16-cv-00206-PEC §o_cliird'eh/ii£'zi@@lehi©Q/@Mi F@Uéi€&@@ 01138
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1911»'€‘»¢ COWZ:/ <'"“ o »l/ co dillon hook

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"'/_ _, mud ¢1 611/631 owe 11 got/cu ceil_;©/
HSS¢ liabilities then, thc amount he owes her for the assets, $707. 00 is reduced by the additional

) ... z
debt payment hc' is making of 3417 59 Therefore he should pay her $289. 4\ iin'thin:l"hrqc;r}(f;i?tcw?_Jr

days from the date of this Final JudgmenL a.°\l.‘d §

 
   
   
 

a 9. "' " ' $-211-1»*

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Page/g szg?

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Cltief]udge Patricia E. Campbe.

 

 

 

 
   
  

  
    
   

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Case 1:16-cv-00206-PEC Document 24 Filed 09/09/16 Page 161 of 188
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ills-eagle lay wl _ a l l v ,,,e f /
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Plaintiff motion
attachment D page 18 o|`()S
' ' , , r' ; . - NO\ lo-cv-oozo()-PEC
marital home, the parties shall haw the home appraised Baeh ofthe parties Shall have Chle|»l]udge Palricia E Campbell_$mm

to purchase the other parties' equity in the marital horne. The Court finds that there is no marital debt

_____ M_______--_"___'*__---_-_.-»_-_________
to the Wife' s father in the amount of $25, 000. OO, however there is a mortgage to the Wife' s father

n ___ _____.,..,»..» .__,__. , ,.,.__.._,_...,,..._~.»_..__-m--

on the marital horne. ln the event neither part
,____"_ H_ _-,__~ -"-""'"“"-.._...

 

 

y purchases the other party' s equity, the marital home
shall be Sold and after payment of reasonable and necessary elosing costs the parties shall divide

equally any remaining proceeds

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r'*-»` '

 

 

 

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3 it 5-6-16
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Marltal home $:.-¢‘[’)’OIQUO'U U’.’ in ********* '_'----v §§i;l~l]éu§;e(ll)azmcja E Campbell-Sm‘:
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f L_,_, f 1$17,000. 00} ,.»_§
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Case 1:16-cV-00206-PEC QO >-u£n_¥ent/_ZA,

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__ As distributed abovc. the difference in the value ofthe assets to the Wife and to the Husbnnd

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ll'tl)l|zln,s side lie 15 pa}_*ing $417. 59 more than she is ln order to evenly equitably clistiibii5te tlieir

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Document 24 Filed O9/O9/16 Page 163 0f51488__/_7___ ' 4 ' __-_-___
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GlNA B. LANGLEY., W'if@, iii
land

BARNEY JosnP.t-I 1291 NGLEY, 111131>31111\ ' ”

  
 

 

  

FI.NAL JUDGMENT OF DISSOL_UT l OF i\*f.¢\lf\’j`{iAGE

 

 

.Y`**-:\/
'5"_5ll1is cause _came ____be'tore the C mt _on April 4_, 2006 lo__r ___tir_i_z:_tl_ heaimv _c_)_n_ __t___he__ _W_i_fe' s Petition
_ .r.a»§»¢ .‘ W “4'“ 4‘“" 555‘55 55555`5555 `va

 

 

and the Husband' s Counter~Petition for vDissolution of Marriage. Based upon the testimony and

evidence presented, the Coult makes the following findings oft"aot‘: c !A AJ
and sepa c ed

The alties Were married on Au<)ust 17, 1985 in Jonesboro, Georoia
23 a a

01"\ .52.§’5"5
f/ivl August 2004.

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B. The Court has jurisdiction ofthe parties and the subject matter ofthis action

  
 
 

 

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D. The Hus‘oand is employed by Sauen _lnc, and earns $'./`,2:,000.00 gross income annual ly.

The Wit`e is under employed however, she has a College degree in accounting and has the potential
to enln some \\ he1e between 335 0(5)0.00 and 555_0'1'_`.\0.00 gross income annuall~\,~‘. E'-."idunt:.';‘ \\-'as
ai'c:se1ttc‘tl as to the u'\’e:til:tbilil_\.= olj`_lohs and salaries in the.lt1cl<st')11\"illr-'_4 1111:41~12:111;1 the Wii`e ruzpczn's to

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`ChlefJudge-Patrlcia E. Campbell-Smi

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5/19/121 Petitioner's stip§én§n of Fact
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case 1:@#@92&6§(§£0_1@0¢§@@24 \W%Ypegza:j@g@eaptg$ .@ Cir

8-8-16

v v Plaintiffresponsc ` `

‘ EXHIBIT 27 linen N]€ 'v.
' NO lil6-CV-OOZO6-PEC

ChiefJudge Patricia E. Camp!

IN THE CIRCUrT COURT, FouRTH
JUDICIAL CIRCUIT, IN AND son coPY
DUVAL COUNTY, FLoRlDA

CASE NO: l6-2004-DR-[)09042~FMXX~MA
DIVISION: FM-E

GlNA B.`,LANGLEY, Petitioner 5}»#04 lea Buet, ~ On@.’s own
mid adam Voltuj_iouy

 

BAluvnYJosEPHLANGLn\/,R- d c w FO
cspon en lp D f _H\c é} ,_'Lm/L
MrL

ORDER REFERRING CASE TO ¢A Y MEDIATION UNIT hirich MCL{`
~» l him rata/1 w wm
The Court sua sponte ?inds that this case should be referred to the Family Mediation Unit t`or \},L¢_ '

mediation of all pending disputed i_ssues, including, but not limited to, custody, support, visitation, UAL
alimony, and property division.

ACCORDINGLY, it is ORDERED that:

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{l) REFERB§L. This ease is hereby referred to the Famiiy l.\'lediation Unit t`or mediation,
ofall pending disputed issues Tlic Fauiily Mediation Unit shall schedule a mediation conference for
the purpose ot` assisting the parties__and their counsel, if any, in resolving such issues

 

`(2)_ MANDATORY A'[`TF.NDANCE. li`he parties and their attorneys, if`any, shall attend
in person all conferences scheduled by the Fami|y Mediatiori Unit, and shall mediate in good faith.
Il` a party is represented No party or attorney shall participate by telephone unless prior authorization
is received through the Family Mcdiation Unit. - 7 \ k s ¢- tr » t

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(3) MANDATO'RY FINA_NCIAL AFI"IDAVITS. _"‘Eaeh party shall bring to the first
mediation con ference, if`n.ot previously tiled, a completed, notarized financial affidavit which satisfies
the requirements of the l."loricla Famiiy l.aw Rules of Procedure regarding such affidavits

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(4) MANDA'M`DRY PAYMENT OF MEDIATION COSTS. Unless it is otherwise
ordered. each party Si‘ial| be responsible for payment of one-half ol` all mediation costs assessed by
the Family Mediatio'n Unit. The costs shall be paid in advance of or at the commencement of
mediation A party`ss failure to timely pay such assessed costs may result in the issuance of`an Order
to Show Catlse why that party should not be adjudged in indirect civil contempt of court or indirect
criminal contempt ol`court.

Any party who files a Clerk’s certificate ofindigence or a Court order determining indigence
in compliance With section 57.081, Floricla Statute, shall not he assessed mediation costs.

(5) EA|LURE TO ATTIEND MEDIA'I`ION. in the event that one patty fails to attend a
scheduled mediation confcrcncc, the party who fails to attend shall be responsible for payment for the
entire cost o'f`the scssion, and the party who appeared shall not be responsible for payment of any ot`
the cost ofthe scssion. ln the event that both parties fail to appear, each party shall be responsible
for payment ot`one-halt`ot`tlic cost ofthe session Failure ofone party or both parties to appear may
result in the imposition by the Court ofappropriate sanctions which may includc, but are not limited

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630-2230) in Room 103 or the Lavv Library (
' 330 East Bay Street, Jacl<sonvil|e, Florida 32202.

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luvoices or statements from your daycare or bcforc/
showing payment to the child care provider.

 

Bring copies ol'statcments, bills or invoiccs, ii`you
debts incurred.

Bring a copy ol` the cost ol` health insurance

insurancc, medical and dental only. For example,

an individual plan is $60 per month and a fami
`s $180 per month, then your cost Would be 360 l"or you and §Bi'ZO for family - the child +

uni|y members covered by the policy. (
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EXhibit
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5/19/14 Petitioner's Stiplu-Iation of Fact

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Fo,m 8857 Request for innocent Spouse Re|ief§ Ul;£:'i’(§/

OMB No. 1545~1596

 

 

    
 
 
 

(Elev. June 2007)
D=pmmanl ul ms Tmlwry £J L,Il gun
internal travenol service t‘B‘J| > Do not file wlth your tax return. > See separate instruollons. j §
. ' ` f
important things you should know xi
0 Answer all the questions on this form that apply, attach any necessary documentation. and sign on age 4. Do not delay

nllng this form because of missing documentation See instructions

c By law, the lFtS must contact the person who was your spouse for the years you want relief. There are no exceptionsl
even for victims o_l spousal abuse or domestic violence. Your personal information (such as your current name. address,
and employer) will be protected However, if you petition the Tax Court, your personal information may be released. See
instructions for details.

0 lt you need help, see How To Gel He/p in the lnstructions.

 

 

m Should you file this torm? You must complete this',part for each tax year.

 

 

Tax Year1 Tax Vear 2 Tax her 3'

 

1 Enter each tax year you want relief. lt is important to enter the correct year. For examp|e,
ll the lRS used your 2006 income tax refund to pay a 2004 tax amount you jointly owed,
enter tax year 2004 not tax year 2006 . . . 1 200([
Caution. The lFiS generally cannot collect the amount you owe until your request for each
year la resolved. However, the time the lRS has to collect is extended See Collection
Statute of lettations on page 3 of the lnstructlons.

2 Check the box for each year you would like a refund if you qualify for relief. You may M/ _ 'l
be required to provide proof of payment. See instructions . . . . . . . I> 2

 

 

' 3 Dld the lRS use your share of the joint refund to pay any of the following past- d-ue
debts of your spouse: federal tax, state income tax, child support spousal support,
or federal non-tax debt such _as a student loan? -

 

 

 

() 0 lf “¥es. " stop here: do not file this form for that tax year. lnstead, lile Form 8379. See
f' ` - instructions. . /
1 lt"No,"gotollne4 . . . . . . . . . . . . . 3 m M/[:] m l:l [:|
4 Did you file a joint return for the tax year listed on line 1? § /
0 lt "Yes," skip line 5 and go to line 6. '
olt"No," goto|ineS . . . .. . .... ....4 M/E m m m ij

5 lf you did not- flle a joint return for that tax year. were you a resident of Arlzonal
Califomla. idahol t.oul_slanal Nevada, New Mexlco, Texas, Washington, or Wlsconsin?
0 lf “Yes. " see Community Properiy Laws on page 2 of the instructions _
0 lf “No" on both lines 4 and 5 stop here. Do not file this form for that tax year . . 5 m m [:| ' m f:] m

'|l you want relial for more than 3 yaars. li|| out
an additional lorm.

 

 

 

 

 

 

 

 

 

m Tell us about yourself

 

 

 

 

 

6 Your agent name (see l tructlons} Ynur social securltv number
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Your cu/rren|. home ad ss(number and atr . ya P O. box, see instructions Apt. no. Co\j\ty
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stern/z //# n%r=» F_/ 3}¢95'5 iqbe 1307 5735

 

m Tell us about you and your spouse for the tax years you want relief

 

7 Who was your spouse for the tax years you want relief? File a separate Form 8857 for tax years involving different spouses or
former spouses.

 

 

 

 

 

That p/ n' s current nam Social security number {il Ir.r»
/O'/‘/i‘€é/ £Z/K?//A/ .
Current home address [r’ll.Trnb reviewed til known}. lt a P_ O. box. see instructions _ Apt. no.
City low or post liice. sta d Z|F‘% code ll at sign address see 'nstructions. ` n Elesl daytime phon\
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For Privacy Act md Paperwork Reductiort_ Act Notice, see lnstructions. Cai No _2¢16-17\/ `7,/([/ Form 8'

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Docket No 27396-12 /3/
EXhibit B y 3

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Docket No. 27396-12 W"

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Case 1:16-cV-00206-PEC Document 24

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Filed 09/09/16 Page 171 Of 188

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In reply refer to: 0297803535

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Form: '8857

-Tax;Year(s): 2004 /é:? Cjezj /é)

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. Contact Person: Mrs. Bonno é"'§ /7 A/
Employee Identification Number: 1758659 -“~“”*““*F"““`*~J

` Contact Telephone Number: 1-866-897-4270' ”

1 ?- -FAX Number: sss-669-5256

Dear Taxpayer:

We received Form 8857,

Sei§ration“o?“tiabilitv“and Equitable Relief).

basic eligibility requirements because:

uur records show no amount is currently
any payments for tax year(s) '

2004. Az ' C%L#¢‘
`IF you HA s ANY ouEsTIoNs:
- See Publication 971; Innocent Spouse

Liability and Equitabie Relief), for
www.irs.gov or call 1-800-TAXFORM to

Request for Innocent Spnuse Relief (And

You do not meet the

owed and you did not make

Relief
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ordewsa copy.

(And Separation of
Visit

~ Call the contact person shown on this letter between 7:30 a.m.

and 3:50 p.m.(ET), or

-_ Write to us at the address shown on this letter.

Please include a

copy of this letter and ydbr best daytime phone number with the

hours we can reach you.

Best daytime phone number ( )

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Best time to call during the day:

 

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Case 1:16-cV-00206-PEC Document 24 Filed 09/09/16 Page 172 of 188

 

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Gina l,angley ` ' n ' ' `

1418 Pinewood Rd.
Jaci<sonville Beach, Fl. 32250 -

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Augusts,vow ZJ A/m fffy

Re: 0297803535

2004 Innocent spouse relief.

l\/Irs. Bono,

1 received your letter dated June 16, 2009. (attached exhibit one)
The statement that “you did not make any tax payments for 2004” is incorrectl

l. Notice number _CPll (attached exhibit two a and b) shows $3i;883,90 was
paid._

2. Exhibit 3 Cl< 1371 Shows $2,225.66 was paid
3. Exhibit 4 cl< 5007 shows $1114.00 was paid

4. exhibit 5 shows Various payments totaling $894.29 were paid
§ 543 il 73’..56
The total amount paid for 2004 equals $4%2,*i'l"7?85 per The lrs statement CPi 1 dated
_5/30{0§_.Your statement that no amount due by Gina Langley i`or 2004 is correct.

l filed thejoint 2004 tax return after t`iling t`or divorce but prior to the final Order ofthe
dissolution of marriage rendered in June 2006. '_l`hat final order States “she has not
contributed to the financial obligations ofthe marital debts.” Ex»hibit 6. The final Grder
is in appeal due to the conflicting statement re: the IRS paymentsl , ~

l am claiming in the request for innocent spouse relief that the Court did not recognize
the above payments as_payments for marital debt. Barney Langley former spouse
continues to claim in court documents l have paid no marital debt. Theret`orc the above
payments should be applied to my tax liability as l overpaid l`or Bamey I..angiey’s */=
share of the 2004 Joint Federal lncome tax due. l should be reimbursed his '/z share, that
the Court states I did not pay, totaling $21,058.93 and will claim a refund on the 2005~

2008 personal Federal income tax return l am filing prior to filing for bankruptcy due to t `\{
this and other errors admitted but not corrected the Fourth Judicial Circuit ilorida,lJUO in

violation ot`the rules oFFederal procedure 12.280. Sec exhibit ?.

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"C/C: Barney langley
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5 Stipuiation of Fact

EXhibit
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5/19/1~4 Petitioner'
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Case 1:16-cv-OO206;1=_2

 

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fbi THE CIRCUIT COURT IN THE FOURTH JUDICIA_L CIRCUIT
iN AND FOR DUVAL C'O UN'I'Y. FLORIDA

EC Document 24 Filed 09/09/16 F?_age 173 of 188 1

 

CASE NO: 2009-CA-001429
DIVISION: CV-H

OCEANSID}E BANK,
Plantif'f,

Vs.

GINA BRASHER LANGELY nflda GlNA B.
LANGLEY; BARNEY JLA.NCLEY,' TARGET
NATIONA.L_ HANK; DfSC'OVER BANK;
SULANNE WORRALL GREEN, P.A. a!d!b!a
SUZANNE W. GREEN, P.A.; and UNK'NOWN
TIENANT IN POSESSION, AND TO ALL O'I`HERS
`WHO MAY BE CONCERNED

 

GlNA B. LANGLEY'S EMERGENCY M{]T`ION TO POSTPONE SALE 01" laid

PINEWOOD RD. JAX BEACH FL. 3225=1]
---------..._._._____,_________________

Defendant, Gina 13. Langley pursuant to Rule 1.510 ofthe Fiorida Rules ofCival
Procedure and Fl Statute(s) most respectfully request the sale of1418 Pincwood Rd. lax
Beach Fl. 32250 be postponed until Orders on existing motions in related cases 2004-Dr-

90<12, 2009~5€-2291, 2007-CA-9010 and the conflict in the lRS payments per complaints

,. ',‘e.-:

filed on 6/29/09 against JD Todd and Warr_en Parher_are rendered as noted intl/te due

Sponte order rendered 4/2;{19,
.. _....,,-,Lu,»r_um*--Bl\»a».~.--:M;»_\. ..,_

The rendition date ofthe Order ofSummaiy Judgmeni in foreclosure leaves the
_----___,

tier"endent in a procedural Quandary in regard to paragraph 7 of the Sumrnary Judgment
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and the notice ofsale rendered on that same day .‘\."icGurn ‘:'_S_co_t_t_ 5__§96_ _s_o‘_Z_i__"_I,,,l`f_l-li_,"j._~rl1345

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Gina i?, langley
1418 Plnwnod Rd
lacksonviilc Beach` Fi 32250

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IN THE CIRCUIT COURT IN THE FOURTH JUDICIAL CIRCUIT
IN AND FOR DUVAL COUNTY, FLOR]DA

COMPLAINT OF ATTORNEY MISUSE OF ESCROW FUNDS BY FORl\/[ER
ATTORNEY E. WARREN PARKER

 

l, Gina Langley, defendant in case 2009-CA-14~29, which notice ot` related case 2004-
DR-9042 petition for the dissolution oi` marriage was filed at mediation on 5-21-09.

ln the requirements ol` compliance per the Courts Order rendered 5-9-09 Form 385_}' was
tiled with the Intema| Revenue Service `i`or monies paid by Gina I.angely’s then attomey,
Ch'i`p P`arl<e`r with Parlt'er & Duf`resne` P.A. totaling $38,99?.90 paid in 2005 for the tax
year 2004. Sec copy ot`al|eged checl<'s'5007 and 5003 dated 4/15£0_§.__

On June 19, 2009 l received the lR_S__respon_se #02_9_7|80'35_3Suwl_ti_ei]_ states :_‘Qur records
§ho'w you did"`ndt` make eng payri"_l_ents l"or tax year 200§ " " '“W'"

Parl<er and Dut`resne. PA was also paid over $2_0,000.00 in fees to respond to Suzanne
ce
which final order states on page 14 paragraph 8 “nonethelesst she has not contributed
to any ofthe financial obligations oi` the marital debts during the course of` the litigation.”

Suzanne Green in her letter to Chip Parker dated 6-8-05 acknowledges that $79,16.3.92
were the funds received from the sale of investment property in .lan 2005 that went into
escrow

Wherei`ore, l Gina Langley. most respectfully request in accordance with the Federal

Rules oi`cival procedure 12.280. this complaint against Parker & DuFresne, P.A.S’l'?? San

lose Blvd, Suite 301, .lacl<sonvil|e, Fl. 3221? be served l"or the amount ot`the tax payment

l`l_ftqaht should have_b_ecn applied to~_hGina Langley's federal income tax 1`or 20041ot§1mg“
diligqu_Q@jd`r_ei`rnb'u`rseiiient ot`$20,000.00 in attt`)`t‘ne'y fees for his misrepresentation

and misuse oi` escrowed funds and filing a motion with the Court in Nov 05 when he was Dylw,...
notified that he no longer represented me in the Notice (if/Appearance filed on 10-10-05. , i

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[N THE CIRCUIT COURT IN THE FOURTH JUDICIAL CIRCUIT
IN AND FOR DUVAL COUNTY. FLORI]DA

 

COMPLAINT OF ATTGRNEY lVlISUSE OF ESCROW FUNDS BY FORl\/[ER
ATTORNEY JOHN DAVID 'l[`ODD'

 

l. Gina Langley, defendant in case 2009-CA~1429, which notice ot`related case 2004-
DR-9042 petition t`or the dissolution of marriage was filed at mediation on 5-21-09.

ln the requirements ot` compliance per the Courts Order rendered 5~9-09 form 8857 was
liled with the llnter_nal_:Revenue Service for monies paid by Gina Langely’s then attorney3
john 'ljavi'd Tocld tot`aling{$2,225.66 paid in 2005 I"g?r__the tax year 2004. _§e§go_py of
alleged checks 5007 and 5008 dated 4/15/05. l "

l On .lune 19, 2009 l received the IRS response #0297803535 which states “Our records

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.lD Tp_dd was also paid over 33000.00 in l`ees by Gina‘Langley to respond to Suz.anne
Green _`
_ and which final order states on page 14 paragraph 8 “nonetheless, she has not contributed
() to any ofthe financial obligations ot`the marital debts during the course ofthe litigation."

Suzanne Green in her letter to Chip Parker dated 6-8-05 acknowledges that $79,163.92
were the funds received from the sale of investment property in Jan 2005 that went into
escrow

Wheret`ore, l Gina Langley, most respectfully request in accordance with the Federal
Rules'olcival procedure l2`.280_ this complaint against john David Todd Esquire. 681?
southpoint Parl\'way‘ Suite l501, .lacksonvi||e, liorida 3221() on this_22 day ot`.|une 2009
and i'ec_i_ues_t_h_proot`ot` payment to the lnternal Revenue Service and arel`und `oi` attorney ' '
l`ees paid. ` A“M ’

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EXhibit

 

 

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there are three ways to request an automatic extension of time ` E_f,'/e Using Your personal Computer
to file a U.S. individual income tax return, 1 Or Through a Tax professional
1_ You can file Form 4868 electronically by accessan lRS
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professional who uses e-i’ile. tila electronicallyl Be sure to novo a copy oi your 2008 tax

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for taxpayer verification il you wish to make a payment, you can
pay by electronic funds withdrawal or sand your check or

, , U f-' F 4 ‘ money orde_r to the address shown in the middlel column under
3' w 0 earl l e a paper mm 668 L"i'hsre To File a Papsr Form 4868. See page 4.

3, You can pay all or part of your estimate of income tax due
using a credit or debit card.

The first two options are discussed under lFlS e-fi'/e, next.
Filing a paper Form 4868 is discussed later on this page.

Pay by Credit or Debit Card

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lt’s Conveni'ent,

 

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4568 electronically ‘i'ou Wil| receive an electronic
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Case 1'16-cV-00206-PEC Document 24 Filed 09/09/16 Page 177 of 188

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_ 2 _
[*2] determination. The supplemental notice acknowledged that there are no

outstanding balances for 2008 and 2010 but sustained the proposed levy to collect

unpaid balances for 2006 ($121.48 as of the date of the original proposal for levy)

 

and 2009 ($3, 374. 96 as of the date of the original proposal for levy) The issues n

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for determination are Whether underlying liabilities are properly 1n issue or 3 g"'¢ J

Whether the determination to sustain the proposed levy Was an abuse of discretion.
All section references are to the Internal Revenue Code in effect at all relevant

times.

Background

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All of the facts in this case are discerned from the underlying administrative

record and the records of this Court. The parties did not execute a Stipulation, apd

there Was no testimony When the case Was called for trial. Because the positions
of the parties and the relevant facts are fully disclosed in the administrative record
and the parties’ filings, there is no reason to reopen the record for additional
evidence
Petitioner’s Claimed Ovemayments

Petitioner Was a resident of Florida at the time she filed her petition. She
Was previously married to Barney Langley and filed a joint F ederal income tax

return With him for 2004. Thereafter she and Barney Langley Were divorced as a

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GlNA LANGLEY
7 OAK ST. 11 57

 

 

PayoffC@lasl§ltbil€-cv-OOZO€-PEC Document 24 Filed 09/09/16 Page 181 of 188 page 1 Ofl

PAYOFF CALCULATOR

Name:

G|NA B LANGLEY SSN: XXX-XX-XXXX

Ca|culation Resu|t Based on |NTST

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:16-cV-00206-PEC D 5792~\'\?24//%}€(1 09/09/16 Page 182 of 188
gertz Cf memo 515/5 g~//
_ 3 _
[*3] result of proceedings in the Florida courts. The returns that petitioner filed
for 2006 through 20l0 Were not joint returns.

Petitioner contends that she does not owe taxes for the years in issue and
that she is entitled to a refund of over $40,000 for 2004 that was.c§it§'§ppropriated_,_
by Barney Langley and/or others in Florida. She has claimed mistreatment by
Florida attorneys and the Florida courts in relation to the domestic relations
proceedings

Petitioner filed an action in this Court, docket No. 27396-12, seeking relief
under section 60l5 for years 2004 through 2010. That case Was ultimately
dis-mis-se-IdHfor-lack of jurisdiction because there Was no deficiency for.`2¥004 and
because petitioner ha'd`not filed j oirit'returns for the later years.

On April il 5, 2014, petitioner submitted to the lnternal Revenue Service
(IRS) amended returns for years including 20l0 and a carrybacldcarryforward
claim for 2010; those documents asserted a theft loss exceeding $400,000.
Petitioner understood-that she filed the amended 2010 return “the last'd_ay to take
the loss” -(b~ec_ause of the period of limitations). Her claimed loss Was identified as
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p\mdmwwmne Court. Her amended
returns Were referred to an IRS office not part of its Office of Appeals (Appez:is 7
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Schedule D Tax WOrkSheet Keep for Your Records w

Complete this worksheet only if line 18 or line 19 of Schedule D is more than zero. Otherwise, complete the Qualitied Dividends and Capital Gain
Tax Worksheet on page 34 of the Ihstructions for Form 1040 to figure your tax.
Exception: Do not use the Qua]ified Dividends and Capital Gain Tax Worksheet or this worksheet to figure your tax if:
0 Line 15 or line 16 of Schedule D is zero or less and you have no qualified dividends on Form 1040, line 9b, or
0 Form 1040, line 42, is zero or less,
Instead, see the instructions for Form 1040, line 43.

Enter your taxable income from Form 1040, line 42 ................................................. l. M/ ' [//

Enter your qualified dividends from Form 1040, line 9b ..... 2. "'_'

Enter the amount ti'om Form 4952, line 4g 3. »"‘

Enter the amount from Form 4952, line 4e* 4. /

Subn'act line 4 from line 3. If zero or less, enter -0- ........ 5. ’ 0 '_

Sub'tract line 5 from line 2. If zero or less, enter -0- ............. . .. . , , 6. '- 0 m
Enter the smaller of line 15 or line 16 of Schedule D ....... 'l'. g 50 -é,‘;l

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Subtract line 8 from line 7. If zero or less, enter -0- ......................

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ll. Add lines 18 and 19 of Schedule D ................................ 11. f:g Q(EB §:'/ '

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lz.Eceth 11 fl 91 11 ............................................. 12. §§2,)[§ £5325; 0/

13. Subtract line 12 from line 10 ............................................................... 13.

14. Subtract line 13 from line l. If zero or less, enter -0- ................................................ 14. g fig §§ , t

15. Enter the smaller of: 76 ' y 7
0 The amount on line 1 or

» 529,050 if` single or married filing separately 15 S' ga ! `Q 0 w

558.100 il` married filing jointlyl br qualifying widow(er); or

$38,9001fheaa of household § q 3 Cf L . 1/7

16. Enter the smaller ofline 14 or line 15 .............................. 16.
17. Subtract line 10 from line 1. If zero or less, enter -0- ....... l'l'. "_' f § "‘ X
18. Enter the larger ofline 16 or line l7 ........................................... > 18. 9 3 a z 69 ' q 7
Iflines 15 and 16 are the sanlc-, ship lines 19 and 20 and go to line 21, Otherwisc, go to line 19. 3 513
19. Subtract line 16 l`rom line |5 ................................................ b 19. a §§ go ' _
20.

20. Multlply line 19 by 5% (.05) ................................................................ 0 ‘ /8
Il` lines 1 and 15 arc the samn, skip llnes 21 through 33 and go to linel 34. Otherwise, go lo line 21. , .
2|. Enter the smaller of|inc l arline 13 ............................... ll. 539£ 55'0 l
22. Enter the amount from line 19 (if line 19 is blank, enter -0-) ................ 22. ' 3 ' 53 t 05 l _ L/
23. Subtract line 22 from line 21. If zero or less, enter -0- ................................ b 23. 8 9 ~) ¢-- ."" 7;/
24. Mulriply line 23 by 15% (.15) ............................................................. ' .. 24. 3 3 73 /
If Schedule D, line 19, is zero or blank, skip lines 25 through 30 and go to line 31. Otherwise, o to l c 25,
25. Enter the smaller of line 9 above or Schedule D, line 19 .......... . . . . . . 25. ‘ , l 52 6 l
26. Add lines 10 and 18 ........ - .................... zs. 3 1 ff W)O 0 '

27. Enter the amount from line l above .................. 27. & g z f 5 / ‘ ‘/F g L/
28. Subtract line 27 from line 26. If aero or less, enter -0- .................... 23. q '
29. Subtract line 28 from line 25. If zero or less, enter -0- ...................... ‘ .......... b 29 h

30. Mu]tiply line 29 by 25% (.25) ............................................................... 30. f 2

If Schedule D, line 18, is zero or blank,`skip lines 31 through 33 and go to line 34. Otherwise, go to line 31.

 

 

31. Add lines 18, 19, 23, and 29 ................................................... 31.

32. Subtract line 31 from line 1 ................................................... 32.

33. Multiply line 32 by 28% (.28) ............................................................... 33. n

34. Figure the tax on the amount on line 18. Use the Tax Table or Tax Conlputatiun Worksheet, whichever applies M

35. Add lines 20, 24, 30, 33, and 34 . "'"""""'_"_ ............................................... 35. 5_’;2:¢ §§ ¢?C`)

36. Figure the tax on the amount on line 1. Use the Tax Table or Tax Computation Worksheet, whichever applies ........... 36. , ? S/

37. Tax on all taxable income (including capital gains and qualified dividends). Enter the smaller of line 35 or line 36. Also 0
include this amount on Form 1040, line 43 ....................................................... 37 3 2 ed 1 g 70

 

*If applicable, enter instead the smaller amount you entered on the dotted line next to line 4e of Form 4952.

 

 

 

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Plaintiff response `J(: \[]/) v
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Chief.ludge Patricia E. Campbel|-Smt

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Case 1:16-cv-00206-PEC Document 24 Filed 09/09/16 Page 184 of 188
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NEPTUNE BEACH FL 52266-3740 Cmdnmmpmmmacmmb

Dear Taxpayer:
This is in reply to your correspondence received Nov. 30, 2015.

We have determined that the arguments you raised are frivolous and
have no"basis~in law. Federal"courts have consistently ruled against
such arguments and imposed significant fines for taking such frivolous
positions.

.lf you persist in sending frivolous correspondence, we will not
continue to respond to it. Our lack of response to further
correspondence does not in any way convey agreement or acceptance of
the arguments advanced. lf you desire to comply with the law
concerning your tax liability, you are encouraged to seek advice from
a reputable tax practitioner or attorney.

The claims presented in your correspondence do not relieve you
from your legal responsibilities to file federal tax returns and pay
taxes. We urge you to honor those legal duties.

This letter advises you of the legal requirements for filing and
paying federal individual income tax returns and informs you of the
potential consequences of the position you have taken. Please observe
that the Internal Revenue Code sections listed below expressly
authorize IRS employees that act on behalf of the Secretary of the
Treasury to: l.)examine taxpayer books, papers, récords, or other data
which may be relevant or material; 2.) issue summonses in order to
gain possession of records so that determinations can be made of the
tax liability or for ascertaining the correctness of any return filed
by that person; and 5.) collect any such liability.

There are some people who encourage others to violate our nation's
tax laws by arguing that there is no legal requirement for them to
file income tax returns or pay income taxes. These people base their
arguments on legal statements taken out of context and on frivolous
arguments that have been repeatedly rejected by federal courts.

People who rely on this kind of information can ultimately pay more in
taxes, interest and penalties than they would have paid simply by
filing correct tax roturns.

People who_violate the tax laws also may be subject to federal
criminal prosecution and imprisonment. Information about the IRS's

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GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 52266~3740

criminal enforcement program is available on the internet at
www.irs.gov. Unce there, enter the IRS keyword: fraud.

The IRS is working with the United States Department of Justice
and state taxing authorities to ensure that all taxpayers pay their
lawful share of taxes and to seek criminal indictments or civil

enforcement actions against people who promote or join in abusive and
fraudulent tax schemes.

You can obtain IRS Publication 2105, Why do I Have to Pay Taxes?,
from our internet website at www.irs.gov/pub/irs-pdf/p2105.pdf. We
also refer you to a document entitled The Truth About Frivolous Tax
Arguments. It is also on our website at www.irs.gov/pub/irs-utl/
friv_tax.pdf. If you do not have internet access, you can obtain
copies of these documents from your local IRS office.

General Information on Filing Requirements and Authority to Collect
Tax

Title 26, United States Code
Section 6001 Notice or regulations requiring records,
statements, and special returns
Section 6011 General requirement of return, statement, or list
Section 6012 Persons required to make returns of income
Section 6109 Identifying numbers
Section 6151 Time and place for paying tax shown on returns
Section 6301 Collection Authority
Section 6521 Lien for taxes
Section 6351 Levy and distraint
Section 7602 Examination of books and witnesses

INTERNAL REVENUE CODE SECTIUN 6702 (FRIVOLUUS INCOME TAX RETURN)
PRUVIDES:

CIVIL PENALTV - If -
(1) any individual files what purports to be a return of the tax
imposed by subtitle A but which ~
(A) does not contain information on which the substantial
correctness of the self-assessment may be judged, or
(B) contains information that on its face indicates that
the self-assessment is substantially incorrect; and
(2) the conduct referred to in paragraph (1) is due to -
(A) a position which is frivolous, or
(B) a desire (which appears on the purported return) to
delay or impede the administration of Federal income
tax laws, then such individuals shall pay a penalty

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GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 52266-3740

Of $5,000.00

PENALTY IN ADDITIUN TD OTHER PENALTIES - The penalty imposed by
subsection (a) shall be in addition to any other penalty provided
by law.

FDIA requests for Treasury Department records must meet the
following criteria before Treasury can take action:

- Must be in writing and signed by the person making the request;

- Must state that the request is being made pursuant to the FDIA;

- Must reasonably describe the records being requested;

- Must state the category of the requester for fee purposes
(i.e. commercial, media, educational, scientific institutions,
all other);

- Must contain an agreement to pay all fees that might be
incurred;

- Must prove that the requester is entitled to receive the
records;

- Must state whether the requester wants a copy of the records or
only wants to inspect the records.

If you have any questions, please write to us at the address
shown at the top of the first page of this letter. Or, you may call
us toll free at 866-885-0235. Whenever you write, please include
this letter and, in the spaces below, give us your telephone number
with the hours we can reach you. You may also wish to keep a copy of
this letter for your records.

Your Telephone Number ( ) ' Hours

 

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GINA B LANGLEY
700 OAK ST
NEPTUNE BEACH FL 52266-5740

Enclosure(s):

Copy of this letter
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Publication 2105

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Input DD: 1483059232 00018758

Sincerely yours,

M.£®uhr/

Christine L. Davis
Program Manager RICS/IVO

 

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